Case 2:24-cv-00219-JLB-NPM Document 1-1 Filed 03/08/24 Page 1 of 149 PageID 8
                                                                                *24-000047377*
         Case 2:24-cv-00219-JLB-NPM Document 1-1 Filed 03/08/24 Page 2 of 149 PageID 9
                                                                                              *24-000047377*




PEDRO E. RODRIGUEZ & MARIOSKA                                  CASE #:          24-CA-000990
SANCHEZ CO-TRUSTEES FOR THE
                                                               COURT:           20TH JUDICIAL CIRCUIT
RODRIGUEZ & SANCHEZ FAMILY TRUST
                                                               COUNTY:    LEE
PLAINTIFF(S)                                                   DFS-SOP #: 24-000047377

VS.

GENERAL STAR INDEMNITY COMPANY

DEFENDANT(S)
_______________________________________/
SUMMONS, COMPLAINT, DISCOVERY




                           NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer
of the State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on
Wednesday, February 7, 2024 and a copy was forwarded by ELECTRONIC DELIVERY on
Thursday, February 8, 2024 to the designated agent for the named entity as shown below.


          GENERAL STAR INDEMNITY COMPANY
          MICHELLE M. COLANTUONO
          1 NORTH WACKER DR, STE 1760
          CHICAGO, IL 60606




*Our office will only serve the initial process (Summons and Complaint) or Subpoena and is not
responsible for transmittal of any subsequent filings, pleadings, or documents unless otherwise
ordered by the Court pursuant to Florida Rules of Civil Procedure, Rule 1.080.




                                                                        Jimmy Patronis
                                                                        Chief Financial Officer


cc to:


CARLOS SANTI
PROPERTY & CASUALTY LAW GROUP
2307 DOUGLAS ROAD
SUITE 302
MIAMI, FL 33145                                                                                       DG1




                                  Office of the General Counsel - Service of Process Section
                     200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
         Case 2:24-cv-00219-JLB-NPM Document 1-1 Filed 03/08/24 Page 3 of 149 PageID 10
Filing # 191076354  E-Filed 02/01/2024 04:44:51 PM


                                                                IN THE CIRCUIT COURT FOR THE
                                                                20TH JUDICIAL CIRCUIT IN AND
                                                                FOR LEE COUNTY, FLORIDA

                                                                CASE NO.:
         Pedro E. Rodriguez & Marioska Sanchez Co-
         Trustees for the Rodriguez & Sanchez Family T
         rust and ,

         Plaintiffs,

         v.

         General Star Indemnity Company,

         Defendant.

        TO STATE OF FLORIDA:
        To Each Sheriff of Said State:

        YOU ARE COMMANDED to serve this Summons and a copy of the Complaint or Petition in this
        action on Defendant:

                        General Star Indemnity Company
                        c/o The Florida Chief Financial Officer as RA
                        200 E. Gaines Street, Tallahassee, Florida 32399-4201

        Each Defendant is required to serve written defense to the Complaint or Petition on Plaintiffs’
        Attorney, to wit:

                        Carlos L. Santi, Esq.
                        Property & Casualty Law Group
                        1825 Ponce de Leon Boulevard #263
                        Coral Gables, Florida 33134

        within 20 days after service of this Summons on that Defendant, exclusive of the day of service,
        and to file the original of the defenses with the clerk of this Court either before service on Plaintiffs’
        attorney or immediately thereafter. If a Defendant fails to do so, a default will be entered against that
        Defendant for the relief demanded in the Complaint or Petition.

        DATED ON _____.

                                                                         As Clerk of Said Court

        Court Seal                                                               By:_____________
                                                                                 As Deputy Clerk




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                                            IMPORTANT

A Complaint has been filed against you. You have 20 calendar days after this summons is served on
you to file a written response to the attached Complaint in this Court. A phone call will not protect
you; your written response, including the above case number and named parties, must be filed if you
want the Court to hear your case. If you do not file your response on time, you may lose the case, and
your wages, money and property may thereafter be taken without further warning from the attorney
right away. If you do not know an attorney, you may call an attorney referral service or a legal aid
office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written response to the
Court you must also mail or take a carbon copy of photocopy of your written response to the
"Plaintiff/Plaintiffs’ Attorney" named below.

                                            IMPORTANTE

Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo de esta
notifiicacion, para contestar la demanda adjunta, por escrito, y presentarla ante de esta tribunal. Una
llamada telefonica no lo protegera; si usted desea que el tribunal considere su defensa, debe presentar
su respuesta por escrita, incluyendo el numero del caso y los nombres de las partes, interesadas en
dicho caso. Si usted no contesta la demanda a tiempo, puede perder el caso y podria ser despojado de
sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal. Existen otros
requisitos legales. Si lo deseas, puede usted consultar a un abogado immediatamente. Si no cononce
a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el
tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la personal denominada
abajo como "Plaintiff/Plaintiffs’ Attorney". (Demandante o Abogado del Demandante).

Each defendant is required to serve written defenses to the complaint or petition on Plaintiffs’ attorney,
to wit:

Plaintiffs’ attorney is:

Carlos L. Santi, Esq.
Property & Casualty Law Group
1825 Ponce de Leon Boulevard #263
Coral Gables, Florida 33134




                             eFiled Lee County Clerk of Courts Page 2
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                2/6/2024 3:09 PM FILED LEE COUNTY CLERK OF COURT

IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR LEE
COUNTY, FLORIDA                                          CIVIL ACTION

                                                             CASE NO: 24-CA-000990
Rodriguez, Pedro E , atf Rodriguez & Sanchez Family Trust et al Plaintiff vs General Star
Indemnity Company Defendant
____________________________________/

                 STANDING ORDER IN CIRCUIT CIVIL CASES IN THE
                        TWENTIETH JUDICIAL CIRCUIT

        PURSUANT to Florida Rule of Civil Procedure 1.200(a), Florida Rule of Judicial
Administration 2.545, and Administrative Order 1.13 (as amended) entered by the Chief Judge of
this Circuit, the parties are ordered to adhere to the following information and procedures
applicable to civil lawsuits:

        1. SERVICE OF THIS ORDER. The Plaintiff is directed to serve a copy of this order
with each Summons issued in this case. One copy of this Order is to be filed with the Clerk of
the Circuit Court with proof of service. The Plaintiff shall pay the appropriate statutory clerk’s
fees on copies for each Standing Order issued and attached to the Summons.

        2. CIVIL CASE MANAGEMENT SYSTEM. The Supreme Court of Florida has
established guidelines for the prompt processing and resolution of civil cases. This Court has
adopted a case management system to help meet those guidelines. In contested cases (other than
residential foreclosures, involuntary commitment of sexually violent predators, Extraordinary
Writs, 90 day Notice of Medical Malpractice Claim, and Administrative Appeals), the parties are
required to participate in the case management system. The Court will issue a Case Management
Plan after 150 days of the filing of a case in the event the parties have not submitted an Agreed
Case Management Plan that has been approved by the Court. However, if it becomes necessary
to amend the court-issued Case Management Plan, the parties may submit an Agreed Case
Management Plan, subject to approval by the Court, or if the parties cannot agree on an
Amended Plan, the parties may request a case management conference. The form of the Agreed
Case Management Plan may be accessed at the Court’s website at:
https://www.ca.cjis20.org/Programs/Civil-Case-Management/generalcivil.aspx. If a case
management conference is scheduled, attendance by trial counsel and those parties who are not
represented by counsel is mandatory. Agreed Case Management Plans are to be submitted
to Lee County Civil Case Management by email in Word format to
LeeCircuitCivilCM@ca.cjis20.org or if no access to email then mailed to Lee County
Civil Case Management 1700 Monroe Street Fort Myers Fl. 33901. DO NOT file with the
Clerk of Court.


        3. ALTERNATIVE DISPUTE RESOLUTION (ADR). ADR provides parties with an
out-of-court alternative to settling disagreements. The Court requires the parties to participate in
ADR prior to trial. Mediation is mandatory unless the parties agree to another form of ADR.
Mediation is a conference at which an independent third party attempts to arrange a settlement


                                                                                     Rev. 7/1/2023
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                2/6/2024 3:09 PM FILED LEE COUNTY CLERK OF COURT

IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR LEE
COUNTY, FLORIDA                                          CIVIL ACTION

between the parties. The Court, at its discretion, may order the case be referred to Non-Binding
Arbitration. Non-Binding Arbitration is the process in which the court refers a case to a
registered arbitrator, or panel of arbitrators, who will hear evidence and make an award which
may become a final judgment if a Motion for Trial De Novo is not timely filed pursuant to
Fla.R.Civ.P. 1820(h).

         4. FAILURE TO PROSECUTE. The Court will issue a Notice of Intent to Dismiss a
case if there is no record of activity within a ten (10) month period of time.

        5. RULES OF PROFESSIONALISM. The Twentieth Judicial Circuit has adopted
Administrative Order 2.20, which sets forth standards of professional courtesy and conduct for
all counsel practicing within the Circuit and self-represented litigants. The Court requires that all
familiarize themselves and comply with Administrative Order 2.20. Administrative Order 2.20
may be viewed on the Court’s website at: http://www.ca.cjis20.org/web/main/ao_admin.asp


       DONE AND ORDERED in Chambers at Fort Myers, Lee County, Florida.


                                                      Michael T. McHugh (electronically signed)
                                                            Administrative Circuit Judge



****Original on file in the office of the Circuit Court Administrative Judge, Lee County




                                                                                      Rev. 7/1/2023
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                                                             IN THE CIRCUIT COURT FOR THE
                                                             20TH JUDICIAL CIRCUIT IN AND
                                                             FOR LEE COUNTY, FLORIDA

                                                             CASE NO.:
       Pedro E. Rodriguez & Marioska Sanchez Co-
       Trustees for the Rodriguez & Sanchez Family Trust,

       Plaintiffs,

       v.

       General Star Indemnity Company,

       Defendant.

                                COMPLAINT FOR BREACH OF CONTRACT
                 Plaintiffs,                                Pedro E. Rodriguez & Marioska Sanchez Co-
        Trustees for the Rodriguez & Sanchez Family Trust, (the "Plaintiffs"), hereby sue Defendant,
        General Star Indemnity Company (the "Insurance Company"), and alleges as follows:

                                     PARTIES, JURISDICTION AND VENUE

            1. This is an action for damages that is more than $50,000.00 exclusive of interest, costs and

      attorney's fees.


            2. The Plaintiffs at all times material hereto has resided in LEE COUNTY, Florida.


            3. The Insurance Company is qualified to do business in Florida and has, at all times material

      hereto, been conducting business in LEE COUNTY, Florida.


            4. Venue is proper in LEE COUNTY, Florida because the contract, which forms the subject

      matter of this lawsuit, was executed in LEE COUNTY, Florida.
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   5. All conditions precedent to the filing of this lawsuit have occurred, have been

waived or have been performed.

                                   GENERAL ALLEGATIONS

   6. At all times material hereto, in consideration of a premium paid by the Plaintiffs, there was in

full force and effect a certain homeowners insurance policy issued by the Insurance Company

with a policy number of IMA410900 (the "Policy"). The Policy is attached hereto as Exhibit A and

incorporated into the Complaint by reference herein.


   7. Accordingly, under the terms of the Policy, the Insurance Company agreed to provide

insurance coverage to the insured property pursuant to the terms of the policy. The damaged

property is located at 514 NE 16th Place, Cape Coral, FL 33909 (the "Property").


   8. On or about 09/28/2022, while the Policy was in full force and effect, the Property sustained

a covered loss as a result of Hurricane Ian (the "Loss").


   9. The Insurance Company assigned claim number G10067944 to the Loss.


   10. Subsequently, the Insurance Company informed the Plaintiffs that although coverage existed,

the costs to repair the damaged property did not exceed the deductible. See Exhibit B. After diligent

inspection of the Loss, it was obvious that the Property sustained damage which the Insurance

Company agreed to provide coverage for under the terms of the Policy but which the Insurance

Company failed to indemnify for.


   11. As a result of the foregoing, the Insurance Company has breached the Policy.




                                                   2
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   12. The Plaintiffs have suffered and continues to suffer damages resulting from Insurance

Company's breach of the Policy.


   13. The Plaintiffs have been obligated to retain the undersigned attorneys for the prosecution

of this action and is entitled to a reasonable attorney's fee pursuant to Florida Statute Sections

627.428 and/or 626.9373.

                                          COUNT I
                                     BREACH OF CONTRACT

       The Plaintiffs reincorporate paragraphs 1 through 13 as if fully set forth herein.

   14. It is undisputed that the Plaintiffs and the Insurance Company entered into a written
contract, the Policy, wherein the Insured agreed to pay a premium and the Insurance Company
agreed to insure the Property.

   15. The Plaintiffs have paid all premiums due and owing as contemplated by the Policy; thus,
fully performing their obligations under the Policy.

   16. The Property sustained damage which the Insurance Company agreed to provide coverage
for under the terms of the Policy.

   17. Furthermore, at all times material hereto, the Plaintiffs have satisfied all post-loss obligations
to the best of their ability in accordance with the Policy.

   18. In contrast, the Insurance Company has failed to: (i) acknowledge coverage for a portion of
the Loss; and/or (ii) pay Plaintiffs a sufficient amount for the loss. As a result of the foregoing, the
Insurance Company has breached the Policy.




                                                    3
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   19. As a direct and proximate result of the Insurance Company’s breach of the policy, the

Plaintiffs have sustained damages.

       WHEREFORE, the Plaintiffs respectfully request that this Court, enter judgment against the

Insurance Company for damages, plus pre-judgment interest, court costs and reasonable attorney's

fees pursuant to Section 627.428, Florida Statutes.


                                     JURY TRIAL DEMAND
         The Plaintiffs hereby demand a trial by jury on all issues so triable.

  Dated February 1, 2024
                                             Respectfully submitted,

                                             Property & Casualty Law Group
                                             Counsel for the Plaintiffs
                                             1825 Ponce de Leon Boulevard #263
                                             Coral Gables, Florida 33134
                                             Tel.: 305-961-1038
                                             CSanti@pclawgroup.com

                                             /s/ Carlos Santi
                                             ________________________________
                                             Carlos L. Santi, Esq.
                                             Florida Bar No. 70529




                                                   4
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                          FLORIDA SURPLUS LINE INSURANCE INFORMATION

Insured's Name: Pedro E. Rodriguez & Marioska Sanchez as Co-            Policy #:   IMA410900
                Trustees of the Rodriguez & Sanchez Family Trus


Policy Dates:     From:    24-Aug-22                                    To: 24-Aug-23

Surplus Lines Agent's Name: Albert Geraci

Surplus Lines Agent's Address: 2400 E. Commercial Blvd., Ste. 728, Fort Lauderdale, FL 33308

Surplus Lines Agent's License #: P176271

Producing Agency Name: Power Insurance Agency Inc                       Agent Name:VIOLETA KHOURI

Producing Agent's Physical Address: 13911 SW 42nd St., #113 Miami, FL 33175

“THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES LAW. PERSONS INSURED BY
SURPLUS LINES CARRIERS DO NOT HAVE THE PROTECTION OF THE FLORIDA INSURANCE GUARANTY ACT
TO THE EXTENT OF ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN INSOLVENT UNLICENSED
INSURER.”

“SURPLUS LINES INSURERS' POLICY RATES AND FORMS ARE NOT
APPROVED BY ANY FLORIDA REGULATORY AGENCY.”

Policy Premium:    $5,587.00                          Policy Fee:           $100.00
Inspection Fee:    $150.00                            Service Fee:          $3.50
Tax:               $288.35                            EMPA Surcharge:       $4.00




Surplus Lines Agent's Countersignature:



      “THIS POLICY CONTAINS A SEPARATE DEDUCTIBLE FOR
HURRICANE OR WIND LOSSES, WHICH MAY RESULT IN HIGH OUT- OF-
POCKET EXPENSES TO YOU.”

       “THIS POLICY CONTAINS A CO-PAY PROVISION THAT MAY RESULT
IN HIGH OUT-OF-POCKET EXPENSES TO YOU.”




                                                                         EXHIBIT A
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                      GENERAL STAR INDEMNITY COMPANY




                       COMMERCIAL LINES POLICY




GSI-04-I620 (1/ 01)
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               SCHEDULE OF FORMS AND ENDORSEMENTS

POLICY NUMBER:                                          NAMED INSURED
IMA410900                                                Pedro E.Rodriguez & Marioska Sanchez
                                                         (See form GSI-04-I625)


Endorsement No./ Edition Date/ Form Description

Forms Applicable - INTERLINE
GSI-04-CP00D (03-10)           COMM POLICY DECL
GSI-04-I618 (08-06)            COMMON POLICY CONDITIONS
GSI-04-I600 (03-10)            SERVICE OF SUIT CLAUSE
GSI-04-I604 (01-01)            MINIMUM EARNED PREM
GSI-04-I625 (05-04)            NAMED INSURED ENDT
IL0255 (03-16)                 FL CHANGES-CANCELLATION/NON-RENEWAL
Forms Applicable - GENERAL LIABILITY
GSI-04-CGLDEC(05-04)           GENERAL LIABILITY DECL
CG0001 (04-13)                 GL COVERAGE FORM-OCC
GSI-04-C512 (01-01)            CLASSIFICATION LIMITATION
GSI-04-C600 (06-21)            CGL COMBINED PROVISIONS ENDT
IL0021 (09-08)                 NUCLEAR ENERGY LIAB EXCL
CG0220 (03-12)                 FLORIDA CHANGES - CANCELLATION AND NON RENEWAL
CG2144 (04-17)                 LIMITATION OF COVERAGE TO DESIGNATED PREMISES OR PROJECTS
CG2173 (01-15)                 EXCL OF CERTIFIED ACTS OF TERRORISM
CLF 21 0044 (12-21)            TOTAL PFAS EXCLUSION
Forms Applicable - PROPERTY
GSI-04-CP03D (05-04)           COMM PROPERTY COV DECL
GSI-04-P400 (09-19)            PROPERTY COMBINED PROVISIONS ENDORSEMENT
GSI-04-P433 (01-07)            TOTAL LOSS ENDT
GSI-04-P487 (09-20)            APPLICATION OF THE DEDUCTIBLE ENDORSEMENT
CP0010 (10-12)                 BUILDING AND PERS PROP COVG
CP0090 (07-88)                 COMM PROPERTY CONDITIONS
CP0125 (05-22)                 FLORIDA CHANGES
CP1030 (09-17)                 CAUSE OF LOSS-SPECIAL
CP1033 (10-12)                 THEFT EXCLUSION
CP1075 (12-20)                 EXCLUSION - CYBER INCIDENT
CPR 21 0001 (03-17)            EXCLUSION - PRE-EXISTING DAMAGE
CPR 21 0004 (11-19)            EXCLUSION - BIOLOGICAL OR CHEMICAL MATERIALS
CPR 21 0005 (11-19)            AMENDMENT OF THE NUCLEAR HAZARD EXCLUSION ENDORSEMENT
CPR 21 0006 (11-19)            EXCLUSION - TERRORISM
CPR 21 0008 (07-20)            EXCLUSION-VIRUS OR BACTERIA
IL 01 0001FL (12-21)           FLORIDA CHANGES – AMENDMENT OF APPRAISAL CONDITION




                                      ADDITIONAL FORMS



GSI-04-FORMSCH (01-01)                                                                     Page 1 of 2



                                             ORIGINAL
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               SCHEDULE OF FORMS AND ENDORSEMENTS (Continued)


Endorsement No./ Edition Date/ Form Description




GSI-04-FORMSCH (01-01)                                                          Page 2 of 2
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                                  GENERAL STAR INDEMNITY COMPANY
                                                   120 LO N G RIDGE RO AD
                                                        PO BO X 10354
                                            STAM FO RD, CO N N ECTICUT 06904-2354
                                                    A Stock Insurance Company
                                          COMMON POLICY DECLARATIONS
   POLICY # IMA410900                                                       RENEWAL OF POLICY # NEW
   1. NAMED INSURED                    Pedro E.Rodriguez & Marioska Sanchez
                                       (See form GSI-04-I625)
      MAILING ADDRESS                  514 NE 16th Place

                                       Cape Coral, FL 33909

   2. POLICY PERIOD:              From         08/24/2022         to       08/24/2023
                                  at 12:01 A.M. Standard Time at your mailing address shown above.

      IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
      WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
   3. THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS
      FOR WHICH A PREMIUM IS INDICATED. THIS PREMIUM MAY
      BE SUBJECT TO ADJUSTMENT.                                                                         PREMIUM
              Commercial Property Coverage Part                                           $                  4,313.00
              Commercial Inland Marine Coverage Part                                      $
              Commercial General Liability Coverage Part                                  $                  1,274.00
              Equipment Breakdown Coverage                                                $
              Liquor Liability Coverage Part                                              $
                                                                     Coverage Part        $
                                                                          TOTAL PREMIUM $                    5,587.00
                                                          STATE SURPLUS TAX (          %) $
                                                          POLICY FEE                      $
  To Report a Loss                                        Broker Fee - RPS                $                     100.00
  • Dial toll-free #1 (844)777-8323 or visit our          Inspection Fee                  $                     150.00
  • Website: https://my.rpsins.com/claimsfnol             FL Surplus Lines Tax            $                     288.35
  • Contact Insurer directly (see policy section)         FL Stamping Office Fee          $                       3.50
                                                          FL EMPA- Commercial             $                       4.00
                                                                                          $
                                                     POLICY TOTAL (payable at inception) $                   6,132.85
   4. FORM OF BUSINESS:
         Individual                             Partnership                  Limited Liability Company
         Joint Venture                       X Organization (Other than Partnership, Joint Venture or Limited Liability Company)

   5. BUSINESS DESCRIPTION: Office


   6. FORMS AND ENDORSEMENTS (other than applicable Forms and Endorsements shown elsewhere in the policy)
                                See Schedule of Forms & Endorsements GSI-04-FORMSCH (1-01)
   THESE COMMON POLICY DECLARATIONS, AND OTHER APPLICABLE COVERAGE PART DECLARATIONS, TOGETHER
   WITH THE COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED
   TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



   COUNTERSIGNED AT                                    BY:
                                                              Authorized representative or countersignature, whichever applies.
   DATE 08/25/2022                                     PRODUCER CODE: 14995

                                                       PRODUCER NAME: Risk Placement Services, Inc.

 GSI-04-CP00D (3/ 10)                                   ORIGINAL
RPSFTL/SC/2022.10.08
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                       GENERAL STAR INDEMNITY COMPANY

                               COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                       D. Inspections And Surveys
   1. The first Named Insured shown in the                               1. We have the right to:
      Declarations may cancel this policy by mailing                         a. Make inspections and surveys at any
      or delivering to us advance written notice of                               time;
      cancellation.
                                                                             b. Give you reports on the conditions we
   2. We may cancel this policy by mailing or                                     find; and
      delivering to the first Named Insured written
      notice of cancellation at least:                                       c. Recommend changes.
      a. 10 days before the effective date of                            2. We are not obligated to make any
            cancellation if we cancel for nonpayment                         inspections,       surveys,      reports       or
            of premium or for the failure to provide to                      recommendations and any such actions we
            the    Company any         audit     related                     do undertake relate only to insurability and
            documentation, for either this insurance                         the premiums to be charged. We do not make
            policy or any other insurance policy                             safety inspections. We do not undertake to
            issued to a Named Insured in the past; or                        perform the duty of any person or
                                                                             organization to provide for the health or safety
      b. 30 days before the effective date of                                of workers or the public. And we do not
            cancellation if we cancel for any other                          warrant that conditions:
            reason.
                                                                             a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first
      Named Insured's last mailing address known                             b. Comply with laws, regulations, codes or
      to us.                                                                      standards.
   4. Notice of cancellation will state the effective                    3. Paragraphs 1. and 2. of this condition apply
      date of cancellation. The policy period will                           not only to us, but also to any rating, advisory,
      end on that date.                                                      rate service or similar organization which
                                                                             makes insurance inspections, surveys,
   5. If this policy is cancelled, we will send the first                    reports or recommendations.
      Named Insured any premium refund due. If
      we cancel, the refund will be pro rata. If the                     4. Paragraph 2. of this condition does not apply
      first Named Insured cancels, the refund may                            to any inspections, surveys, reports or
      be less than pro rata. The cancellation will be                        recommendations we may make relative to
      effective even if we have not made or offered                          certification, under state or municipal statutes,
      a refund.                                                              ordinances or regulations, of boilers, pressure
                                                                             vessels or elevators.
   6. If notice is mailed, proof of mailing will be
      sufficient proof of notice.                                     E. Premiums
B. Changes                                                               The first Named Insured shown in the
                                                                         Declarations:
   This policy contains all the agreements between
   you and us concerning the insurance afforded.                         1. Is responsible for the payment of all
   The first Named Insured shown in the                                     premiums. Failure to pay any premium or to
   Declarations is authorized to make changes in the                        provide to the Company any audit-related
   terms of this policy with our consent. This policy's                     documentation, for either this insurance policy
   terms can be amended or waived only by                                   or any other insurance policy issued to a
   endorsement issued by us and made a part of this                         Named Insured in the past, will result in a
   policy.                                                                  cancellation of this policy; and
C. Examination Of Your Books And Records                                 2. Will be the payee for any return premiums we
                                                                            pay.
   We may examine and audit your books and
   records as they relate to this policy at any time                  F. Representations On Application Warranty.
   during the policy period and up to three years                        The following representations on application
   afterward.                                                            warranty applies to all Coverage Parts attached to
                                                                         this policy.


GSI-04-I618 (8/06)         © Copyright, General Star Management Company, Stamford, CT1999-2000.                     Page 1 of 2
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    By accepting this policy, you agree, represent and                       for any claim(s) null and void and entitles us
    warrant that:                                                            to rescind the policy from its inception; and
    1. The statements and information contained in                        3. The application for this policy is incorporated
        the application for insurance, including all                         and made part of the policy by reference.
        statements, information and documents                        G. Transfer Of Your Rights And Duties Under
        accompanying or relating to the application                     This Policy
        are:                                                            Your rights and duties under this policy may not
        (a) Accurate and complete and no facts have                     be transferred without our written consent except
             been suppressed, omitted or misstated;                     in the case of death of an individual named
             and                                                        insured.
        (b) Material to us, and we have issued this                     If you die, your rights and duties will be
             policy in reliance upon them;                              transferred to your legal representative but only
    2. Any failure to fully disclose the information                    while acting within the scope of duties as your
        requested in the application for insurance,                     legal     representative.   Until    your    legal
        whether by omission or suppression, or any                      representative is appointed, anyone having
        misrepresentation in the statements and                         proper temporary custody of your property will
        information contained in the application for                    have your rights and duties but only with respect
        insurance,       including    all  statements,                  to that property.
        information and documents accompanying or
        relating to the application, renders coverage




IN WITNESS WHEREOF The General Star Indemnity Company has caused this Policy to be signed by its Presi-
dent and Secretary at Stamford, Connecticut, but the same shall not be binding upon the Company unless
countersigned on the Declarations Page by an authorized representative of the Company.

                                                                          GENERAL STAR INDEMNITY COMPANY




   ______________________________________                                ______________________________________
   Secretary                                                             President




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                            GENERAL STAR INDEMNITY COMPANY
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 SERVICE OF SUIT CLAUSE

It is agreed that in the event of the failure of General Star Indemnity Company (the "Insurer") to pay any
amount claimed to be due hereunder, the Insurer, at the request of the insured, will submit to the jurisdiction
of any Court of competent jurisdiction within the United States of America and will comply with all
requirements necessary to give such Court jurisdiction. All matters arising hereunder shall be determined in
accordance with the law and practice of such Court. However, nothing in this provision constitutes a waiver
of the Insurer's rights to remove an action to a United States District Court, or to seek a transfer of a case to
another Court as permitted by the laws of the United States of America or of any State in the United States.

It is further agreed that service of process in such suit may be made upon the Insurer by certified mail, return
receipt requested, addressed to the Insurer in care of it's Corporate Secretary, Attention: Legal Department,
General Star Indemnity Company, 120 Long Ridge Road, Stamford, CT 06902-1843. In any suit instituted
under this contract, Insurer will abide by the final decision of such Court or of any Appellate Court in the event
of an appeal.

The above-referenced Corporate Secretary, or his designee, is authorized and directed to accept service of
process on behalf of the Insurer in any such suit or upon the request of the insured to give a written
undertaking to the insured that it will enter a general appearance upon the Insurer's behalf in the event such a
suit shall be instituted.

Further, pursuant to any statute of any state, territory or district of the United States of America, which makes
provision therefor, the Insurer hereby designates the Superintendent, Commissioner or Director of Insurance,
or such other insurance department representative, or such other governmental officer, such as the Secretary
of State, specified for that purpose in the statute, or his successor or successors in office, as its true and
lawful attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or
on behalf of the insured or any beneficiary hereunder arising out of this contract of insurance, and hereby
designates the Insurer's Corporate Secretary as the person to whom the said insurance department
representative is authorized to mail such process or a true copy thereof.




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                             GENERAL STAR INDEMNITY COMPANY
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   MINIMUM EARNED PREMIUM
 Item 5. of Condition A Cancellation of the COMMON POLICY CONDITIONS is deleted and replaced by the following:


 5.      If this policy is cancelled, we will send the first Named Insured any premium refund due. If we cancel, the
         refund will be pro rata. If the first Named Insured cancels, the refund may be less than pro rata and such
         refund will be subject to minimum earned premium of ___________%  25 of the TOTAL PREMIUM shown under
         item 3. of the COMMON POLICY DECLARATIONS. The cancellation will be effective even if we have not made
         or offered a refund.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           NAMED INSURED ENDORSMENT


The NAMED INSURED Shown on the Common Policy Declarations, GSI-04-CP00D, includes the following:
Pedro E. Rodriguez & Marioska Sanchez as Co-Trustees of the Rodriguez & Sanchez
Family Trust




ALL OTHER TEMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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                                                                                                    IL 02 55 03 16

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   FLORIDA CHANGES – CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY

A. Paragraph 2. of the Cancellation Common Policy                    (2) Solely on the basis of a single property
   Condition is replaced by the following:                               insurance claim which is the result of
   2. Cancellation For Policies In Effect 90 Days                        water damage, unless we can
      Or Less                                                            demonstrate that you have failed to take
                                                                         action reasonably requested by us to
      a. If this policy has been in effect for 90 days                   prevent a future similar occurrence of
          or less, we may cancel this policy by                          damage to the insured property.
          mailing or delivering to the first Named
          Insured written notice of cancellation,          B. Paragraph 5. of the Cancellation Common Policy
          accompanied by the specific reasons for             Condition is replaced by the following:
          cancellation, at least:                             5. If this policy is cancelled, we will send the first
        (1) 10 days before the effective date of                 Named Insured any premium refund due. If we
              cancellation     if   we    cancel    for          cancel, the refund will be pro rata. If the first
              nonpayment of premium; or                          Named Insured cancels, the refund may be
                                                                 less than pro rata. If the return premium is not
        (2) 20 days before the effective date of                 refunded with the notice of cancellation or
              cancellation if we cancel for any other            when this policy is returned to us, we will mail
              reason, except we may cancel                       the refund within 15 working days after the
              immediately if there has been:                     date cancellation takes effect, unless this is an
             (a) A      material    misstatement     or          audit policy.
                  misrepresentation; or                          If this is an audit policy, then, subject to your
             (b) A failure to comply with underwriting           full cooperation with us or our agent in securing
                  requirements established by the                the necessary data for audit, we will return any
                  insurer.                                       premium refund due within 90 days of the date
                                                                 cancellation takes effect. If our audit is not
      b. We may not cancel:
                                                                 completed within this time limitation, then we
        (1) On the basis of property insurance                   shall accept your own audit, and any premium
              claims that are the result of an act of            refund due shall be mailed within 10 working
              God, unless we can demonstrate, by                 days of receipt of your audit.
              claims frequency or otherwise, that you
              have failed to take action reasonably              The cancellation will be effective even if we
              necessary as requested by us to                    have not made or offered a refund.
              prevent recurrence of damage to the
              insured property; or




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C. The following is added to the Cancellation                        (2) 45 days before the effective date of
   Common Policy Condition:                                                cancellation if:
   7. Cancellation For Policies In Effect For More                        (a) Cancellation is for one or more of the
      Than 90 Days                                                             reasons stated in Paragraphs 7.a.(2)
      a. If this policy has been in effect for more                            through 7.a.(7) above, and this policy
         than 90 days, we may cancel this policy                               does not cover a residential structure
         only for one or more of the following                                 or its contents; or
         reasons:                                                         (b) Cancellation is based on the reason
        (1) Nonpayment of premium;                                             stated in Paragraph 7.a.(8) above;
        (2) The policy was obtained by a material                    (3) 120 days before the effective date of
             misstatement;                                                 cancellation if:
        (3) In the event of failure to comply, within                     (a) Cancellation is for one or more of the
             90 days after the effective date of                               reasons stated in Paragraphs 7.a.(2)
             coverage,         with        underwriting                        through 7.a.(7) above; and
             requirements established by us before                        (b) This policy covers a residential
             the effective date of coverage;                                   structure or its contents.
        (4) There has been a substantial change in                c. If this policy has been in effect for more
             the risk covered by the policy;                          than 90 days and covers a residential
        (5) The cancellation is for all insureds under                structure or its contents, we may not cancel
             such policies for a given class of                       this policy based on credit information
             insureds;                                                available in public records.
        (6) On the basis of property insurance              D. The following is added:
             claims that are the result of an act of           Nonrenewal
             God, if we can demonstrate, by claims             1. If we decide not to renew this policy, we will
             frequency or otherwise, that you have                mail or deliver to the first Named Insured
             failed to take action reasonably                     written notice of nonrenewal, accompanied by
             necessary as requested by us to                      the specific reason for nonrenewal, at least:
             prevent recurrence of damage to the
             insured property;                                    a. 45 days prior to the expiration of the policy
                                                                      if this policy does not cover a residential
        (7) On the basis of a single property                         structure or its contents, or if nonrenewal is
             insurance claim which is the result of                   for the reason stated in Paragraph D.5.; or
             water damage, if we can demonstrate
             that you have failed to take action                  b. 120 days prior to the expiration of the policy
             reasonably requested by us to prevent a                  if this policy covers a residential structure or
             future similar occurrence of damage to                   its contents.
             the insured property; or                          2. Any notice of nonrenewal will be mailed or
        (8) The cancellation of some or all of our                delivered to the first Named Insured at the last
             policies is necessary to protect the best            mailing address known to us. If notice is
             interests of the public or policyholders             mailed, proof of mailing will be sufficient proof
             and such cancellation is approved by                 of notice.
             the Florida Office of Insurance                   3. We may not refuse to renew this policy:
             Regulation.
                                                                  a. On the basis of property insurance claims
      b. If we cancel this policy for any of these                    that are the result of an act of God, unless
         reasons, we will mail or deliver to the first                we can demonstrate, by claims frequency
         Named        Insured    written    notice    of              or otherwise, that you have failed to take
         cancellation, accompanied by the specific                    action reasonably necessary as requested
         reasons for cancellation, at least:                          by us to prevent recurrence of damage to
        (1) 10 days before the effective date of                      the insured property;
             cancellation if cancellation is for
             nonpayment of premium;




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      b. On the basis of filing of claims for sinkhole              b. We may cancel or nonrenew the policy prior
          loss. However, we may refuse to renew this                    to restoration of the structure or its contents
          policy if:                                                    for any of the following reasons:
         (1) The total of such property insurance                      (1) Nonpayment of premium;
              claim payments for this policy equals or                 (2) Material misstatement or fraud related to
              exceeds the policy limits in effect on the                    the claim;
              date of loss for property damage to the
              covered building; or                                     (3) We       determine      that   you     have
                                                                            unreasonably caused a delay in the
         (2) You have failed to repair the structure in                     repair of the structure; or
              accordance with       the engineering
              recommendations upon which any loss                      (4) We have paid the policy limits.
              payment or policy proceeds were based;                    If we cancel or nonrenew for nonpayment of
              or                                                        premium, we will give you 10 days' notice. If
      c. Solely on the basis of a single property                       we cancel or nonrenew for a reason listed
          insurance claim which is the result of water                  in Paragraph b.(2), b.(3) or b.(4), we will
          damage, unless we can demonstrate that                        give you 45 days' notice.
          you have failed to take action reasonably              2. With respect to a policy covering a residential
          requested by us to prevent a future similar               structure or its contents, any cancellation or
          occurrence of damage to the insured                       nonrenewal that would otherwise take effect
          property.                                                 during the duration of a hurricane will not take
   4. Notwithstanding the provisions of Paragraph                   effect until the end of the duration of such
      D.3., we may refuse to renew this policy if this              hurricane, unless a replacement policy has
      policy includes Sinkhole Loss coverage. If we                 been obtained and is in effect for a claim
      nonrenew this policy for purposes of removing                 occurring during the duration of the hurricane.
      Sinkhole Loss coverage, pursuant to section                   We may collect premium for the period of time
      627.706, Florida Statutes, we will offer you a                for which the policy period is extended.
      policy that includes catastrophic ground cover             3. With respect to Paragraph E.2., a hurricane is
      collapse coverage.                                            a storm system that has been declared to be a
   5. Notwithstanding the provisions of Paragraph                   hurricane by the National Hurricane Center of
      D.3., we may refuse to renew this policy if                   the National Weather Service (hereafter
      nonrenewal of some or all of our policies is                  referred to as NHC). The hurricane occurrence
      necessary to protect the best interests of the                begins at the time a hurricane watch or
      public or policyholders and such nonrenewal is                hurricane warning is issued for any part of
      approved by the Florida Office of Insurance                   Florida by the NHC and ends 72 hours after
      Regulation.                                                   the termination of the last hurricane watch or
                                                                    hurricane warning issued for any part of Florida
E. Limitations On Cancellation And Nonrenewal                       by the NHC.
   In The Event Of Hurricane Or Wind Loss –
   Residential Property
   1. The following provisions apply to a policy
       covering a residential structure or its contents,
       if such property has sustained damage as a
       result of a hurricane or windstorm that is the
       subject of a declaration of emergency by the
       Governor and filing of an order by the
       Commissioner of Insurance Regulation:
       a. Except as provided in Paragraph E.1.b., we
           may not cancel or nonrenew the policy until
           at least 90 days after repairs to the
           residential structure or its contents have
           been substantially completed so that it is
           restored to the extent that it is insurable by
           another insurer writing policies in Florida. If
           we elect to not renew the policy, we will
           provide at least 100 days' notice that we
           intend to nonrenew 90 days after the
           substantial completion of repairs.




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                                     COMMERCIAL GENERAL LIABILITY DECLARATIONS




PO LICY #        IMA410900

1.    LIM ITS O F IN SURAN CE
      EACH OCCURENCE LIMIT                                                          $ 1,000,000
           DAMAGE TO PREMISES RENTED TO YOU LIMIT                                   $   100,000          Any one premises
           MEDICAL EXPENSE LIMIT                                                    $     5,000          Any one person
      PERSONAL & ADVERTISING INJURY LIMIT                                           $ 1,000,000          Any one person or organization
      GENERAL AGGREGATE LIMIT                                                                           $ 2,000,000
      PRODUCTS/ COMPLETED OPERATIONS AGGREGATE LIMIT                                                    $ 2,000,000

2. LO CATIO N (S) O F ALL PREM ISES YO U O WN , REN T O R O CCUPY:                                                                         Territory
Loc#                                 Address                                                                  City             State Zip    Code

1     514 NE 16th Place                                                                          Cape Coral                     FL 33909




3.
LO C CLASSIFICATIO N                                 CO DE KEY PREM IUM               RATES                   ADVAN CE PREM IUM
#                                                     N O . LTR BASIS
                                                                               Prem / O ps Prod/ Com p Prem / O ps             Prod/ Com p
                                                                                           O ps                                O ps
1     Buildings or Premises - bank                       61217 A         6,000      191.53 Included               1,274 MP Included
      or office - mercantile or
      manufacturing (Lessor's risk
      only) - maintained by the
      insured - other than Not-For-
      Profit
1     Assault & Battery                                  99999 T Included Included                          Included
      (Included Limit)
                                                                                       SUBTO TAL                  1,274
                                      TERRO RISM RISK IN SURAN CE ACT (TRIA) PREM IUM :
                     (TRIA CO VERAGE N O T APPLICABLE UN LESS PREM IUM SH O WN ABO VE)
                                                                        TO TAL ADVAN CE PREM IUM                  1,274
           Audit period annual unless otherwise stated
4.    FORMS AND ENDORSEMENTS FORMING A PART OF THIS COVERAGE PART AND MADE PART OF THIS POLICY
      O N ITS EFFECTIVE DATE:
                                 See Schedule of Forms & Endorsements GSI-04-FORMSCH (1-01)

5.    RETRO ACTIVE DATE:___________________(Applies only to CG 00 02 - Claim s M ade Com m ercial General
      Liability Coverage Form . If blank, Retroactive Date is the inception date of this policy shown under Item 2 PO LICY
      PERIO D of the CO M M O N PO LICY DECLARATIO N S)

      a.     Coverage A of this insurance does not apply to "bodily injury" or "property damage" which occurs before the Retroactive
             Date shown above and Coverage B of this insurance does not apply to "personal and advertising injury" caused by an
             offense committed before the Retroactive Date shown above.

      b.     If applicable, the Retroactive Date for the insurance provided by some endorsements that are attached to and form a part
             of this Coverage Part may be different from the Retroactive Date shown above. In that case, the Retroactive Date
             applicable to the insurance provided by such endorsements will be shown in those endorsements.

       TH ESE DECLARATIO N S ARE PART O F TH E CO M M O N PO LICY DECLARATIO N S CO N TAIN IN G TH E N AM E O F
                                    TH E IN SURED AN D TH E PO LICY PERIO D.

     GSI-04-CGLDEC (5/ 04)
                                                             ORIGINAL
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                                                                                     COMMERCIAL GENERAL LIABILITY
                                                                                                    CG 00 01 04 13

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
  Various provisions in this policy restrict coverage. Read           (2) The "bodily injury" or "property damage"
  the entire policy carefully to determine rights, duties                  occurs during the policy period; and
  and what is and is not covered.                                     (3) Prior to the policy period, no insured listed
  Throughout this policy the words "you" and "your" refer                  under Paragraph 1. of Section II – Who Is An
  to the Named Insured shown in the Declarations, and                      Insured and no "employee" authorized by
  any other person or organization qualifying as a                         you to give or receive notice of an
  Named Insured under this policy. The words "we", "us"                    "occurrence" or claim, knew that the "bodily
  and "our" refer to the company providing this                            injury" or "property damage" had occurred,
  insurance.                                                               in whole or in part. If such a listed insured or
  The word "insured" means any person or organization                      authorized "employee" knew, prior to the
  qualifying as such under Section II – Who Is An                          policy period, that the "bodily injury" or
  Insured.                                                                 "property damage" occurred, then any
                                                                           continuation, change or resumption of such
  Other words and phrases that appear in quotation                         "bodily injury" or "property damage" during
  marks have special meaning. Refer to Section V                           or after the policy period will be deemed to
  –Definitions.                                                            have been known prior to the policy period.
  SECTION I – COVERAGES                                             c. "Bodily injury" or "property damage" which
  COVERAGE A – BODILY INJURY AND PROPERTY                              occurs during the policy period and was not,
  DAMAGE LIABILITY                                                     prior to the policy period, known to have
  1. Insuring Agreement                                                occurred by any insured listed under Paragraph
                                                                       1. of Section II – Who Is An Insured or any
      a. We will pay those sums that the insured                       "employee" authorized by you to give or receive
          becomes legally obligated to pay as damages                  notice of an "occurrence" or claim, includes any
          because of "bodily injury" or "property damage"              continuation, change or resumption of that
          to which this insurance applies. We will have the            "bodily injury" or "property damage" after the
          right and duty to defend the insured against any             end of the policy period.
          "suit" seeking those damages. However, we will
          have no duty to defend the insured against any            d. "Bodily injury" or "property damage" will be
          "suit" seeking damages for "bodily injury" or                deemed to have been known to have occurred
          "property damage" to which this insurance does               at the earliest time when any insured listed
          not apply. We may, at our discretion, investigate            under Paragraph 1. of Section II – Who Is An
          any "occurrence" and settle any claim or "suit"              Insured or any "employee" authorized by you to
          that may result. But:                                        give or receive notice of an "occurrence" or
                                                                       claim:
         (1) The amount we will pay for damages is
              limited as described in Section III – Limits Of         (1) Reports all, or any part, of the "bodily injury"
              Insurance; and                                               or "property damage" to us or any other
                                                                           insurer;
         (2) Our right and duty to defend ends when we
              have used up the applicable limit of                    (2) Receives a written or verbal demand or
              insurance in the payment of judgments or                     claim for damages because of the "bodily
              settlements under Coverages A or B or                        injury" or "property damage"; or
              medical expenses under Coverage C.                      (3) Becomes aware by any other means that
          No other obligation or liability to pay sums or                  "bodily injury" or "property damage" has
          perform acts or services is covered unless                       occurred or has begun to occur.
          explicitly provided for under Supplementary               e. Damages because of "bodily injury" include
          Payments – Coverages A and B.                                damages claimed by any person or organization
      b. This insurance applies to "bodily injury" and                 for care, loss of services or death resulting at
          "property damage" only if:                                   any time from the "bodily injury".
         (1) The "bodily injury" or "property damage" is
              caused by an "occurrence" that takes place
              in the "coverage territory";




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  2. Exclusions                                                       This exclusion applies even if the claims against
     This insurance does not apply to:                                any insured allege negligence or other
                                                                      wrongdoing in:
     a. Expected Or Intended Injury
                                                                         (a) The supervision, hiring, employment,
        "Bodily injury" or "property damage" expected or                      training or monitoring of others by that
        intended from the standpoint of the insured.                          insured; or
        This exclusion does not apply to "bodily injury"
        resulting from the use of reasonable force to                    (b) Providing     or    failing    to   provide
        protect persons or property.                                          transportation with respect to any person
                                                                              that may be under the influence of
     b. Contractual Liability                                                 alcohol;
        "Bodily injury" or "property damage" for which                if the "occurrence" which caused the "bodily
        the insured is obligated to pay damages by                    injury" or "property damage", involved that
        reason of the assumption of liability in a contract           which is described in Paragraph (1), (2) or (3)
        or agreement. This exclusion does not apply to                above.
        liability for damages:
                                                                      However, this exclusion applies only if you are in
       (1) That the insured would have in the absence                 the business of manufacturing, distributing,
             of the contract or agreement; or                         selling, serving or furnishing alcoholic
       (2) Assumed in a contract or agreement that is                 beverages. For the purposes of this exclusion,
             an "insured contract", provided the "bodily              permitting a person to bring alcoholic beverages
             injury" or "property damage" occurs                      on your premises, for consumption on your
             subsequent to the execution of the contract              premises, whether or not a fee is charged or a
             or agreement. Solely for the purposes of                 license is required for such activity, is not by
             liability assumed in an "insured contract",              itself considered the business of selling, serving
             reasonable attorneys' fees and necessary                 or furnishing alcoholic beverages.
             litigation expenses incurred by or for a party        d. Workers' Compensation And Similar Laws
             other than an insured are deemed to be
             damages because of "bodily injury" or                    Any obligation of the insured under a workers'
             "property damage", provided:                             compensation,        disability    benefits     or
                                                                      unemployment compensation law or any similar
            (a) Liability to such party for, or for the cost          law.
                  of, that party's defense has also been
                  assumed in the same "insured contract";          e. Employer's Liability
                  and                                                 "Bodily injury" to:
            (b) Such attorneys' fees and litigation                  (1) An "employee" of the insured arising out of
                  expenses are for defense of that party                  and in the course of:
                  against a civil or alternative dispute                 (a) Employment by the insured; or
                  resolution proceeding in which damages
                  to which this insurance applies are                    (b) Performing duties related to the conduct
                  alleged.                                                    of the insured's business; or
     c. Liquor Liability                                             (2) The spouse, child, parent, brother or sister
                                                                          of that "employee" as a consequence of
        "Bodily injury" or "property damage" for which                    Paragraph (1) above.
        any insured may be held liable by reason of:
                                                                      This exclusion applies whether the insured may
       (1) Causing or contributing to the intoxication of             be liable as an employer or in any other
             any person;                                              capacity and to any obligation to share
       (2) The furnishing of alcoholic beverages to a                 damages with or repay someone else who must
             person under the legal drinking age or under             pay damages because of the injury.
             the influence of alcohol; or                             This exclusion does not apply to liability
       (3) Any statute, ordinance or regulation relating              assumed by the insured under an "insured
             to the sale, gift, distribution or use of                contract".
             alcoholic beverages.




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     f. Pollution                                                        (d) At or from any premises, site or location
       (1) "Bodily injury" or "property damage" arising                       on which any insured or any contractors
           out of the actual, alleged or threatened                           or subcontractors working directly or
           discharge, dispersal, seepage, migration,                          indirectly on any insured's behalf are
           release or escape of "pollutants":                                 performing operations if the "pollutants"
                                                                              are brought on or to the premises, site or
          (a) At or from any premises, site or location                       location in connection with such
               which is or was at any time owned or                           operations by such insured, contractor or
               occupied by, or rented or loaned to, any                       subcontractor.           However,          this
               insured. However, this subparagraph                            subparagraph does not apply to:
               does not apply to:
                                                                              (i) "Bodily injury" or "property damage"
               (i) "Bodily injury" if sustained within a                          arising out of the escape of fuels,
                    building and caused by smoke,                                 lubricants or other operating fluids
                    fumes, vapor or soot produced by or                           which are needed to perform the
                    originating from equipment that is                            normal electrical, hydraulic or
                    used to heat, cool or dehumidify the                          mechanical functions necessary for
                    building, or equipment that is used to                        the operation of "mobile equipment"
                    heat water for personal use, by the                           or its parts, if such fuels, lubricants or
                    building's occupants or their guests;                         other operating fluids escape from a
              (ii) "Bodily injury" or "property damage"                           vehicle part designed to hold, store or
                    for which you may be held liable, if                          receive them. This exception does not
                    you are a contractor and the owner or                         apply if the "bodily injury" or "property
                    lessee of such premises, site or                              damage" arises out of the intentional
                    location has been added to your                               discharge, dispersal or release of the
                    policy as an additional insured with                          fuels, lubricants or other operating
                    respect to your ongoing operations                            fluids, or if such fuels, lubricants or
                    performed for that additional insured                         other operating fluids are brought on
                    at that premises, site or location and                        or to the premises, site or location
                    such premises, site or location is not                        with the intent that they be
                    and never was owned or occupied by,                           discharged, dispersed or released as
                    or rented or loaned to, any insured,                          part of the operations being
                    other than that additional insured; or                        performed         by    such      insured,
             (iii) "Bodily injury" or "property damage"                           contractor or subcontractor;
                    arising out of heat, smoke or fumes                      (ii) "Bodily injury" or "property damage"
                    from a "hostile fire";                                        sustained within a building and
          (b) At or from any premises, site or location                           caused by the release of gases,
               which is or was at any time used by or for                         fumes or vapors from materials
               any insured or others for the handling,                            brought into that building in
               storage,       disposal,    processing     or                      connection with operations being
               treatment of waste;                                                performed by you or on your behalf
                                                                                  by a contractor or subcontractor; or
          (c) Which are or were at any time
               transported, handled, stored, treated,                       (iii) "Bodily injury" or "property damage"
               disposed of, or processed as waste by or                           arising out of heat, smoke or fumes
               for:                                                               from a "hostile fire".
               (i) Any insured; or                                       (e) At or from any premises, site or location
                                                                              on which any insured or any contractors
              (ii) Any person or organization for whom                        or subcontractors working directly or
                    you may be legally responsible; or                        indirectly on any insured's behalf are
                                                                              performing operations if the operations
                                                                              are to test for, monitor, clean up,
                                                                              remove, contain, treat, detoxify or
                                                                              neutralize, or in any way respond to, or
                                                                              assess the effects of, "pollutants".




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       (2) Any loss, cost or expense arising out of any:             (5) "Bodily injury" or "property damage" arising
           (a) Request, demand, order or statutory or                      out of:
                regulatory requirement that any insured                   (a) The operation of machinery or
                or others test for, monitor, clean up,                         equipment that is attached to, or part of,
                remove, contain, treat, detoxify or                            a land vehicle that would qualify under
                neutralize, or in any way respond to, or                       the definition of "mobile equipment" if it
                assess the effects of, "pollutants"; or                        were not subject to a compulsory or
           (b) Claim or suit by or on behalf of a                              financial responsibility law or other motor
                governmental authority for damages                             vehicle insurance law where it is licensed
                because of testing for, monitoring,                            or principally garaged; or
                cleaning up, removing, containing,                        (b) The operation of any of the machinery or
                treating, detoxifying or neutralizing, or in                   equipment listed in Paragraph f.(2) or
                any way responding to, or assessing the                        f.(3) of the definition of "mobile
                effects of, "pollutants".                                      equipment".
            However, this paragraph does not apply to             h. Mobile Equipment
            liability for damages because of "property                "Bodily injury" or "property damage" arising out
            damage" that the insured would have in the                of:
            absence of such request, demand, order or
            statutory or regulatory requirement, or such             (1) The transportation of "mobile equipment" by
            claim or "suit" by or on behalf of a                           an "auto" owned or operated by or rented or
            governmental authority.                                        loaned to any insured; or
     g. Aircraft, Auto Or Watercraft                                 (2) The use of "mobile equipment" in, or while in
                                                                           practice for, or while being prepared for, any
        "Bodily injury" or "property damage" arising out                   prearranged racing, speed, demolition, or
        of the ownership, maintenance, use or                              stunting activity.
        entrustment to others of any aircraft, "auto" or
        watercraft owned or operated by or rented or               i. War
        loaned to any insured. Use includes operation                 "Bodily injury" or "property damage", however
        and "loading or unloading".                                   caused, arising, directly or indirectly, out of:
        This exclusion applies even if the claims against            (1) War, including undeclared or civil war;
        any insured allege negligence or other                       (2) Warlike action by a military force, including
        wrongdoing in the supervision, hiring,                             action in hindering or defending against an
        employment, training or monitoring of others by                    actual or expected attack, by any
        that insured, if the "occurrence" which caused                     government, sovereign or other authority
        the "bodily injury" or "property damage" involved                  using military personnel or other agents; or
        the     ownership,      maintenance,      use     or
        entrustment to others of any aircraft, "auto" or             (3) Insurrection, rebellion, revolution, usurped
        watercraft that is owned or operated by or                         power, or action taken by governmental
        rented or loaned to any insured.                                   authority in hindering or defending against
                                                                           any of these.
        This exclusion does not apply to:
                                                                   j. Damage To Property
       (1) A watercraft while ashore on premises you
            own or rent;                                              "Property damage" to:
       (2) A watercraft you do not own that is:                      (1) Property you own, rent, or occupy, including
                                                                           any costs or expenses incurred by you, or
           (a) Less than 26 feet long; and                                 any other person, organization or entity, for
           (b) Not being used to carry persons or                          repair,      replacement,        enhancement,
                property for a charge;                                     restoration or maintenance of such property
       (3) Parking an "auto" on, or on the ways next to,                   for any reason, including prevention of injury
            premises you own or rent, provided the                         to a person or damage to another's property;
            "auto" is not owned by or rented or loaned to            (2) Premises you sell, give away or abandon, if
            you or the insured;                                            the "property damage" arises out of any part
       (4) Liability assumed under any "insured                            of those premises;
            contract" for the ownership, maintenance or              (3) Property loaned to you;
            use of aircraft or watercraft; or




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       (4) Personal property in the care, custody or                 This exclusion does not apply to the loss of use
             control of the insured;                                 of other property arising out of sudden and
       (5) That particular part of real property on which            accidental physical injury to "your product" or
             you or any contractors or subcontractors                "your work" after it has been put to its intended
             working directly or indirectly on your behalf           use.
             are performing operations, if the "property          n. Recall Of Products, Work Or Impaired
             damage" arises out of those operations; or              Property
       (6) That particular part of any property that must            Damages claimed for any loss, cost or expense
             be restored, repaired or replaced because               incurred by you or others for the loss of use,
             "your work" was incorrectly performed on it.            withdrawal,       recall,    inspection,     repair,
        Paragraphs (1), (3) and (4) of this exclusion do             replacement, adjustment, removal or disposal
        not apply to "property damage" (other than                   of:
        damage by fire) to premises, including the                  (1) "Your product";
        contents of such premises, rented to you for a              (2) "Your work"; or
        period of seven or fewer consecutive days. A
        separate limit of insurance applies to Damage               (3) "Impaired property";
        To Premises Rented To You as described in                    if such product, work, or property is withdrawn
        Section III – Limits Of Insurance.                           or recalled from the market or from use by any
        Paragraph (2) of this exclusion does not apply if            person or organization because of a known or
        the premises are "your work" and were never                  suspected defect, deficiency, inadequacy or
        occupied, rented or held for rental by you.                  dangerous condition in it.
        Paragraphs (3), (4), (5) and (6) of this exclusion        o. Personal And Advertising Injury
        do not apply to liability assumed under a                    "Bodily injury" arising out of "personal and
        sidetrack agreement.                                         advertising injury".
        Paragraph (6) of this exclusion does not apply            p. Electronic Data
        to "property damage" included in the                         Damages arising out of the loss of, loss of use
        "products-completed operations hazard".                      of, damage to, corruption of, inability to access,
    k. Damage To Your Product                                        or inability to manipulate electronic data.
        "Property damage" to "your product" arising out              However, this exclusion does not apply to
        of it or any part of it.                                     liability for damages because of "bodily injury".
     l. Damage To Your Work                                          As used in this exclusion, electronic data means
        "Property damage" to "your work" arising out of              information, facts or programs stored as or on,
        it or any part of it and included in the                     created or used on, or transmitted to or from
        "products-completed operations hazard".                      computer software, including systems and
                                                                     applications software, hard or floppy disks,
        This exclusion does not apply if the damaged                 CD-ROMs, tapes, drives, cells, data processing
        work or the work out of which the damage                     devices or any other media which are used with
        arises was performed on your behalf by a                     electronically controlled equipment.
        subcontractor.
                                                                  q. Recording And Distribution Of Material Or
    m. Damage To Impaired Property Or Property                       Information In Violation Of Law
        Not Physically Injured
                                                                     "Bodily injury" or "property damage" arising
        "Property damage" to "impaired property" or                  directly or indirectly out of any action or
        property that has not been physically injured,               omission that violates or is alleged to violate:
        arising out of:
                                                                    (1) The Telephone Consumer Protection Act
       (1) A defect, deficiency, inadequacy or                           (TCPA), including any amendment of or
             dangerous condition in "your product" or                    addition to such law;
             "your work"; or
                                                                    (2) The CAN-SPAM Act of 2003, including any
       (2) A delay or failure by you or anyone acting on                 amendment of or addition to such law;
             your behalf to perform a contract or
             agreement in accordance with its terms.                (3) The Fair Credit Reporting Act (FCRA), and
                                                                         any amendment of or addition to such law,
                                                                         including the Fair and Accurate Credit
                                                                         Transactions Act (FACTA); or



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         (4) Any federal, state or local statute, ordinance       2. Exclusions
              or regulation, other than the TCPA,                    This insurance does not apply to:
              CAN-SPAM Act of 2003 or FCRA and their
              amendments and additions, that addresses,              a. Knowing Violation Of Rights Of Another
              prohibits, or limits the printing, dissemination,         "Personal and advertising injury" caused by or
              disposal, collecting, recording, sending,                 at the direction of the insured with the
              transmitting, communicating or distribution of            knowledge that the act would violate the rights
              material or information.                                  of another and would inflict "personal and
     Exclusions c. through n. do not apply to damage by                 advertising injury".
     fire to premises while rented to you or temporarily             b. Material Published With Knowledge Of
     occupied by you with permission of the owner. A                    Falsity
     separate limit of insurance applies to this coverage               "Personal and advertising injury" arising out of
     as described in Section III – Limits Of Insurance.                 oral or written publication, in any manner, of
  COVERAGE B – PERSONAL AND ADVERTISING                                 material, if done by or at the direction of the
  INJURY LIABILITY                                                      insured with knowledge of its falsity.
  1. Insuring Agreement                                              c. Material Published Prior To Policy Period
     a. We will pay those sums that the insured                         "Personal and advertising injury" arising out of
          becomes legally obligated to pay as damages                   oral or written publication, in any manner, of
          because of "personal and advertising injury" to               material whose first publication took place
          which this insurance applies. We will have the                before the beginning of the policy period.
          right and duty to defend the insured against any           d. Criminal Acts
          "suit" seeking those damages. However, we will
          have no duty to defend the insured against any                "Personal and advertising injury" arising out of a
          "suit" seeking damages for "personal and                      criminal act committed by or at the direction of
          advertising injury" to which this insurance does              the insured.
          not apply. We may, at our discretion, investigate          e. Contractual Liability
          any offense and settle any claim or "suit" that
          may result. But:                                              "Personal and advertising injury" for which the
                                                                        insured has assumed liability in a contract or
         (1) The amount we will pay for damages is                      agreement. This exclusion does not apply to
              limited as described in Section III – Limits Of           liability for damages that the insured would have
              Insurance; and                                            in the absence of the contract or agreement.
         (2) Our right and duty to defend end when we                f. Breach Of Contract
              have used up the applicable limit of
              insurance in the payment of judgments or                  "Personal and advertising injury" arising out of a
              settlements under Coverages A or B or                     breach of contract, except an implied contract to
              medical expenses under Coverage C.                        use another's advertising idea in your
                                                                        "advertisement".
          No other obligation or liability to pay sums or
          perform acts or services is covered unless                 g. Quality Or Performance Of Goods – Failure
          explicitly provided for under Supplementary                   To Conform To Statements
          Payments – Coverages A and B.                                 "Personal and advertising injury" arising out of
     b. This insurance applies to "personal and                         the failure of goods, products or services to
          advertising injury" caused by an offense arising              conform with any statement of quality or
          out of your business but only if the offense was              performance made in your "advertisement".
          committed in the "coverage territory" during the           h. Wrong Description Of Prices
          policy period.                                                "Personal and advertising injury" arising out of
                                                                        the wrong description of the price of goods,
                                                                        products or services stated in your
                                                                        "advertisement".




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     i. Infringement Of Copyright, Patent,                        n. Pollution-related
        Trademark Or Trade Secret                                    Any loss, cost or expense arising out of any:
        "Personal and advertising injury" arising out of            (1) Request, demand, order or statutory or
        the infringement of copyright, patent, trademark,                regulatory requirement that any insured or
        trade secret or other intellectual property rights.              others test for, monitor, clean up, remove,
        Under this exclusion, such other intellectual                    contain, treat, detoxify or neutralize, or in any
        property rights do not include the use of                        way respond to, or assess the effects of,
        another's        advertising  idea      in     your              "pollutants"; or
        "advertisement".
                                                                    (2) Claim or suit by or on behalf of a
        However, this exclusion does not apply to                        governmental authority for damages
        infringement, in your "advertisement", of                        because of testing for, monitoring, cleaning
        copyright, trade dress or slogan.                                up,     removing,        containing,     treating,
     j. Insureds In Media And Internet Type                              detoxifying or neutralizing, or in any way
        Businesses                                                       responding to, or assessing the effects of,
        "Personal and advertising injury" committed by                   "pollutants".
        an insured whose business is:                             o. War
       (1) Advertising, broadcasting, publishing or                  "Personal and advertising injury", however
             telecasting;                                            caused, arising, directly or indirectly, out of:
       (2) Designing or determining content of web                  (1) War, including undeclared or civil war;
             sites for others; or                                   (2) Warlike action by a military force, including
       (3) An Internet search, access, content or                        action in hindering or defending against an
             service provider.                                           actual or expected attack, by any
        However, this exclusion does not apply to                        government, sovereign or other authority
        Paragraphs 14.a., b. and c. of "personal and                     using military personnel or other agents; or
        advertising injury" under the Definitions section.          (3) Insurrection, rebellion, revolution, usurped
        For the purposes of this exclusion, the placing                  power, or action taken by governmental
        of frames, borders or links, or advertising, for                 authority in hindering or defending against
        you or others anywhere on the Internet, is not by                any of these.
        itself, considered the business of advertising,           p. Recording And Distribution Of Material Or
        broadcasting, publishing or telecasting.                     Information In Violation Of Law
    k. Electronic Chatrooms Or Bulletin Boards                       "Personal and advertising injury" arising directly
        "Personal and advertising injury" arising out of             or indirectly out of any action or omission that
        an electronic chatroom or bulletin board the                 violates or is alleged to violate:
        insured hosts, owns, or over which the insured              (1) The Telephone Consumer Protection Act
        exercises control.                                               (TCPA), including any amendment of or
     l. Unauthorized Use Of Another's Name Or                            addition to such law;
        Product                                                     (2) The CAN-SPAM Act of 2003, including any
        "Personal and advertising injury" arising out of                 amendment of or addition to such law;
        the unauthorized use of another's name or                   (3) The Fair Credit Reporting Act (FCRA), and
        product in your e-mail address, domain name or                   any amendment of or addition to such law,
        metatag, or any other similar tactics to mislead                 including the Fair and Accurate Credit
        another's potential customers.                                   Transactions Act (FACTA); or
    m. Pollution                                                    (4) Any federal, state or local statute, ordinance
        "Personal and advertising injury" arising out of                 or regulation, other than the TCPA,
        the actual, alleged or threatened discharge,                     CAN-SPAM Act of 2003 or FCRA and their
        dispersal, seepage, migration, release or                        amendments and additions, that addresses,
        escape of "pollutants" at any time.                              prohibits, or limits the printing, dissemination,
                                                                         disposal, collecting, recording, sending,
                                                                         transmitting, communicating or distribution of
                                                                         material or information.




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  COVERAGE C – MEDICAL PAYMENTS                                    d. Workers' Compensation And Similar Laws
  1. Insuring Agreement                                                To a person, whether or not an "employee" of
     a. We will pay medical expenses as described                      any insured, if benefits for the "bodily injury" are
         below for "bodily injury" caused by an accident:              payable or must be provided under a workers'
                                                                       compensation or disability benefits law or a
        (1) On premises you own or rent;                               similar law.
        (2) On ways next to premises you own or rent;              e. Athletics Activities
             or
                                                                       To a person injured while practicing, instructing
        (3) Because of your operations;                                or participating in any physical exercises or
         provided that:                                                games, sports, or athletic contests.
            (a) The accident takes place in the                     f. Products-Completed Operations Hazard
                "coverage territory" and during the policy             Included within the "products-completed
                period;                                                operations hazard".
            (b) The expenses are incurred and reported             g. Coverage A Exclusions
                to us within one year of the date of the
                accident; and                                          Excluded under Coverage A.
            (c) The     injured person       submits to         SUPPLEMENTARY PAYMENTS – COVERAGES A
                examination, at our expense, by                 AND B
                physicians of our choice as often as we         1. We will pay, with respect to any claim we
                reasonably require.                                investigate or settle, or any "suit" against an insured
     b. We will make these payments regardless of                  we defend:
         fault. These payments will not exceed the                 a. All expenses we incur.
         applicable limit of insurance. We will pay                b. Up to $250 for cost of bail bonds required
         reasonable expenses for:                                      because of accidents or traffic law violations
        (1) First aid administered at the time of an                   arising out of the use of any vehicle to which the
             accident;                                                 Bodily Injury Liability Coverage applies. We do
        (2) Necessary medical, surgical, X-ray and                     not have to furnish these bonds.
             dental services, including prosthetic devices;        c. The cost of bonds to release attachments, but
             and                                                       only for bond amounts within the applicable limit
        (3) Necessary           ambulance,         hospital,           of insurance. We do not have to furnish these
             professional nursing and funeral services.                bonds.
  2. Exclusions                                                    d. All reasonable expenses incurred by the insured
                                                                       at our request to assist us in the investigation or
     We will not pay expenses for "bodily injury":                     defense of the claim or "suit", including actual
     a. Any Insured                                                    loss of earnings up to $250 a day because of
         To any insured, except "volunteer workers".                   time off from work.
     b. Hired Person                                               e. All court costs taxed against the insured in the
                                                                       "suit". However, these payments do not include
         To a person hired to do work for or on behalf of              attorneys' fees or attorneys' expenses taxed
         any insured or a tenant of any insured.                       against the insured.
     c. Injury On Normally Occupied Premises                        f. Prejudgment interest awarded against the
         To a person injured on that part of premises you              insured on that part of the judgment we pay. If
         own or rent that the person normally occupies.                we make an offer to pay the applicable limit of
                                                                       insurance, we will not pay any prejudgment
                                                                       interest based on that period of time after the
                                                                       offer.




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     g. All interest on the full amount of any judgment           So long as the above conditions are met, attorneys'
         that accrues after entry of the judgment and             fees incurred by us in the defense of that
         before we have paid, offered to pay, or                  indemnitee, necessary litigation expenses incurred
         deposited in court the part of the judgment that         by us and necessary litigation expenses incurred by
         is within the applicable limit of insurance.             the indemnitee at our request will be paid as
     These payments will not reduce the limits of                 Supplementary Payments. Notwithstanding the
     insurance.                                                   provisions of Paragraph 2.b.(2) of Section I –
                                                                  Coverage A – Bodily Injury And Property Damage
  2. If we defend an insured against a "suit" and an              Liability, such payments will not be deemed to be
     indemnitee of the insured is also named as a party           damages for "bodily injury" and "property damage"
     to the "suit", we will defend that indemnitee if all of      and will not reduce the limits of insurance.
     the following conditions are met:
                                                                  Our obligation to defend an insured's indemnitee
     a. The "suit" against the indemnitee seeks                   and to pay for attorneys' fees and necessary
         damages for which the insured has assumed                litigation expenses as Supplementary Payments
         the liability of the indemnitee in a contract or         ends when we have used up the applicable limit of
         agreement that is an "insured contract";                 insurance in the payment of judgments or
     b. This insurance applies to such liability assumed          settlements or the conditions set forth above, or the
         by the insured;                                          terms of the agreement described in Paragraph f.
                                                                  above, are no longer met.
     c. The obligation to defend, or the cost of the
         defense of, that indemnitee, has also been            SECTION II – WHO IS AN INSURED
         assumed by the insured in the same "insured           1. If you are designated in the Declarations as:
         contract";
                                                                  a. An individual, you and your spouse are
     d. The allegations in the "suit" and the information              insureds, but only with respect to the conduct of
         we know about the "occurrence" are such that                  a business of which you are the sole owner.
         no conflict appears to exist between the
         interests of the insured and the interests of the        b. A partnership or joint venture, you are an
         indemnitee;                                                   insured. Your members, your partners, and their
                                                                       spouses are also insureds, but only with respect
     e. The indemnitee and the insured ask us to                       to the conduct of your business.
         conduct and control the defense of that
         indemnitee against such "suit" and agree that            c. A limited liability company, you are an insured.
         we can assign the same counsel to defend the                  Your members are also insureds, but only with
         insured and the indemnitee; and                               respect to the conduct of your business. Your
                                                                       managers are insureds, but only with respect to
      f. The indemnitee:                                               their duties as your managers.
        (1) Agrees in writing to:                                 d. An organization other than a partnership, joint
            (a) Cooperate with us in the investigation,                venture or limited liability company, you are an
                 settlement or defense of the "suit";                  insured. Your "executive officers" and directors
                                                                       are insureds, but only with respect to their duties
            (b) Immediately send us copies of any                      as your officers or directors. Your stockholders
                 demands, notices, summonses or legal                  are also insureds, but only with respect to their
                 papers received in connection with the                liability as stockholders.
                 "suit";
                                                                  e. A trust, you are an insured. Your trustees are
            (c) Notify any other insurer whose coverage                also insureds, but only with respect to their
                 is available to the indemnitee; and                   duties as trustees.
            (d) Cooperate with us with respect to
                 coordinating other applicable insurance
                 available to the indemnitee; and
        (2) Provides us with written authorization to:
            (a) Obtain records and other information
                 related to the "suit"; and
            (b) Conduct and control the defense of the
                 indemnitee in such "suit".




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  2. Each of the following is also an insured:                    c. Any person or organization having proper
     a. Your "volunteer workers" only while performing                 temporary custody of your property if you die,
        duties related to the conduct of your business,                but only:
        or your "employees", other than either your                   (1) With respect to liability arising out of the
        "executive officers" (if you are an organization                   maintenance or use of that property; and
        other than a partnership, joint venture or limited            (2) Until your legal representative has been
        liability company) or your managers (if you are a                  appointed.
        limited liability company), but only for acts within
        the scope of their employment by you or while             d. Your legal representative if you die, but only with
        performing duties related to the conduct of your               respect to duties as such. That representative
        business. However, none of these "employees"                   will have all your rights and duties under this
        or "volunteer workers" are insureds for:                       Coverage Part.
       (1) "Bodily injury" or "personal and advertising        3. Any organization you newly acquire or form, other
            injury":                                              than a partnership, joint venture or limited liability
                                                                  company, and over which you maintain ownership
           (a) To you, to your partners or members (if            or majority interest, will qualify as a Named Insured
                 you are a partnership or joint venture), to      if there is no other similar insurance available to
                 your members (if you are a limited               that organization. However:
                 liability company), to a co-"employee"
                 while in the course of his or her                a. Coverage under this provision is afforded only
                 employment or performing duties related               until the 90th day after you acquire or form the
                 to the conduct of your business, or to                organization or the end of the policy period,
                 your other "volunteer workers" while                  whichever is earlier;
                 performing duties related to the conduct         b. Coverage A does not apply to "bodily injury" or
                 of your business;                                     "property damage" that occurred before you
           (b) To the spouse, child, parent, brother or                acquired or formed the organization; and
                 sister of that co-"employee" or "volunteer       c. Coverage B does not apply to "personal and
                 worker" as a consequence of Paragraph                 advertising injury" arising out of an offense
                 (1)(a) above;                                         committed before you acquired or formed the
           (c) For which there is any obligation to share              organization.
                 damages with or repay someone else            No person or organization is an insured with respect to
                 who must pay damages because of the           the conduct of any current or past partnership, joint
                 injury described in Paragraph (1)(a) or       venture or limited liability company that is not shown as
                 (b) above; or                                 a Named Insured in the Declarations.
           (d) Arising out of his or her providing or          SECTION III – LIMITS OF INSURANCE
                 failing to provide professional health care   1. The Limits of Insurance shown in the Declarations
                 services.                                        and the rules below fix the most we will pay
       (2) "Property damage" to property:                         regardless of the number of:
           (a) Owned, occupied or used by;                        a. Insureds;
           (b) Rented to, in the care, custody or control         b. Claims made or "suits" brought; or
                 of, or over which physical control is being      c. Persons or organizations making claims or
                 exercised for any purpose by;                         bringing "suits".
            you, any of your "employees", "volunteer           2. The General Aggregate Limit is the most we will
            workers", any partner or member (if you are           pay for the sum of:
            a partnership or joint venture), or any
            member (if you are a limited liability                a. Medical expenses under Coverage C;
            company).                                             b. Damages under Coverage A, except damages
     b. Any person (other than your "employee" or                      because of "bodily injury" or "property damage"
        "volunteer worker"), or any organization while                 included in the "products-completed operations
        acting as your real estate manager.                            hazard"; and
                                                                  c. Damages under Coverage B.




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  3. The Products-Completed Operations Aggregate                       (3) The nature and location of any injury or
      Limit is the most we will pay under Coverage A for                     damage arising out of the "occurrence" or
      damages because of "bodily injury" and "property                       offense.
      damage" included in the "products-completed                   b. If a claim is made or "suit" is brought against
      operations hazard".                                               any insured, you must:
  4. Subject to Paragraph 2. above, the Personal And                   (1) Immediately record the specifics of the claim
      Advertising Injury Limit is the most we will pay                       or "suit" and the date received; and
      under Coverage B for the sum of all damages
      because of all "personal and advertising injury"                 (2) Notify us as soon as practicable.
      sustained by any one person or organization.                      You must see to it that we receive written notice
  5. Subject to Paragraph 2. or 3. above, whichever                     of the claim or "suit" as soon as practicable.
      applies, the Each Occurrence Limit is the most we             c. You and any other involved insured must:
      will pay for the sum of:                                         (1) Immediately send us copies of any
      a. Damages under Coverage A; and                                       demands, notices, summonses or legal
      b. Medical expenses under Coverage C                                   papers received in connection with the claim
                                                                             or "suit";
      because of all "bodily injury" and "property
      damage" arising out of any one "occurrence".                     (2) Authorize us to obtain records and other
                                                                             information;
  6. Subject to Paragraph 5. above, the Damage To
      Premises Rented To You Limit is the most we will                 (3) Cooperate with us in the investigation or
      pay under Coverage A for damages because of                            settlement of the claim or defense against
      "property damage" to any one premises, while                           the "suit"; and
      rented to you, or in the case of damage by fire,                 (4) Assist us, upon our request, in the
      while rented to you or temporarily occupied by you                     enforcement of any right against any person
      with permission of the owner.                                          or organization which may be liable to the
  7. Subject to Paragraph 5. above, the Medical                              insured because of injury or damage to
      Expense Limit is the most we will pay under                            which this insurance may also apply.
      Coverage C for all medical expenses because of                d. No insured will, except at that insured's own
      "bodily injury" sustained by any one person.                      cost, voluntarily make a payment, assume any
  The Limits of Insurance of this Coverage Part apply                   obligation, or incur any expense, other than for
  separately to each consecutive annual period and to                   first aid, without our consent.
  any remaining period of less than 12 months, starting          3. Legal Action Against Us
  with the beginning of the policy period shown in the              No person or organization has a right under this
  Declarations, unless the policy period is extended after          Coverage Part:
  issuance for an additional period of less than 12
  months. In that case, the additional period will be               a. To join us as a party or otherwise bring us into a
  deemed part of the last preceding period for purposes                 "suit" asking for damages from an insured; or
  of determining the Limits of Insurance.                           b. To sue us on this Coverage Part unless all of its
  SECTION IV – COMMERCIAL GENERAL LIABILITY                             terms have been fully complied with.
  CONDITIONS                                                        A person or organization may sue us to recover on
  1. Bankruptcy                                                     an agreed settlement or on a final judgment
                                                                    against an insured; but we will not be liable for
      Bankruptcy or insolvency of the insured or of the             damages that are not payable under the terms of
      insured's estate will not relieve us of our obligations       this Coverage Part or that are in excess of the
      under this Coverage Part.                                     applicable limit of insurance. An agreed settlement
  2. Duties In The Event Of Occurrence, Offense,                    means a settlement and release of liability signed
      Claim Or Suit                                                 by us, the insured and the claimant or the
      a. You must see to it that we are notified as soon            claimant's legal representative.
           as practicable of an "occurrence" or an offense
           which may result in a claim. To the extent
           possible, notice should include:
         (1) How, when and where the "occurrence" or
              offense took place;
         (2) The names and addresses of any injured
              persons and witnesses; and


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  4. Other Insurance                                                 (3) When this insurance is excess over other
     If other valid and collectible insurance is available                 insurance, we will pay only our share of the
     to the insured for a loss we cover under Coverages                    amount of the loss, if any, that exceeds the
     A or B of this Coverage Part, our obligations are                     sum of:
     limited as follows:                                                  (a) The total amount that all such other
     a. Primary Insurance                                                      insurance would pay for the loss in the
                                                                               absence of this insurance; and
         This insurance is primary except when
         Paragraph b. below applies. If this insurance is                (b) The total of all deductible and
         primary, our obligations are not affected unless                      self-insured amounts under all that other
         any of the other insurance is also primary. Then,                     insurance.
         we will share with all that other insurance by the          (4) We will share the remaining loss, if any, with
         method described in Paragraph c. below.                           any other insurance that is not described in
     b. Excess Insurance                                                   this Excess Insurance provision and was not
                                                                           bought specifically to apply in excess of the
        (1) This insurance is excess over:                                 Limits of Insurance shown in the
            (a) Any of the other insurance, whether                        Declarations of this Coverage Part.
                  primary, excess, contingent or on any            c. Method Of Sharing
                  other basis:
                                                                      If all of the other insurance permits contribution
                  (i) That is Fire, Extended Coverage,                by equal shares, we will follow this method also.
                      Builder's Risk, Installation Risk or            Under this approach each insurer contributes
                      similar coverage for "your work";               equal amounts until it has paid its applicable
                 (ii) That is Fire insurance for premises             limit of insurance or none of the loss remains,
                      rented to you or temporarily occupied           whichever comes first.
                      by you with permission of the owner;            If any of the other insurance does not permit
                (iii) That is insurance purchased by you              contribution by equal shares, we will contribute
                      to cover your liability as a tenant for         by limits. Under this method, each insurer's
                      "property damage" to premises                   share is based on the ratio of its applicable limit
                      rented to you or temporarily occupied           of insurance to the total applicable limits of
                      by you with permission of the owner;            insurance of all insurers.
                      or                                        5. Premium Audit
                (iv) If the loss arises out of the                 a. We will compute all premiums for this Coverage
                      maintenance or use of aircraft,                 Part in accordance with our rules and rates.
                      "autos" or watercraft to the extent not
                      subject to Exclusion g. of Section I –       b. Premium shown in this Coverage Part as
                      Coverage A – Bodily Injury And                  advance premium is a deposit premium only. At
                      Property Damage Liability.                      the close of each audit period we will compute
                                                                      the earned premium for that period and send
            (b) Any other primary insurance available to              notice to the first Named Insured. The due date
                  you covering liability for damages arising          for audit and retrospective premiums is the date
                  out of the premises or operations, or the           shown as the due date on the bill. If the sum of
                  products and completed operations, for              the advance and audit premiums paid for the
                  which you have been added as an                     policy period is greater than the earned
                  additional insured.                                 premium, we will return the excess to the first
        (2) When this insurance is excess, we will have               Named Insured.
             no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
             the insured against any "suit" if any other              the information we need for premium
             insurer has a duty to defend the insured                 computation, and send us copies at such times
             against that "suit". If no other insurer                 as we may request.
             defends, we will undertake to do so, but we
             will be entitled to the insured's rights against   6. Representations
             all those other insurers.                             By accepting this policy, you agree:
                                                                   a. The statements in the Declarations are accurate
                                                                      and complete;




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     b. Those       statements         are  based      upon        However, "auto" does not include "mobile
          representations you made to us; and                      equipment".
     c. We have issued this policy in reliance upon your        3. "Bodily injury" means bodily injury, sickness or
          representations.                                         disease sustained by a person, including death
  7. Separation Of Insureds                                        resulting from any of these at any time.
     Except with respect to the Limits of Insurance, and        4. "Coverage territory" means:
     any rights or duties specifically assigned in this            a. The United States of America (including its
     Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
     insurance applies:                                                Canada;
     a. As if each Named Insured were the only Named               b. International waters or airspace, but only if the
          Insured; and                                                 injury or damage occurs in the course of travel
     b. Separately to each insured against whom claim                  or transportation between any places included
          is made or "suit" is brought.                                in Paragraph a. above; or
  8. Transfer Of Rights Of Recovery Against Others                 c. All other parts of the world if the injury or
     To Us                                                             damage arises out of:
     If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
     payment we have made under this Coverage Part,                        the territory described in Paragraph a.
     those rights are transferred to us. The insured must                  above;
     do nothing after loss to impair them. At our request,            (2) The activities of a person whose home is in
     the insured will bring "suit" or transfer those rights                the territory described in Paragraph a.
     to us and help us enforce them.                                       above, but is away for a short time on your
  9. When We Do Not Renew                                                  business; or
     If we decide not to renew this Coverage Part, we                 (3) "Personal and advertising injury" offenses
     will mail or deliver to the first Named Insured shown                 that take place through the Internet or
     in the Declarations written notice of the nonrenewal                  similar electronic means of communication;
     not less than 30 days before the expiration date.             provided the insured's responsibility to pay
     If notice is mailed, proof of mailing will be sufficient      damages is determined in a "suit" on the merits, in
     proof of notice.                                              the territory described in Paragraph a. above or in a
                                                                   settlement we agree to.
  SECTION V – DEFINITIONS
                                                                5. "Employee"       includes    a    "leased    worker".
  1. "Advertisement" means a notice that is broadcast              "Employee" does not include a "temporary worker".
     or published to the general public or specific
     market segments about your goods, products or              6. "Executive officer" means a person holding any of
     services for the purpose of attracting customers or           the officer positions created by your charter,
     supporters. For the purposes of this definition:              constitution, bylaws or any other similar governing
                                                                   document.
     a. Notices that are published include material
          placed on the Internet or on similar electronic       7. "Hostile fire" means one which becomes
          means of communication; and                              uncontrollable or breaks out from where it was
                                                                   intended to be.
     b. Regarding web sites, only that part of a web site
          that is about your goods, products or services        8. "Impaired property" means tangible property, other
          for the purposes of attracting customers or              than "your product" or "your work", that cannot be
          supporters is considered an advertisement.               used or is less useful because:
  2. "Auto" means:                                                 a. It incorporates "your product" or "your work" that
                                                                       is known or thought to be defective, deficient,
     a. A land motor vehicle, trailer or semitrailer                   inadequate or dangerous; or
          designed for travel on public roads, including
          any attached machinery or equipment; or                  b. You have failed to fulfill the terms of a contract
                                                                       or agreement;
     b. Any other land vehicle that is subject to a
          compulsory or financial responsibility law or            if such property can be restored to use by the
          other motor vehicle insurance law where it is            repair, replacement, adjustment or removal of
          licensed or principally garaged.                         "your product" or "your work" or your fulfilling the
                                                                   terms of the contract or agreement.




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  9. "Insured contract" means:                                  10. "Leased worker" means a person leased to you by
     a. A contract for a lease of premises. However,                a labor leasing firm under an agreement between
         that portion of the contract for a lease of                you and the labor leasing firm, to perform duties
         premises that indemnifies any person or                    related to the conduct of your business. "Leased
         organization for damage by fire to premises                worker" does not include a "temporary worker".
         while rented to you or temporarily occupied by         11. "Loading or unloading" means the handling of
         you with permission of the owner is not an                 property:
         "insured contract";                                        a. After it is moved from the place where it is
     b. A sidetrack agreement;                                          accepted for movement into or onto an aircraft,
     c. Any easement or license agreement, except in                    watercraft or "auto";
         connection with construction or demolition                 b. While it is in or on an aircraft, watercraft or
         operations on or within 50 feet of a railroad;                 "auto"; or
     d. An obligation, as required by ordinance, to                 c. While it is being moved from an aircraft,
         indemnify a municipality, except in connection                 watercraft or "auto" to the place where it is
         with work for a municipality;                                  finally delivered;
     e. An elevator maintenance agreement;                          but "loading or unloading" does not include the
      f. That part of any other contract or agreement               movement of property by means of a mechanical
         pertaining to your business (including an                  device, other than a hand truck, that is not attached
         indemnification of a municipality in connection            to the aircraft, watercraft or "auto".
         with work performed for a municipality) under          12. "Mobile equipment" means any of the following
         which you assume the tort liability of another             types of land vehicles, including any attached
         party to pay for "bodily injury" or "property              machinery or equipment:
         damage" to a third person or organization. Tort            a. Bulldozers, farm machinery, forklifts and other
         liability means a liability that would be imposed              vehicles designed for use principally off public
         by law in the absence of any contract or                       roads;
         agreement.
                                                                    b. Vehicles maintained for use solely on or next to
         Paragraph f. does not include that part of any                 premises you own or rent;
         contract or agreement:
                                                                    c. Vehicles that travel on crawler treads;
        (1) That indemnifies a railroad for "bodily injury"
             or "property damage" arising out of                    d. Vehicles, whether self-propelled or not,
             construction or demolition operations, within              maintained primarily to provide mobility to
             50 feet of any railroad property and affecting             permanently mounted:
             any railroad bridge or trestle, tracks,                   (1) Power cranes, shovels, loaders, diggers or
             road-beds, tunnel, underpass or crossing;                      drills; or
        (2) That indemnifies an architect, engineer or                 (2) Road construction or resurfacing equipment
             surveyor for injury or damage arising out of:                  such as graders, scrapers or rollers;
            (a) Preparing, approving, or failing to                 e. Vehicles not described in Paragraph a., b., c. or
                  prepare or approve, maps, shop                        d. above that are not self-propelled and are
                  drawings, opinions, reports, surveys, field           maintained primarily to provide mobility to
                  orders, change orders or drawings and                 permanently attached equipment of the
                  specifications; or                                    following types:
            (b) Giving directions or instructions, or failing          (1) Air compressors, pumps and generators,
                  to give them, if that is the primary cause                including     spraying,    welding,   building
                  of the injury or damage; or                               cleaning, geophysical exploration, lighting
        (3) Under which the insured, if an architect,                       and well servicing equipment; or
             engineer or surveyor, assumes liability for an            (2) Cherry pickers and similar devices used to
             injury or damage arising out of the insured's                  raise or lower workers;
             rendering or failure to render professional             f. Vehicles not described in Paragraph a., b., c. or
             services, including those listed in (2) above              d. above maintained primarily for purposes
             and supervisory, inspection, architectural or              other than the transportation of persons or
             engineering activities.                                    cargo.




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          However, self-propelled vehicles with the              16. "Products-completed operations hazard":
          following types of permanently attached                    a. Includes all "bodily injury" and "property
          equipment are not "mobile equipment" but will                  damage" occurring away from premises you
          be considered "autos":                                         own or rent and arising out of "your product" or
         (1) Equipment designed primarily for:                           "your work" except:
             (a) Snow removal;                                          (1) Products that are still in your physical
             (b) Road maintenance, but not construction                      possession; or
                  or resurfacing; or                                    (2) Work that has not yet been completed or
             (c) Street cleaning;                                            abandoned. However, "your work" will be
                                                                             deemed completed at the earliest of the
         (2) Cherry pickers and similar devices mounted                      following times:
              on automobile or truck chassis and used to
              raise or lower workers; and                                   (a) When all of the work called for in your
                                                                                 contract has been completed.
         (3) Air compressors, pumps and generators,
              including    spraying,      welding,    building              (b) When all of the work to be done at the
              cleaning, geophysical exploration, lighting                        job site has been completed if your
              and well servicing equipment.                                      contract calls for work at more than one
                                                                                 job site.
      However, "mobile equipment" does not include any
      land vehicles that are subject to a compulsory or                     (c) When that part of the work done at a job
      financial responsibility law or other motor vehicle                        site has been put to its intended use by
      insurance law where it is licensed or principally                          any person or organization other than
      garaged. Land vehicles subject to a compulsory or                          another contractor or subcontractor
      financial responsibility law or other motor vehicle                        working on the same project.
      insurance law are considered "autos".                                  Work that may need service, maintenance,
  13. "Occurrence" means an accident, including                              correction, repair or replacement, but which
      continuous or repeated exposure to substantially                       is otherwise complete, will be treated as
      the same general harmful conditions.                                   completed.
  14. "Personal and advertising injury" means injury,                b. Does not include "bodily injury" or "property
      including consequential "bodily injury", arising out of            damage" arising out of:
      one or more of the following offenses:                            (1) The transportation of property, unless the
      a. False arrest, detention or imprisonment;                            injury or damage arises out of a condition in
                                                                             or on a vehicle not owned or operated by
      b. Malicious prosecution;                                              you, and that condition was created by the
      c. The wrongful eviction from, wrongful entry into,                    "loading or unloading" of that vehicle by any
          or invasion of the right of private occupancy of a                 insured;
          room, dwelling or premises that a person                      (2) The existence of tools, uninstalled
          occupies, committed by or on behalf of its                         equipment or abandoned or unused
          owner, landlord or lessor;                                         materials; or
      d. Oral or written publication, in any manner, of                 (3) Products or operations for which the
          material that slanders or libels a person or                       classification, listed in the Declarations or in
          organization or disparages a person's or                           a      policy      Schedule,     states     that
          organization's goods, products or services;                        products-completed operations are subject
      e. Oral or written publication, in any manner, of                      to the General Aggregate Limit.
          material that violates a person's right of privacy;    17. "Property damage" means:
       f. The use of another's advertising idea in your              a. Physical injury to tangible property, including all
          "advertisement"; or                                            resulting loss of use of that property. All such
      g. Infringing upon another's copyright, trade dress                loss of use shall be deemed to occur at the time
          or slogan in your "advertisement".                             of the physical injury that caused it; or
  15. "Pollutants" mean any solid, liquid, gaseous or                b. Loss of use of tangible property that is not
      thermal irritant or contaminant, including smoke,                  physically injured. All such loss of use shall be
      vapor, soot, fumes, acids, alkalis, chemicals and                  deemed to occur at the time of the "occurrence"
      waste. Waste includes materials to be recycled,                    that caused it.
      reconditioned or reclaimed.                                    For the purposes of this insurance, electronic data
                                                                     is not tangible property.


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      As used in this definition, electronic data means           b. Includes:
      information, facts or programs stored as or on,               (1) Warranties or representations made at any
      created or used on, or transmitted to or from                      time with respect to the fitness, quality,
      computer software, including systems and                           durability, performance or use of "your
      applications software, hard or floppy disks,                       product"; and
      CD-ROMs, tapes, drives, cells, data processing
      devices or any other media which are used with                (2) The providing of or failure to provide
      electronically controlled equipment.                               warnings or instructions.
  18. "Suit" means a civil proceeding in which damages            c. Does not include vending machines or other
      because of "bodily injury", "property damage" or               property rented to or located for the use of
      "personal and advertising injury" to which this                others but not sold.
      insurance applies are alleged. "Suit" includes:         22. "Your work":
      a. An arbitration proceeding in which such                  a. Means:
          damages are claimed and to which the insured
          must submit or does submit with our consent; or           (1) Work or operations performed by you or on
                                                                         your behalf; and
      b. Any other alternative dispute resolution
          proceeding in which such damages are claimed              (2) Materials, parts or equipment furnished in
          and to which the insured submits with our                      connection with such work or operations.
          consent.                                                b. Includes:
  19. "Temporary worker" means a person who is                      (1) Warranties or representations made at any
      furnished to you to substitute for a permanent                     time with respect to the fitness, quality,
      "employee" on leave or to meet seasonal or                         durability, performance or use of "your
      short-term workload conditions.                                    work"; and
  20. "Volunteer worker" means a person who is not your             (2) The providing of or failure to provide
      "employee", and who donates his or her work and                    warnings or instructions.
      acts at the direction of and within the scope of
      duties determined by you, and is not paid a fee,
      salary or other compensation by you or anyone
      else for their work performed for you.
  21. "Your product":
      a. Means:
         (1) Any goods or products, other than real
              property, manufactured, sold, handled,
              distributed or disposed of by:
             (a) You;
             (b) Others trading under your name; or
             (c) A person or organization whose business
                  or assets you have acquired; and
         (2) Containers (other than vehicles), materials,
              parts or equipment furnished in connection
              with such goods or products.




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                               GENERAL STAR INDEMNITY COMPANY
           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    CLASSIFICATION LIMITATION
   This endorsement modifies insurance provided under the following:

                             COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                   LIQUOR LIABILITY COVERAGE PART
                      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART


   This policy does not apply to any damages for which the insured is legally liable, or costs or expenses, arising out of,
   resulting from, caused or contributed to by any operation or activity that is not described by a CLASSIFICATION
   shown under item 3. of the Declarations other than operations performed by others hired by you that are in
   connection with an operation described by a CLASSIFICATION in the Declarations.




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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       COMMERCIAL GENERAL LIABILITY COMBINED PROVISIONS
                       ENDORSEMENT
   This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART



   TABLE OF CONTENTS OF THIS ENDORSEMENT

                                                                                                                      Begins on Page
   A. Automatic Additional Insureds                                                                                          1
   B. Deductible Liability                                                                                                  2
   C. Premium Basis Designation                                                                                             3
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   F. No Duty or Responsibility to Send Notice When We Do Not Renew                                                         12
   G. Definitions                                                                                                           12
   H. State Amendatory Provisions                                                                                           13

   All of the following numbered paragraphs apply to this policy, unless stated here:


   1. SECTION II – WHO IS AN INSURED
      The following provisions 4., 5. and 6. are added to SECTION II – WHO IS AN INSURED

       AUTOMATIC ADDITIONAL INSURED – VENDORS

       4.        a.       Any of your vendors located in the United States of America (including its territories and
                 possessions), Puerto Rico and Canada with whom you have agreed in writing in a contract or
                 agreement or received a written request or written insurance specifications, including email or fax
                 requiring you to add as an additional insured on your policy, but only with respect to “bodily injury”,
                 “property damage” or “personal or advertising injury” arising out of “your products”, which are distributed
                 or sold in the regular course of the vendor’s business, covered by this policy.

             b. With respect to the insurance afforded these additional insureds, the following exclusions apply:
                (1) “Bodily injury”, “property damage” or “personal and advertising injury” for which the vendor is
                    obligated to pay damages by reason of the assumption of liability in a written contract or written
                    agreement. This exclusion does not apply to liability for damages that the vendor would have in the
                    absence of written contract or written agreement;
                (2) Any express warranty unauthorized by you;
                (3) Any physical or chemical change in the product made intentionally by the vendor;
                (4) Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing,
                    or the substitution of parts under instructions from the manufacturer, and then repackaged in the
                    original container.
                (5) Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to
                    make or normally undertakes to make in the usual course of business, in connection with the
                    distribution or sale of the products;
                (6) Demonstration, installation, servicing or repair operations, except such operations performed at the
                    vendor’s premises in connection with the sale of the product;




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                (7) Products which, after distribution or sale by you, have been labeled or relabeled or used as a
                    container, part or ingredient of any other thing or substance by or for the vendor; or
                (8) “Bodily injury”, “property damage” or “personal and advertising injury” arising out of the sole
                    negligence of the vendor for its own acts or omissions or those of its employees or anyone else
                    acting on its behalf. However, this exclusion does not apply to:
                     i. The exceptions contained in Sub-paragraphs (4) or (6); or
                    ii. Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                        undertakes to make in the usual course of business, in connection with the distribution or sale of
                        the products.

            c. This insurance does not apply to any insured person or organization, from whom you have acquired
               such products, or any ingredient, part or container, entering into, accompanying or containing such
               products.

       AUTOMATIC ADDITIONAL INSURED – TRADE EVENT

       5. a. Any person or organization acting as the Trade Sponsor or Organizer and for whom you are
             participating in a Trade Event or Show when you and such person or organization have agreed in
             writing in a contract or agreement or received a written request or written insurance specifications,
             including email or fax requiring that such person(s) or organization(s) be added as an additional insured
             on your policy. Such person or organization is an insured only with respect to liability for “bodily injury”,
             “property damage” or “personal and advertising injury” caused, in whole or in part, by your participation
             in a Trade Event or Show.

            b. With respect to the insurance afforded to these additional insureds, this insurance does not apply to
               “bodily injury”, “property damage” or “personal and advertising injury” which takes place after your
               participation in the Trade Event or Show has ended.

       AUTOMATIC ADDITIONAL INSURED – MORTGAGEE, ASSIGNEE, OR RECEIVER

       6. a. Any mortgagee, assignee, or receiver whom you have agreed in writing in a contract or agreement to
             add as an additional insured on your policy, but only with respect to their liability as mortgagee,
             assignee, or receiver and arising out of the ownership, maintenance, or use by you of your premises
             which are covered by this policy.

            b. With respect to the insurance afforded to these additional insureds, this insurance does not apply to
               structural alterations, new construction or demolition operations performed by or on behalf of the
               mortgagee, assignee or receiver.

   2. DEDUCTIBLE LIABILITY


        $            Deductible applied on a Per “Occurrence” or Per Offense Basis
                     ($0, unless an amount is shown)



        a. Our obligation, under SECTION I – COVERAGES (other than COVERAGE C MEDICAL PAYMENTS) to
           pay damages for which the insured is legally liable, and costs or expenses applies only to the sum of
           damages, costs or expenses which are in excess of any deductible amount stated above.

       b. The deductible amount stated above applies to all damages on a per “occurrence” basis for “bodily injury”
          or “property damage” or on a per offense basis for “personal and advertising injury”, whichever is applicable
          to the claim under which this coverage is afforded, regardless of the number of persons or organizations
          who sustain damages because of that “occurrence” or offense.

       c. The terms of this insurance, including those with respect to:
          (1) Our right and duty to defend any "suit" seeking those damages; and
          (2) Your duties in the event of an "occurrence", offense, claim or "suit"

            apply irrespective of the application of the deductible amount.



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        d. We may pay any or all of the deductible amount to effect settlement of any claim or "suit" and, upon
           notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as
           has been paid by us.

        e. The above deductible amount does not apply to salaries and expenses of our own "employee(s)".

    3. PREMIUM BASIS DESIGNATION

        The Premium Bases shown on the Declarations Page and identified by key letter in parentheses applies as
        follows:


       KEY LETTER                 PREMIUM BASE                                   HOW RATES APPLY
            (a)                        Area                                  Per 1,000 square feet
            (c)                        Total Cost                            Per $1,000 of total cost
            (m)                        Admissions                            Per 1,000 admissions
            (p)                        Payroll                               Per $1,000 of payroll
            (s)                        Gross Sales                           Per $1,000 of gross sales
            (t)                        Other                                 Describe
            (u)                        Units                                 Per unit (describe)

        These premium bases are as outlined in the Insurance Services Office’s Commercial Lines Manual
        Classification Table and Division Six General Liability Sections unless otherwise indicated in the policy. Nothing
        herein contained shall be held to vary, waive, alter or extend any of the terms, conditions, agreements or
        declarations of the policy other than herein stated.

    4. EXCLUSION - TOTAL POLLUTION

        Paragraph f. Pollution in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY INJURY AND
        PROPERTY DAMAGE LIABILITY and Paragraphs m. Pollution and n. Pollution-Related in Subsection 2.
        Exclusions of SECTION 1 – COVERAGE B PERSONAL AND ADVERSTISING INJURY LIABILITY are
        deleted and replaced by the following:

        This policy does not apply to any damages because of “bodily injury”, “property damage” or “personal or
        advertising injury” for which the insured is legally liable, or costs or expenses arising out of, resulting from,
        caused or contributed to by:

        a. The actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of
           "pollutants" at any time.

        b. Any loss, cost or expense arising out of any:

            (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
                effects of "pollutants"; or
            (2) Claim or "suit" by or on behalf of a governmental authority or others for damages because of testing
                for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                responding to, or assessing the effects of "pollutants".

        c. Any actual or alleged; breach of duty, negligent act, error or omission, or any insured or of any person for
           whose acts any insured is legally liable which results in damages, loss, cost or expense as described in
           Paragraph a. or b. above.

        This exclusion applies whether or not such damages, costs or expenses arise out of, result from are caused or
        contributed by any "bodily injury", "property damage" or “personal and advertising injury” which may be included
        within the "products-completed operations hazard".




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    5. EXCLUSION – EMPLOYER’S LIABILITY – EMPLOYEE, VOLUNTEER WORKER, CASUAL WORKER AND
       TEMPORARY WORKER

       Paragraph e. Employer’s Liability in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
       INJURY AND PROPERTY DAMAGE LIABILITY is deleted and replaced by the following:

       e. Employer's Liability
          “Bodily injury” to:

           (1) (a) Any "employee", “volunteer worker”, “casual worker” or “temporary worker” of any insured;
               (b) Any contractor, subcontractor or independent contractor directly or indirectly hired or retained by or
                   for any insured; or
               (c) Any “employee”, “volunteer worker”, “casual worker” or “temporary worker” of such contractor,
                   subcontractor or independent contractor,

               arising out of and in the course of:

               (d) Employment by any insured; or
               (e) Performing duties related to the conduct of any insured’s business; or

           (2) The spouse, child, parent, brother, sister, or domestic partner of that:

               (a) "Employee", “volunteer worker”, “casual worker” or “temporary worker” of any insured;
               (b) Contractor, subcontractor or independent contractor directly or indirectly hired or retained by or for
                   any insured; or
               (c) “Employee”, “volunteer worker”, “casual worker” or “temporary worker” of such contractor,
                   subcontractor or independent contractor

               as a consequence of Paragraph e.(1) above.

           This exclusion applies:

           (3) Whether any insured may be liable as an employer or in any other capacity and to any obligation to
               share damages with or repay someone else who must pay damages because of the “bodily injury”;

           (4) To all claims or “suits” by any person or organization for damages of “bodily injury” including damages
               for care and loss of services;

           (5) To “bodily injury” to any worker whose activities are related to the job(s) or project(s) and the job or
               project location(s) at which they are performed; or

           (6) To any liability assumed by any insured under any contract or agreement,

           as a consequence of Paragraph e.(1) above.

           For the purpose of this exclusion, the following definition is added:

           (1) “Casual worker” means:

               (a) A person who acts at the direction of and within the scope of duties determined by any insured, and
                   is retained by any insured for a short time and for a limited and temporary purpose; or
               (b) A person for whom any insured, or a labor leasing firm acting on behalf of any insured, does not
                   withhold federal income taxes and pay federal unemployment tax.

    6. EXCLUSIONS - INFRINGEMENT OR DILUTION OF INTELLECTUAL PROPERTY RIGHTS OR
       MISAPPROPRIATION, USE OR DISCLOSURE OF TRADE SECRETS; BREACH OF CONTRACT

       a. The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
          INJURY AND PROPERTY DAMAGE LIABILITY:




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            This policy does not apply to any damages because of "bodily injury" or "property damage" for which any
            insured is legally liable, or costs or expenses, arising out of, resulting from, caused or contributed to by:
            (1) Any alleged or actual infringement or dilution of intellectual property rights, including, but not limited to,
                copyright, title, slogan, patent, service name, service mark, trade name, trademark, or trade dress;
            (2) Any alleged or actual misappropriation, use or disclosure of trade secrets;
            (3) Any alleged or actual unfair competition, plagiarism, piracy, or wrongful appropriation of ideas;
            (4) Any alleged or actual unfair or otherwise wrongful use of another's written, filmed, broadcast,
                photographed, taped or recorded material;
            (5) Any alleged or actual unfair or deceptive trade practice(s); or
            (6) Any alleged or actual violation of the right of publicity, or wrongful appropriation of name, likeness or
                persona.

        b. Paragraph f. Breach Of Contract and Paragraph i. Infringement of Copyright, Patent, Trademark Or
           Trade Secret of Subsection 2. Exclusions in SECTION I - COVERAGE B PERSONAL AND
           ADVERTISING INJURY LIABILITY are deleted and replaced by the following:

            f.   Breach of Contract
                 "Personal and advertising injury" arising out of, resulting from, caused by, contributed to by, or also
                 constituting a breach of contract.

            i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
                 "Personal and advertising injury" arising out of, resulting from, caused by, contributed to by, or
                 otherwise constituting:
                 (1) Any alleged or actual infringement or dilution of intellectual property rights, including, but not limited
                      to, copyright, title, slogan, patent, service name, service mark, trade name, trademark, or trade
                      dress;
                 (2) Any alleged or actual misappropriation, use or disclosure of trade secrets;
                 (3) Any alleged or actual unfair competition, plagiarism, piracy, or wrongful appropriation of ideas;
                 (4) Any alleged or actual unfair or otherwise wrongful use of another's written, filmed, broadcast,
                      photographed, taped or recorded material;
                 (5) Any alleged or actual unfair or deceptive trade practice(s); or
                 (6) Any alleged or actual violation of the right of publicity, or wrongful appropriation of name, likeness
                      or persona.

    7. EXCLUSION - ASBESTOS LIABILITY

        The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY INJURY
        AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I – COVERAGE B
        PERSONAL AND ADVERTISING INJURY LIABILITY:

        This policy does not apply to damages because of “bodily injury”, “property damage” or “personal or advertising
        injury” for which the insured is legally liable, or costs or expenses, arising directly or indirectly out of, resulting
        from, caused or contributed to by:

        a. The use of, sale of, installation of, removal of, abatement of, distribution of, containment of, or exposure to
           asbestos, asbestos products, asbestos-containing material, asbestos fibers, or asbestos dust;

        b. The actual or threatened abatement, mitigation, removal or disposal of asbestos, asbestos products,
           asbestos-containing material, asbestos fibers, or asbestos dust;

        c. Any supervision, instructions, recommendations, warnings or advice given or which should have been given
           in connection with Paragraph a. or b. above; or

        d. Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b. or
           c. above.




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    8. EXCLUSION - EMPLOYMENT-RELATED PRACTICES LIABILITY

        The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
        INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
        COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

        This insurance does not apply to any damages because of “bodily injury” or “personal and advertising
        injury” to:
        a. A person arising out of any:
             (1) Refusal to employ that person;
             (2) Termination of that person's employment; or
             (3) Employment-related practices, policies, acts or omissions, such as coercion, demotion,
                    evaluation, reassignment, discipline, defamation, harassment, humiliation, discrimination or
                    malicious prosecution directed at that person; or

        b. The spouse, child, parent, brother or sister of that person as a consequence of "bodily injury" to that
           person at whom any of the employment-related practices described in Subparagraph a. (1), (2), or (3)
           above is directed.

        This exclusion applies:

        (a) Whether the injury-causing event described in Subparagraph a. (1), (2) or (3) above occurs before
            employment, during employment or after employment of that person;

        (b) Whether the insured may be liable as an employer or in any other capacity; and

        (c) To any obligation to share damages with or repay someone else who must pay damages because of
            the injury.

    9. EXCLUSION - LEAD

        The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
        INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
        COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

        This policy does not apply to damages because of “bodily injury”, “property damage” or “personal and
        advertising injury” for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
        caused or contributed to by:

        a. The toxic or pathological properties of lead, lead compounds or lead contained in any materials;

        b. The abatement, mitigation, removal or disposal of lead, lead compounds or materials containing lead;

        c. Any supervision, instructions, recommendations, warnings or advice given or which should have been
           given in connection with Paragraph a. or b. above; or

        d. Any obligation to share damages with or repay anyone else who must pay damages in connection with
           Paragraph a., b. or c. above.

    10. EXCLUSION – SILICA

        The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
        INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
        COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY

        This policy does not apply to damages because of “bodily injury”, “property damage” or “personal and
        advertising injury” for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
        caused by or contributed to by, in whole or in part, the actual, alleged, threatened or suspected inhalation
        of, congestion of, contact with, exposure to existence of, or presence of:




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       a. “Silica”, “silica-related dust”, exposure to silica or the use of silica;

       b. Any claim or “suit” by or on behalf of any governmental authority or any other party involving a request,
          demand, order or statutory or regulatory requirement regarding:
          (1) Assessing the presence, absence or amount or effects of “silica” or “silica-related dust”;
          (2) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing,
              neutralizing, treating, detoxifying, remediating, abating, disposing of or mitigating silica; or
          (3) Responding to “silica” or “silica-related dust” in any way other than as described in Subparagraphs
              b.(1) and b.(2) above;

       c. Any supervision, instructions, recommendations, warnings or advice given or which should have been given
          in connection with Paragraph a. or b. above; or

       d. Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b. or
          c. above.

       For the purpose of this exclusion, the following definitions are added:

       (a) “Silica” means silicon dioxide (occurring in crystalline, amorphous and impure forms), silica particles, silica
           dust or silica compounds.

       (b) “Silica-related dust” means a mixture or combination or silica and other dust or particles.

    11. EXCLUSION - FUNGUS(ES) AND SPORE(S)

       The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY INJURY
       AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I – COVERAGE B
       PERSONAL AND ADVERTISING INJURY LIABILTY:

       This policy does not apply to damages because of “bodily injury”, “property damage” or “personal and
       advertising injury” for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
       caused or contributed to by:

       a. Any “fungus(es)” or “spore(s)”;

       b. Any solid, liquid, vapor, or gas produced by or arising out of any “fungus(es)” or “spore(s)”;

       c. Any material, product, building component, or building structure that contains, harbors, nurtures or acts as a
          medium for any “fungus(es)” or “spore(s)”;

       d. Any intrusion, leakage, or accumulation of water or any other liquid that contains, harbors, nurtures or acts
          as a medium for “fungus(es)” or “spore(s)”;

       e. The actual or threatened abatement, mitigation, removal or disposal of “fungus(es)” or “spore(s)” or any
          material, product, building component, or building structure that contains, harbors, nurtures or acts as a
          medium for any “fungus(es)” or “spore(s)”;

       f.   Any supervision, instructions, recommendations, warnings or advice given or which should have been given
            in connection with Paragraph a., b., c., d. or e. above; or

       g. Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b.,
          c., d., e. or f. above.

       The above applies regardless of any other cause, event, material, product or building component that
       contributed concurrently or in any sequence to such damages for which the insured is legally liable, or costs or
       expenses.

       This exclusion does not apply to “bodily injury” as the result of the ingestion of goods intended for human
       consumption.




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       For the purpose of this exclusion, the following definitions are added:

       (a) “Fungus(es)” includes, but is not limited to, any form or type of mildew, mold, mushroom, rust, smuts, or
           yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile organic
           compounds produced by or associated therewith.

       (b) “Spore(s)” means any reproductive body produced by or arising out of any “fungus(es)”.

   12. EXCLUSION – BISPHENOL A

       The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY INJURY
       AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I – COVERAGE B
       PERSONAL AND ADVERTISING INJURY LIABILTY:

       This policy does not apply to:
       a. Any damages because of “bodily injury”, “property damage” or “personal and advertising injury” for which
           any insured is legally liable, or costs or expenses, actually or allegedly arising out of, resulting from, caused
           by or contributed to by bisphenol A or exposure to bisphenol A or the use of bisphenol A;

       b. Any damages because of “bodily injury”, “property damage” or “personal and advertising injury” or any loss,
          cost or expense arising out of any (i) claim or “suit” by or on behalf of any governmental authority or any
          other alleged responsible party because of, or (ii) request, demand, order or statutory or regulatory
          requirement that any insured or any other person or entity should be, or should be responsible for:

           (1) Assessing the presence, absence, or amount or effects of bisphenol A;
           (2) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
               detoxifying, neutralizing, abating, disposing of or mitigating bisphenol A; or
           (3) Responding to bisphenol A in any way other than as described in Subparagraphs b.(1) and (2) above;

       c. Any supervision, instructions, recommendations, warnings or advice given or which should have been given
          in connection with any of the subsections above; or

       d. Any obligation to share damages with or repay someone else who must pay damages as described in any
          of the subsections above.

   13. EXCLUSION – AIRCRAFT PRODUCTS/GROUNDING

       The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
       INJURY AND PROPERTY DAMAGE LIABILITY:

       This policy does not apply to any damages because of “bodily injury” or “property damage” for which any
       insured is legally liable, or loss, costs or expenses, included in the “products-completed operations hazard” and
       arising out of, resulting from, caused by or contributed to by any “aircraft product” or the “grounding” of any
       aircraft.

       The following definitions are added to the policy:
       (1) “Aircraft product” means:
           (a) Aircraft (including missile or spacecraft, and any ground support or control equipment used therewith);
           (b) Any article furnished by you or on your behalf and installed in an aircraft or used in connection with an
                aircraft, or for spare parts for an aircraft, including ground handling tools and equipment;
           (c) Any of “your product” used at an airport for the purpose of guidance, navigation or direction of aircraft;
                or
           (d) Training aids, instructions, manuals, blueprints, engineering or other data or advice, and services and
                labor relating to such aircraft, articles or products.
       (2) “Grounding” means:
           The withdrawal of one or more aircraft from flight operations or the imposition of speed, passenger or load
           restrictions on such aircraft, by reason of the existence of or alleged or suspected existence of any defect,
           fault or condition in such aircraft or any part thereof sold, handled or distributed by you or on your behalf, or
           manufactured, assembled or processed by any other person or organization:




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           (a) According to specifications, plans, suggestions, orders, or drawings provided by you or on your behalf;
               or
           (b) With tools, machinery or other equipment furnished to such persons or organizations by you or on your
               behalf, whether such aircraft so withdrawn are owned or operated by the same or different persons,
               organizations or corporations.

   14. EXCLUSION – BENZENE AND BENZENE RELATED SUBSTANCES

       The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY INJURY
       AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I – COVERAGE B
       PERSONAL AND ADVERTISING INJURY LIABILTY:

       This policy does not apply to any damages because of “bodily injury”, “property damage” or “personal and
       advertising injury” for which any insured is legally liable, or loss, costs or expenses, arising out of, resulting from
       caused by or contributed to by:
       (1) Benzene or benzene related substances;
       (2) Any (i) claim or suit by or on behalf of any governmental authority or any other alleged responsible party
           because of, or (ii) request, demand, order or statutory or regulatory requirement that any insured or any
           other person or entity is responsible for, or should be responsible for:
           (a) Assessing the presence, absence or amount or effects of benzene or benzene related substances;
           (b) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
                detoxifying, neutralizing, abating, disposing of or mitigating benzene or benzene related substances; or
           (c) Responding to benzene or benzene related substances in any way other than as described in (2)(a)
                and (2)(b) above;
       (3) Any supervision, instructions, recommendations, warnings or advice given or which should have been given
           in connection with any of the subsections above; or
       (4) Any obligation to share damages, or loss, costs or expenses, with or repay someone else in connection with
           any of the subsections above.

       As used in this exclusion benzene or benzene related substances means:
       (1) Benzene;
       (2) Any derivative of benzene including but not limited to toluene; or
       (3) Any compound containing benzene including but not limited to xylene.

   15. EXCLUSION – PHTHALATES

       The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY INJURY
       AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I – COVERAGE B
       PERSONAL AND ADVERTISING INJURY LIABILTY:

       This policy does not apply to any damages because of “bodily injury”, “property damage” or “personal and
       advertising injury” for which any insured is legally liable, or loss, costs or expenses, arising out of, resulting from
       caused by or contributed to by:
       (1) Phthalates, exposure to phthalates or the use phthalates;
       (2) Any (i) claim or suit by or on behalf of any governmental authority or any other alleged responsible party
           because of, or (ii) request, demand, order or statutory or regulatory requirement that any insured or any
           other person or entity is responsible for, or should be responsible for:
           (a) Assessing the presence, absence or amount or effects of phthalates, exposure to phthalates or the use
                of phthalates;
           (b) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
                detoxifying, neutralizing, abating, disposing of or mitigating phthalates in any way other than as
                described in (2)(a) and (2)(b) above;
       (3) Any supervision, instructions, recommendations, warnings or advice given or which should have been given
           in connection with any of the subsections above; or
       (4) Any obligation to share damages, or loss, costs or expenses, with or repay someone else in connection with
           any of the subsections above.




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    16. EXCLUSION – ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION AND
        DATA-RELATED LIABILITY

       A. Exclusion 2.p. of Section I – Coverage A Bodily Injury And Property Damage Liability is replaced by the
          following:

           2. Exclusions
              This insurance does not apply to:

              p.        Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                        Damages arising out of:

                     (1) Any access to or disclosure of any person’s or organization’s confidential or personal
                         information, including patents, trade secrets, processing methods, customer lists, financial
                         information, credit card information, health information or any other type of nonpublic
                         information; or
                     (2) The loss of, loss of use of, damage to, corruption of, inability to access, or inability to
                         manipulate electronic data.

                     This exclusion applies even if damages are claimed for notification costs, credit monitoring
                     expenses, forensic expenses, public relations expenses or any other loss, cost or expense incurred
                     by you or others arising out of that which is described in Paragraph (1) or (2) above.

                     As used in this exclusion, electronic data means information, facts or programs stored as or on,
                     created or used on, or transmitted to or from computer software, including systems and
                     applications software, hard or floppy disks, CD-ROMs, tapes, drives, cells data processing devices
                     or any other media which are used with electronically controlled equipment.

       B. The following is added to Paragraph 2. Exclusions of Section I – Coverage B Personal And Advertising
          Injury Liability:

           2. Exclusions
              This insurance does not apply to:

              Access Or Disclosure Of Confidential Or Personal Information

              “Personal and advertising injury” arising out of any access to or disclosure of any person’s or
              organization’s confidential or personal information, including patents, trade secrets, processing methods,
              customer lists, financial information, credit card information, health information or any other type of
              nonpublic information.

              This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
              forensic expenses, public relations expenses or any other loss, cost or expense incurred by you or others
              arising out of any access to or disclosure of any person’s or organization’s confidential or personal
              information.

    17. EXCLUSION - CROSS SUITS

       The following exclusion is added to the policy:

       This policy does not apply to any damages or costs or expenses, arising out of, resulting from, caused or
       contributed to by a claim or “suit” for damages by any named insured against any other named insured.

    18. EXCLUSION PENDING AND PRIOR LITIGATION

       The following exclusion is added to the policy:




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       This policy does not apply to any claim or “suit” based upon, arising out of, directly or indirectly resulting from, in
       consequence of, or in any way involving any demand made, “suit”, complaint, proceeding or investigation
       pending, or order, decree, settlement or judgment entered, against any insured prior to the effective date of this
       policy, or any demand made, “suit”, complaint, proceeding, or investigation pending, or order, decree,
       settlement or judgment entered, against any insured alleging, derived from, or in any way involving the same or
       essentially the same facts, wrongful act or related wrongful acts as alleged in such prior or pending demand,
       “suit”, complaint, proceeding, or investigation.

    19. PREMIUM AUDIT

       Paragraph 5. Premium Audit in SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS is deleted
       and replaced by the following:

       5.   Premium Audit

            a.   We will compute all premiums for the Coverage Part in accordance with our rules and rates.

            b. The premium stated in the Declarations Page for the Coverage Part as advance premium is both a
               minimum and deposit premium. At the close of each policy period, we will compute the final earned
               premium for that period, which will include any interim audit adjustments performed.

                 (1) If the computed earned premium exceeds the estimated advance premium paid, the First Named
                     Insured will pay the excess to us. Audit premium is due and payable upon receipt of our notice by
                     the First Named Insured.
                 (2) If the computed earned premium is less than the paid estimated advance premium, then the
                     estimated advance premium will be the minimum premium and final earned premium for the policy
                     period.

            c.   The First Named Insured must keep record of the information we need for premium computation and
                 send us copies at such times as we may request. We reserve the right to examine your books and
                 records relating to the computation of audit premium in accordance with Paragraph C. Examination Of
                 Your Books And Records in the COMMON POLICY CONDITIONS.

            d. If the policy is written on a flat premium basis, it is not subject to premium audit.

            e.   If we verify that operations were performed by contractors or subcontractors you hired, but were not
                 insured or were not adequately insured, we will use the “total cost”of work performed for you by such
                 contractors or subcontractors as if it were payroll to calculate the appropriate premium for the specific
                 classification(s) based on our rates and rules in effect as of the inception date of the policy. It is your
                 responsibility to pay any additional premium due.

                 You will obtain and maintain Certificates of Insurance from all contractors or subcontractors you hire
                 providing evidence of Commercial General Liability insurance, including products/ completed
                 operations insurance. If you fail to obtain the Certificates of Insurance, then the contractor(s) and/ or
                 subcontractor(s) will be considered inadequately insured and an additional premium will become due.

                 A contractor or subcontractor will be considered to be inadequately insured if they maintain
                 Commercial General Liability insurance less than the limits of insurance shown in the Declarations of
                 this policy.

                 The “total cost” of work performed means the total cost of all work incurred by the contractor or
                 subcontractor in connection with each specific project, including:

                 (1) The cost of all labor, materials and equipment furnished, used or delivered for use in the execution
                     of the work including the cost of finished equipment installed whether or not furnished by the
                     contractor, subcontractor, or by you; and

                 (2) All fees, bonuses or commissions made, paid or due.




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   20. NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW

       Paragraph 9. When We Do Not Renew of SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
       is deleted and replaced by the following:

       9. When We Do Not Renew

           If we decide not to renew this policy, we have no duty or responsibility to mail or deliver written notice of the
           non-renewal to any insured.

   20. AMENDMENT OF INSURED CONTRACT DEFINITION

       Paragraph 9. "Insured contract" of SECTION V - DEFINITIONS is deleted and replaced by the following:

       9. "Insured contract" means:
          a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that
              indemnifies any person or organization for damage by fire to premises while rented to you or
              temporarily occupied by you with permission of the owner is not an "insured contract";
          b. A sidetrack agreement;
          c. Any easement or license agreement, except in connection with construction or demolition operations on
              or within 50 feet of a railroad;
          d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
              municipality;
          e. An elevator maintenance agreement; or
          f. That part of any other contract or agreement pertaining to your business (including an indemnification
              of a municipality in connection with work performed for a municipality) under which you assume the tort
              liability of another party to pay for "bodily injury" or "property damage" to a third person or organization,
              provided the "bodily injury" or "property damage" is caused, in whole or in part, by you or by those
              acting on your behalf. However, such part of a contract or agreement shall only be considered an
              “insured contract” to the extent your assumption of the tort liability is permitted by law. Tort liability
              means a liability that would be imposed by law in the absence of any contract or agreement.

               Paragraph f. does not include that part of any contract or agreement:
               (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of construction or
                   demolition operations, within 50 feet of any railroad property and affecting any railroad bridge or
                   trestle, tracks, road-beds, tunnel, underpass or crossing;
               (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                   (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
                        surveys, field orders, change orders or drawings and specifications; or
                   (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury
                        or damage; or
               (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
                   damage arising out of the insured's rendering or failure to render professional services, including
                   those listed in (2) above and supervisory, inspection, architectural or engineering activities.

   22. AMENDMENT OF PERSONAL AND ADVERTISING INJURY DEFINITION

       Paragraph 14. "Personal and advertising injury" of SECTION V - DEFINITIONS is deleted and replaced by the
       following:

       14. "Personal and advertising injury" means injury, including consequential "bodily injury", arising out of one or
           more of the following offenses:
           a. False arrest, detention or imprisonment;
           b. Malicious prosecution;
           c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
               dwelling or premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
           d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
               disparages a person's or organization's goods, products or services; or




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           e. Oral or written publication, in any manner, of material that violates a person's right of privacy.

   23. STATE AMENDATORY PROVISIONS

       a. Louisiana

           Paragraph 4. EXCLUSION - TOTAL POLLUTION of this endorsement does not apply to any damages for
           claims made or “suits” brought in the State of Louisiana.

       b. Indiana

           With respect to any damages for claims or “suits” brought in the State of Indiana, Paragraph 4.
           EXCLUSION – TOTAL POLLUTION of this endorsement is deleted and replaced with the following:

           Paragraph f. Pollution in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY INJURY AND
           PROPERTY DAMAGE LIABILITY and Paragraphs m. Pollution and n. Pollution-Related in Subsection 2.
           Exclusions of SECTION 1 – COVERAGE B PERSONAL AND ADVERSTISING INJURY LIABILITY are
           deleted and replaced by the following:

           This policy does not apply to any damages for claims made or “suits” brought in the State of Indiana:

           a. Arising directly or indirectly out of, resulting from, caused by, or contributed to by the actual, alleged or
              threatened discharge, dispersal, seepage, migration, release or escape of “pollutants” at any time.

           b. Any loss, cost or expense arising out of any:

               (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                   monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
                   the effects of “pollutants”; or

               (2) Claim or “suit” by or on behalf of a governmental authority for damages because of testing for,
                   monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                   responding to, or assessing the effects of “pollutants”.

                     This exclusion applies whether or not such “bodily injury” or “property damage” may be included
                     within the “products-completed operations hazard”.

           For all claims made or “suits” brought in the State of Indiana, “pollutants” mean any solid, liquid, gaseous,
           bacterial, fungal, electromagnetic, thermal or other substance that can be toxic or hazardous, cause
           irritation to animals or persons and/or cause contamination to property and the environment including
           smoke, vapor, soot, fumes, acids, alkalis, chemicals, and waste. Specific examples identified as “pollutants”
           include, but are not limited to, biological and other etiological agents or materials, genetically engineered
           materials, teratogenic, carcinogenic and mutagenic materials, diesel, kerosene, and other fuel oils,
           including “heating oil”, gasoline, methyl tertiary-butyl ether (MTBE), ethanol and other gasoline additives,
           butane, propane, natural gas, and other fuels, brake fluid, transmission fluid, and other hydraulic fluids,
           ethylene glycol, methanol, ethanol, isopropyl alcohol, and propylene glycol, and other antifreeze additives,
           grease, tar, petroleum distillates, oil petroleum substances, or derivatives (including any oil refuse or oil
           mixed with wastes) and other petroleum products, carbon monoxide, and other exhaust gases, Stoddard
           solvent, mineral spirits, and other solvents, chromium compounds, emulsions/emulsifiers, naphtha,
           tetrachloroethylene, perchloroethylene (PERC), trichloroethylene (TCE), methylene chloroform, and other
           dry cleaning chemicals, methyl isobutyl ketone (MIBK), methyl ethyl ketone (MEK), n-butyl acetate,
           2-butoxyethanol, hexylene glycol (HG), peroxides, Freon, polychlorinated biphenyl (PCB), CFC-113,
           chlorofluorocarbons, chlorinated hydrocarbons, adhesives, pesticides, insecticides, barium,
           1,2-Dichloroethylene, ethylene dichloride (EDC), dichloromethane, methylene chloride, ethylbenzene, lead,
           Mercury, Selenium, sulfate, xylene, silica, sewage, and industrial waste materials and all substances
           specifically listed, identified, or described by one or more of the following references: The Comprehensive
           Environmental Response, Compensation, and Liability Act of 1980 (CERCLA), as amended, Priority List of
           Hazardous Substances (1997 and all subsequent revisions), Agency For Toxic Substances And Disease
           Registry (ATSDR) ToxFAQs™, and/or U.S. Environmental Protection Agency Envirofacts Master Chemical
           Integrator (EMCI) Chemical References Complete Index.




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           Substances identified as examples above or by the referenced lists also include materials or substances to
           be discarded, recycled, reconditioned or reclaimed.

           This definition of “pollutants” applies whether or not such solid, liquid, gaseous, bacterial, fungal,
           electromagnetic or thermal irritant or contaminant is “your product” or “your products” used by or for you,
           and/or is an integral part of or incidental to your business or operations or has any function in your business,
           operations, premises, site, or location.



Nothing herein contained shall be held to vary, waive, alter or extend any of the terms, conditions, agreements or
declarations of the policy other than herein stated.




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                                                                                                     IL 00 21 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                   (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                               C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazard-
       or "property damage":                                       ous properties" of "nuclear material", if:
      (1) With respect to which an "insured" under                (1) The "nuclear material" (a) is at any "nuclear
           the policy is also an insured under a nu-                  facility" owned by, or operated by or on be-
           clear energy liability policy issued by Nu-                half of, an "insured" or (b) has been dis-
           clear Energy Liability Insurance Associa-                  charged or dispersed therefrom;
           tion, Mutual Atomic Energy Liability                   (2) The "nuclear material" is contained in
           Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
           tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
           or would be an insured under any such pol-                 transported or disposed of, by or on behalf
           icy but for its termination upon exhaustion                of an "insured"; or
           of its limit of liability; or                          (3) The "bodily injury" or "property damage"
      (2) Resulting from the "hazardous properties"                   arises out of the furnishing by an "insured"
           of "nuclear material" and with respect to                  of services, materials, parts or equipment in
           which (a) any person or organization is re-                connection with the planning, construction,
           quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
           suant to the Atomic Energy Act of 1954, or                 clear facility", but if such facility is located
           any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
           sured" is, or had this policy not been issued              tories or possessions or Canada, this ex-
           would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
           United States of America, or any agency                    age" to such "nuclear facility" and any
           thereof, under any agreement entered into                  property thereat.
           by the United States of America, or any          2. As used in this endorsement:
           agency thereof, with any person or organi-
           zation.                                             "Hazardous properties" includes radioactive, toxic
                                                               or explosive properties.
   B. Under any Medical Payments coverage, to
       expenses incurred with respect to "bodily in-           "Nuclear material" means "source material", "spe-
       jury" resulting from the "hazardous properties"         cial nuclear material" or "by-product material".
       of "nuclear material" and arising out of the op-
       eration of a "nuclear facility" by any person or
       organization.




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   "Source material", "special nuclear material", and             (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                      essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at any time the total
   law amendatory thereof.                                            amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                   the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                         or contains more than 25 grams of pluto-
                                                                      nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                    thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                   235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed              (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)               or place prepared or used for the storage or
   resulting from the operation by any person or or-                  disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-          is located, all operations conducted on such site
   clear facility".                                            and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used             mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent       "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-       tive contamination of property.
           ing "waste";




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                            CG 02 20 03 12

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          FLORIDA CHANGES –
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraph 2. of the Cancellation Common Policy                   (2) The policy was obtained by a material
   Condition is replaced by the following:                                misstatement;
   2. Cancellation Of Policies In Effect                            (3) Failure to comply with underwriting
      a. For 90 Days Or Less                                              requirements established by the insurer
                                                                          within 90 days of the effective date of
          If this policy has been in effect for 90 days                   coverage;
          or less, we may cancel this policy by
          mailing or delivering to the first Named                  (4) A substantial change in the risk covered
          Insured written notice of cancellation,                         by the policy; or
          accompanied        by     the    reasons   for            (5) The cancellation is for all insureds under
          cancellation, at least:                                         such policies for a given class of
        (1) 10 days before the effective date of                          insureds.
               cancellation     if   we     cancel   for              If we cancel this policy for any of these
               nonpayment of premium; or                              reasons, we will mail or deliver to the first
        (2) 20 days before the effective date of                      Named       Insured     written   notice   of
               cancellation if we cancel for any other                cancellation, accompanied by the reasons
               reason, except we may cancel                           for cancellation, at least:
               immediately if there has been:                            (a) 10 days before the effective date of
              (a) A     material      misstatement    or                      cancellation if we cancel for
                  misrepresentation; or                                       nonpayment of premium; or
              (b) A failure to comply with the                           (b) 45 days before the effective date of
                  underwriting              requirements                      cancellation if we cancel for any of
                  established by the insurer.                                 the other reasons stated in
                                                                              Paragraph 2.b.
      b. For More Than 90 Days
                                                            B. Paragraph 3. of the Cancellation Common Policy
          If this policy has been in effect for more           Condition is replaced by the following:
          than 90 days, we may cancel this policy
          only for one or more of the following                3. We will mail or deliver our notice to the first
          reasons:                                                Named Insured at the last mailing address
                                                                  known to us.
        (1) Nonpayment of premium;




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C. Paragraph 5. of the Cancellation Common Policy                  The cancellation will be effective even if we
   Condition is replaced by the following:                         have not made or offered a refund.
   5. If this policy is cancelled, we will send the first    D. The following is added and supersedes any other
      Named Insured any premium refund due. If we               provision to the contrary:
      cancel, the refund will be pro rata. If the first         Nonrenewal
      Named Insured cancels, the refund may be
      less than pro rata. If the return premium is not          1. If we decide not to renew this policy, we will
      refunded with the notice of cancellation or                  mail or deliver to the first Named Insured
      when this policy is returned to us, we will mail             written notice of nonrenewal, accompanied by
      the refund within 15 working days after the                  the reason for nonrenewal, at least 45 days
      date cancellation takes effect, unless this is an            prior to the expiration of this policy.
      audit policy.                                             2. Any notice of nonrenewal will be mailed or
      If this is an audit policy, then, subject to your            delivered to the first Named Insured at the last
      full cooperation with us or our agent in securing            mailing address known to us. If notice is
      the necessary data for audit, we will return any             mailed, proof of mailing will be sufficient proof
      premium refund due within 90 days of the date                of notice.
      cancellation takes effect. If our audit is not
      completed within this time limitation, then we
      shall accept your own audit, and any premium
      refund due shall be mailed within 10 working
      days of receipt of your audit.




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POLICY NUMBER: IMA410900                                                            COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 44 04 17



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             LIMITATION OF COVERAGE TO DESIGNATED
                PREMISES, PROJECT OR OPERATION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                     SCHEDULE

 Premises: 514 NE 16th Place, Cape Coral FL 33909


 Project Or Operation:




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


 A. If this endorsement is attached to Commercial                      (3) Prior to the policy period, no insured
    General Liability Coverage Form CG 00 01, the                          listed under Paragraph 1. of Section II –
    provisions under this Paragraph A. apply:                              Who Is An Insured and no "employee"
    1. Paragraph 1.b. under Section I – Coverage A                         authorized by you to give or receive
        – Bodily Injury And Property Damage                                notice of an "occurrence" or claim, knew
        Liability is replaced by the following:                            that the "bodily injury" or "property
                                                                           damage" had occurred, in whole or in
        b. This insurance applies to "bodily injury" and                   part. If such a listed insured or authorized
            "property damage"           caused    by an                    "employee" knew, prior to the policy
            "occurrence" that takes place in the                           period, that the "bodily injury" or
            "coverage territory" only if:                                  "property damage" occurred, then any
           (1) The "bodily injury" or "property damage":                   continuation, change or resumption of
               (a) Occurs on the premises shown in the                     such "bodily injury" or "property damage"
                    Schedule or the grounds and                            during or after the policy period will be
                    structures appurtenant to those                        deemed to have been known prior to the
                    premises; or                                           policy period.
               (b) Arises out of the project or operation        2. Paragraph 1.b. under Section I – Coverage B
                    shown in the Schedule;                          – Personal And Advertising Injury Liability is
                                                                    replaced by the following:
           (2) The "bodily injury" or "property damage"
                occurs during the policy period; and                b. This insurance applies to "personal and
                                                                        advertising injury" caused by an offense
                                                                        committed in the "coverage territory" but
                                                                        only if:
                                                                       (1) The offense arises out of your business:
                                                                          (a) Performed on the premises shown in
                                                                                 the Schedule; or

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              (b) In connection with the project or         B. If this endorsement is attached to Commercial
                   operation shown in the Schedule; and        General Liability Coverage Form CG 00 02, the
          (2) The offense was committed during the             provisions under this Paragraph B. apply:
               policy period.                                  1. Paragraph 1.b. under Section I – Coverage A
           However, with respect to Paragraph                      – Bodily Injury And Property Damage
           1.b.(1)(a) of this Insuring Agreement, if the           Liability is replaced by the following:
           "personal and advertising injury" is caused             b. This insurance applies to "bodily injury" and
           by:                                                         "property damage"           caused     by an
          (1) False arrest, detention or imprisonment;                 "occurrence" that takes place in the
               or                                                      "coverage territory" only if:
          (2) The wrongful eviction from, wrongful                    (1) The "bodily injury" or "property damage":
               entry into, or invasion of the right of                    (a) Occurs on the premises shown in the
               private occupancy of a room, dwelling or                         Schedule or the grounds and
               premises that a person occupies,                                 structures appurtenant to those
               committed by or on behalf of its owner,                          premises; or
               landlord or lessor;                                        (b) Arises out of the project or operation
           then such offense must arise out of your                             shown in the Schedule;
           business performed on the premises shown                   (2) The "bodily injury" or "property damage"
           in the Schedule and the offense must have                       did not occur before the Retroactive
           been committed on the premises shown in                         Date, if any, shown in the Declarations or
           the Schedule or the grounds and structures                      after the end of the policy period; and
           appurtenant to those premises.
                                                                      (3) A claim for damages because of the
    3. Paragraph 1.a. under Section I – Coverage C                         "bodily injury" or "property damage" is
       – Medical Payments is replaced by the                               first made against any insured, in
       following:                                                          accordance with Paragraph 1.c. of this
       a. We will pay medical expenses as described                        Insuring Agreement, during the policy
           below for "bodily injury" caused by an                          period or any Extended Reporting Period
           accident that takes place in the "coverage                      we provide under Section V – Extended
           territory" if the "bodily injury":                              Reporting Periods.
          (1) Occurs on the premises shown in the              2. Paragraph 1.b. under Section I – Coverage B
               Schedule or the grounds and structures              – Personal And Advertising Injury Liability is
               appurtenant to those premises; or                   replaced by the following:
          (2) Arises out of the project or operation               b. This insurance applies to "personal and
               shown in the Schedule;                                  advertising injury" caused by an offense
           provided that:                                              committed in the "coverage territory" but
                                                                       only if:
              (a) The accident takes place during the
                   policy period;                                     (1) The offense arises out of your business:
              (b) The expenses are incurred and                           (a) Performed on the premises shown in
                   reported to us within one year of the                        the Schedule; or
                   date of the accident; and                              (b) In connection with the project or
              (c) The injured person submits to                                 operation shown in the Schedule;
                   examination, at our expense, by                    (2) The offense was not committed before
                   physicians of our choice as often as                    the Retroactive Date, if any, shown in the
                   we reasonably require.                                  Declarations or after the end of the policy
                                                                           period; and




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         (3) A claim for damages because of the                 3. Paragraph 1.a. under Section I – Coverage C
               "personal and advertising injury" is first          – Medical Payments is replaced by the
               made against any insured, in accordance             following:
               with Paragraph 1.c. of this Insuring                a. We will pay medical expenses as described
               Agreement, during the policy period or                  below for "bodily injury" caused by an
               any Extended Reporting Period we                        accident that takes place in the "coverage
               provide under Section V – Extended                      territory" if the "bodily injury":
               Reporting Periods.
                                                                      (1) Occurs on the premises shown in the
           However, with respect to Paragraph                              Schedule or the grounds and structures
           1.b.(1)(a) of this Insuring Agreement, if the                   appurtenant to those premises; or
           "personal and advertising injury" is caused
           by:                                                        (2) Arises out of the project or operation
                                                                           shown in the Schedule;
          (1) False arrest, detention or imprisonment;
               or                                                      provided that:
          (2) The wrongful eviction from, wrongful                        (a) The accident takes place during the
               entry into, or invasion of the right of                         policy period;
               private occupancy of a room, dwelling or                   (b) The expenses are incurred and
               premises that a person occupies,                                reported to us within one year of the
               committed by or on behalf of its owner,                         date of the accident; and
               landlord or lessor;                                        (c) The injured person submits to
           then such offense must arise out of your                            examination, at our expense, by
           business performed on the premises shown                            physicians of our choice as often as
           in the Schedule and the offense must have                           we reasonably require.
           been committed on the premises shown in
           the Schedule or the grounds and structures
           appurtenant to those premises.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 73 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                                 b. The act is a violent act or an act that is
   This insurance does not apply to:                                     dangerous to human life, property or
                                                                         infrastructure and is committed by an
   TERRORISM                                                             individual or individuals as part of an effort
   "Any injury or damage" arising, directly or                           to coerce the civilian population of the
   indirectly, out of a "certified act of terrorism".                    United States or to influence the policy or
                                                                         affect the conduct of the United States
B. The following definitions are added:
                                                                         Government by coercion.
   1. For the purposes of this endorsement, "any
       injury or damage" means any injury or damage           C. The terms and limitations of any terrorism
       covered under any Coverage Part to which this             exclusion, or the inapplicability or omission of a
       endorsement is applicable, and includes but is            terrorism exclusion, do not serve to create
       not limited to "bodily injury", "property                 coverage for injury or damage that is otherwise
       damage", "personal and advertising injury",               excluded under this Coverage Part.
       "injury" or "environmental damage" as may be
       defined in any applicable Coverage Part.
   2. "Certified act of terrorism" means an act that is
       certified by the Secretary of the Treasury, in
       accordance with the provisions of the federal
       Terrorism Risk Insurance Act, to be an act of
       terrorism pursuant to such Act. The criteria
       contained in the Terrorism Risk Insurance Act
       for a "certified act of terrorism" include the
       following:
       a. The act resulted in insured losses in excess
           of $5 million in the aggregate, attributable to
           all types of insurance subject to the
           Terrorism Risk Insurance Act; and




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                                  GENERAL STAR INDEMNITY COMPANY
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                      TOTAL PFAS EXCLUSION

This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.    The following exclusion is added:
      This insurance does not apply to:

      1. “Bodily injury”, “property damage”, or “personal and advertising injury” arising out of, in any way related to or
         which would not have occurred in whole or in part but for the actual, alleged, threatened, or suspected:
          a.   Inhalation of, ingestion of, contact with, exposure to, existence of, or presence of “PFAS”;

          b.   Design, manufacture, storage, processing, packaging, handling, testing, distribution, sale or disposal of
               “PFAS”;
          c.   Discharge, dispersal, seepage, migration, release, flaking, leakage, leaching, friability, or escape of
               “PFAS”;
          d.   Providing or failing to provide warnings or instructions with respect to “PFAS”; or
          e.   Warranties or representations made at any time with respect to the fitness, quality, durability,
               performance, toxicity, environmental persistence, presence or absence, or use of “PFAS”;
          regardless of whether any other cause, event, materials, substances, compounds, goods, or products
          (including but not limited to “your product”), contributed concurrently or in any sequence to such injury or
          damage;
      2. Any loss, cost, or expense arising out of or related to any:

          a.   Request, demand, order or statutory, regulatory or legal requirement of any kind that any insured or
               others test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond
               to, assess or remediate the effects of “PFAS”; or
          b.   Claim or suit by or on behalf of any governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing or in any way
               responding to, or assessing the effects of “PFAS”;
      3. Any other injury or damage, liability, loss, cost or expense arising out of or in any way related to “PFAS”
         including, but not limited to, any fines, penalties, punitive or exemplary damages;
      4. Any claims against any insured alleging negligence or other wrongdoing in the supervision, hiring,
         employment, training or monitoring of others involving the circumstances described in paragraphs A.1.
         through A.3. above; or
      5. Any obligation of any insured to indemnify or contribute with any party in connection with paragraphs A.1.
         through A.4. above.




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                                            GENERAL STAR INDEMNITY COMPANY
              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         This exclusion applies regardless of whether the goods, products (including but not limited to “your product”),
         materials, compounds or substances that are defined as “PFAS” in paragraph B. below are a solid, liquid or gas
         (including but not limited to dust, smoke, vapor, soot or fumes).

   B.    The following definition is added to SECTION V - DEFINITIONS:
         “PFAS” means:
         1.   any perfluoroalkyl or polyfluoroalkyl substances, including but not limited to: Perfluorooctane sulfonate
              (PFOS), Perfluorooctanoic acid (PFOA), Perfluorononanoic acid (PFNA), Perfluorodecanoic acid (PFDA),
              Perfluorobutane sulfonic acid (PFBS), N-Methyl-perfluorooctane sulfonamido acetic acid
              (Me-PFOSA-AcOH), Perfluorobutanesulfonate, Perfluorohexane sulfonic acid (PFHxS), Potassium
              Perfluorobutane Suflonate (PFBS), or ammonium perfluorooctanoate (APFO), GenX, including
              hexafluoropropylene oxide dimer acid (HFPO-DA);
         2.   any substance that, by whatever name known:
              a.       has a similar chemical formulary, formation, or structure to any substance listed in paragraph B.1.
                       above;
               b.      is a derivative of or an intended replacement of any substance listed in paragraph B.1. above;
               c.      is an associated homologue, isomer, salt, ester, alcohol, acid, or is a related degradation or by-product,
                       of any substance listed in paragraph B.1. above;
               d.      contains at least one fully fluorinated methyl or methylene carbon atom (without any H/Cl/Br/I atom
                       attached to it); or
               e.      had been referred to by chemical structure, name or CAS Number, as a known or suspected PFAS,
                       perfluoroalkyl, or polyfluoroalkyl chemical or substance in any foreign or United States federal, state or
                       local statute, law, regulation, rule or written proposed rule, or governmental bulletin (including but not
                       limited to publications of the United States Environmental Protection Agency) that had been published
                       as of the effective date of this insurance; or

         3.   any goods, products (including but not limited to “your product”), materials, compounds, or substances that
              actually or allegedly consist of, contain, or are contaminated with any amount of the substances described in
              paragraphs B.1. or B.2. above.



ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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                                  COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS

         POLICY #         IMA410900

1.       NAMED INSURED Pedro E.Rodriguez & Marioska Sanchez                                                      EFFECTIVE DATE       08/24/2022
                                  (See form GSI-04-I625)

2. DESCRIPTION OF PREMISES
LOC. BLDG.                                                STREET                                                              CITY                    STATE ZIP
 #     #
1          1        514 NE 16th Place                                                                            Cape Coral                             FL 33909




                    LOC. BLDG.                          PROTECT            DIST TO          YEAR                                              CLASS
                     #     #             CONST           CLASS             WATER            BUILT                  OCCUPANCY                  CODE
                    1       1       JM                 PC3                                  2003 Office                                       0702




3.       COVERAGES PROVIDED IN SU RAN C E AT TH E D ESC RIBED PREM ISES APPLIES O N LY F OR C O VERAG ES F O R W H IC H A LIM IT O F IN SU RAN C E IS SH O W N .
LOC. BLDG.                          COVERAGE                           LIMIT OF       COVERED CAUSES COINSURANCE* RATES                        PREMIUM
 #     #                                                            INSURANCE            OF LOSS
1          1        Building                                           600,000         Spcl X-theft                 80%           .698                 4,313 MP



                                                                                                             *
                                                                                               IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS
                                                                                              PAYMENT
                                                                  TERRO RISM RISK IN SURAN C E AC T (TRIA) PREM IUM :
                                                (TRIA C O VERAGE N O T APPLIC ABLE UN LESS PREM IUM SH O WN ABO VE)


                                                                                                        TOTAL PREMIUM:                                 4,313
4.       OPTIONAL COVERAGES                    APPLIC ABLE ON LY WH EN EN TRIES ARE M ADE IN TH E SC H EDULE BELOW.
LOC.        BLDG.    AGREED VALUE                                                                       REPLACEMENT COST(X)
     #         #    EXPIRATION DATE                  COVERAGE                          AMOUNT           BUILDING   PERSONAL PROPERTY INCLUDING "STOCK"
1          1                                                                                             X




                            INFLATION GUARD (Percentage)  * MONTHLY LIMIT OF * MAXIMUM PERIOD                         *EXTENDED PERIOD
                             BUILDING    PERSONAL PROPERTY INDEMNITY (Fraction) OF INDEMNITY (X)                       OF INDEMNITY (Days)




                                                                    *APPLIES TO BUSINESS INCOME ONLY.
5.       MORTGAGE HOLDER
         LOC. #         BLDG. #      MORTGAGE HOLDER NAME AND MAILING ADDRESS




6.       DEDUCTIBLE
         SEE GSI-04-P487 ( 09 20         ) APPLICATION OF THE DEDUCTIBLE ENDORSEMENT

7.       FORMS APPLICABLE
         TO ALL COVERAGES:             See Schedule of Forms & Endorsements GSI-04-FORMSCH (1-01)
         TO SPECIFIC PREMISES/ COVERAGES:
         LOC. #         BLDG. #      COVERAGES                                         FORM NUMBER




         GSI-04-CP03D (5/ 04)                                                ORIGINAL
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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       COMMERCIAL PROPERTY COMBINED PROVISIONS ENDORSEMENT
The following amends insurance provided under the policy. Note the specific coverage forms or causes of loss
forms affected by the amendatory provisions.

1. ELECTRONIC DATA LIMITATION PROVISION

     This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
     when attached to the policy:

     BUILDING AND PERSONAL PROPERTY COVERAGE FORM
     CONDOMINIUM ASSOCIATION COVERAGE FORM

     It is agreed that subparagraph (4) of paragraph f. Electronic Data of subsection 4. Additional Coverages in
     section A. Coverage is deleted in its entirety and replaced with the following:

     (4) The most we will pay under this Additional Coverage – Electronic Data is $250 for all loss or damage
         sustained in any one policy year, regardless of the number of occurrences of loss or damage or the number
         of premises, locations or computer systems involved. If loss payment on the first occurrence does not
         exhaust this amount, then the balance is available for subsequent loss or damage sustained in but not after
         that policy year. With respect to an occurrence which begins in one policy year and continues or results in
         additional loss or damage in a subsequent policy year(s), all loss or damage is deemed to be sustained in
         the policy year in which the occurrence began.

     This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
     when attached to the policy:

     CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

     It is agreed that subparagraph (4) of paragraph e. Electronic Data of subsection 4. Additional Coverages in
     section A. Coverage is deleted in its entirety and replaced with the following:

     (4) The most we will pay under this Additional Coverage – Electronic Data is $250 for all loss or damage
         sustained in any one policy year, regardless of the number of occurrences of loss or damage or the number
         of premises, locations or computer systems involved. If loss payment on the first occurrence does not
         exhaust this amount, then the balance is available for subsequent loss or damage sustained in but not after
         that policy year. With respect to an occurrence which begins in one policy year and continues or results in
         additional loss or damage in a subsequent policy year(s), all loss or damage is deemed to be sustained in
         the policy year in which the occurrence began.
     This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
     when attached to the policy:

    BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM

     It is agreed that subparagraph (4) of paragraph d. Interruption of Computer Operations of subsection 5.
     Additional Coverages in section A. Coverage is deleted in its entirety and replaced with the following:

     (4) The most we will pay under this Additional Coverage – Interruption of Computer Operations is $250 for all
         loss sustained and expense incurred in any one policy year, regardless of the number of interruptions or the
         number of premises, locations or computer systems involved. If loss payment relating to the first
         interruption does not exhaust this amount, then the balance is available for loss or expense sustained or
         incurred as a result of subsequent interruptions in that policy year. A balance remaining at the end of a
         policy year does not increase the amount of insurance in the next policy year. With respect to any
         interruption which begins in one policy year and continues or results in additional loss or expense in a
         subsequent policy year(s), all loss and expense is deemed to be sustained or incurred in the policy year in
         which the interruption began.


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     This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
     when attached to the policy:

     BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM

     It is agreed that subparagraph (4) of paragraph e. Interruption of Computer Operations of subsection 4.
     Additional Coverages in section A. Coverage is deleted in its entirety and replaced with the following:

     (4) The most we will pay under this Additional Coverage – Interruption of Computer Operations is $250 for all
         loss sustained in any one policy year, regardless of the number of interruptions or the number of premises,
         locations or computer systems involved. If loss payment relating to the first interruption does not exhaust
         this amount, then the balance is available for loss sustained as a result of subsequent interruptions in that
         policy year. A balance remaining at the end of a policy year does not increase the amount of insurance in
         the next policy year. With respect to any interruption which begins in one policy year and continues or
         results in additional loss in a subsequent policy year(s), all loss is deemed to be sustained in the policy year
         in which the interruption began.
     This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
     when attached to the policy:

     EXTRA EXPENSE COVERAGE FORM

     It is agreed that subparagraph (4) of paragraph c. Interruption of Computer Operations of subsection 4.
     Additional Coverages in section A. Coverage is deleted in its entirety and replaced with the following:

     (4) The most we will pay under this Additional Coverage – Interruption of Computer Operations is $250 for all
         loss sustained in any one policy year, regardless of the number of interruptions or the number of premises,
         locations or computer systems involved. If loss payment relating to the first interruption does not exhaust
         this amount, then the balance is available for loss sustained as a result of subsequent interruptions in that
         policy year. A balance remaining at the end of a policy year does not increase the amount of insurance in
         the next policy year. With respect to any interruption which begins in one policy year and continues or
         results in additional loss in a subsequent policy year(s), all loss is deemed to be sustained in the policy year
         in which the interruption began.
2. FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION

     This FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION modifies insurance provided under
     the following when attached to the policy:

     CAUSES OF LOSS --- BASIC FORM


                                               SCHEDULE
                            FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT                           $5,000

     A. It is agreed that paragraph h., “Fungus”, Wet Rot, Dry Rot and Bacteria of subsection 1. in section B.
        Exclusions is deleted in its entirety and is replaced with the following:

         h. “Fungus”, “Spore(s)”, Wet Rot, Dry Rot And Bacteria
              Presence, growth, proliferation, spread or any activity of “fungus”, “spore(s)”, wet or dry rot or bacteria.

     B. Section C. Additional Coverage – Limited Coverage For “Fungus” , Wet Rot, Dry Rot and Bacteria is
        deleted in its entirety and replaced with the following:




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         C. Additional Coverage – Limited Coverage For “Fungus” , “Spores”, Wet Rot, Dry Rot and Bacteria

              1. Subject to all other policy provisions, we will pay your expense for testing for, monitoring,
                 abatement, mitigation, removal, remediation or disposal of “fungus” or “spores” or any substance,
                 vapor, gas, or byproducts produced by or arising out of any “fungus” or “spores” provided:

                      a. Such expense is caused by or results from a Covered Cause of Loss that occurs during the
                         policy period;

                      b. Subject to all other policy conditions, the necessity of such expense is reported to us in writing
                         within 60 days of the date on which the Covered Cause of Loss occurs; and

                      c. We authorize you to incur such expense.

                      This Additional Coverage does not apply to lawns, trees, shrubs or plants which are part of a
                      vegetated roof.

              2. a. Regardless of the number of claims, insured locations or occurrences, the most we will pay
                    under this policy, in excess of any applicable deductible, for the sum of all covered expense
                    described in paragraph C.1.a. above, is the FUNGUS CLEAN UP AND REMOVAL POLICY
                    LIMIT shown in the SCHEDULE above.

                       b. Subject to paragraph 2.a. above, the FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT
                          applies to and includes the costs associated with the replacement of Covered Property
                          discarded or destroyed as part of the removal or remediation of “fungus” or “spore(s)”.

       C.     The definition of “fungus” in section E. Definitions is deleted in its entirety and replaced by the
              following:

              1.        The term “fungus”, as used in this endorsement and throughout the entire policy, includes, but is
                        not limited to, any form or type of mildew, mold, wet or dry rot, bacteria, mushroom, rust, smuts,
                        or yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile
                        organic compounds produced by or associated therewith.

       D.     The following paragraph 2. is added to section E. Definitions :

              2.        The term “spore(s)”, as used in this endorsement and throughout the entire policy, means any
                        reproductive body produced by or arising out of any “fungus”.

     This FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION modifies insurance provided under
     the following when attached to the policy:

     CAUSES OF LOSS --- BROAD FORM


                                                  SCHEDULE
                               FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT                          $5,000

     A. It is agreed that paragraph h., “Fungus”, Wet Rot, Dry Rot and Bacteria of subsection 1. in section B.
        Exclusions is deleted in its entirety and is replaced with the following:

         h. “Fungus”, “Spore(s)”, Wet Rot, Dry Rot And Bacteria
              Presence, growth, proliferation, spread or any activity of “fungus”, “spore(s)”, wet or dry rot or bacteria.




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     B. Section D. Additional Coverage – Limited Coverage For “Fungus”, Wet Rot, Dry Rot and Bacteria is
        deleted in its entirety and replaced with the following:

         D. Additional Coverage – Limited Coverage For “Fungus” , “Spores”, Wet Rot, Dry Rot and Bacteria

              1. Subject to all other policy provisions, we will pay your expense for testing for, monitoring,
                 abatement, mitigation, removal, remediation or disposal of “fungus” or “spores” or any substance,
                 vapor, gas, or byproducts produced by or arising out of any “fungus” or “spores” provided:

                      a. Such expense is caused by or results from a Covered Cause of Loss that occurs during the
                         policy period;

                      b. Subject to all other policy conditions, the necessity of such expense is reported to us in writing
                         within 60 days of the date on which the Covered Cause of Loss occurs; and

                      c. We authorize you to incur such expense.

                      This Additional Coverage does not apply to lawns, trees, shrubs or plants which are part of a
                      vegetated roof.

              2. a. Regardless of the number of claims, insured locations or occurrences, the most we will pay
                    under this policy, in excess of any applicable deductible, for the sum of all covered expense
                    described in paragraph D.1.a. above, is the FUNGUS CLEAN UP AND REMOVAL POLICY
                    LIMIT shown in the SCHEDULE of this endorsement.

                       b. Subject to paragraph 2.a. above, the FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT
                          applies to and includes the costs associated with the replacement of Covered Property
                          discarded or destroyed as part of the removal or remediation of “fungus” or “spore(s)”.

       C.     The definition of “fungus” in section F. Definitions is deleted in its entirety and replaced by the
              following:

              1.        The term “fungus”, as used in this endorsement and throughout the entire policy, includes, but is
                        not limited to, any form or type of mildew, mold, wet or dry rot, bacteria, mushroom, rust, smuts,
                        or yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile
                        organic compounds produced by or associated therewith.

       D.     The following paragraph 2. is added to section F. Definitions :

              2.        The term “spore(s)”, as used in this endorsement and throughout the entire policy, means any
                        reproductive body produced by or arising out of any “fungus”.

     This FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION modifies insurance provided under
     the following when attached to the policy:

     CAUSES OF LOSS --- SPECIAL FORM


                                                  SCHEDULE
                               FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT                          $5,000

     A. It is agreed that paragraph h., “Fungus”, Wet Rot, Dry Rot and Bacteria of subsection 1. in section B.
        Exclusions is deleted in its entirety and is replaced with the following:

         h. “Fungus”, “Spore(s)”, Wet Rot, Dry Rot And Bacteria
              Presence, growth, proliferation, spread or any activity of “fungus”, “spore(s)”, wet or dry rot or bacteria.




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     B. Section E. Additional Coverage – Limited Coverage For “Fungus”, Wet Rot, Dry Rot and Bacteria is
        deleted in its entirety and replaced with the following:

         E. Additional Coverage – Limited Coverage For “Fungus” , “Spores”, Wet Rot, Dry Rot and Bacteria

              1. Subject to all other policy provisions, we will pay your expense for testing for, monitoring,
                 abatement, mitigation, removal, remediation or disposal of “fungus” or “spores” or any substance,
                 vapor, gas, or byproducts produced by or arising out of any “fungus” or “spores” provided:

                      a. Such expense is caused by or results from a Covered Cause of Loss that occurs during the
                         policy period;

                      b. Subject to all other policy conditions, the necessity of such expense is reported to us in writing
                         within 60 days of the date on which the Covered Cause of Loss occurs; and

                      c. We authorize you to incur such expense.

                      This Additional Coverage does not apply to lawns, trees, shrubs or plants which are part of a
                      vegetated roof.

              2. a. Regardless of the number of claims, insured locations or occurrences, the most we will pay
                    under this policy, in excess of any applicable deductible, for the sum of all covered expense
                    described in paragraph E.1.a. above, is the FUNGUS CLEAN UP AND REMOVAL POLICY
                    LIMIT shown in the SCHEDULE of this endorsement.

                      b. Subject to paragraph 2.a. above, the FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT
                         applies to and includes the costs associated with the replacement of Covered Property
                         discarded or destroyed as part of the removal or remediation of “fungus” or “spore(s)”.

         C. Subsection 1. of section G. Definitions is deleted in its entirety and replaced by the following:

              1.        The term “fungus”, as used in this endorsement and throughout the entire policy, includes, but is
                        not limited to, any form or type of mildew, mold, wet or dry rot, bacteria, mushroom, rust, smuts,
                        or yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile
                        organic compounds produced by or associated therewith.

         D. The following paragraph 3. is added to section G. Definitions :

              3.        The term “spore(s)”, as used in this endorsement and throughout the entire policy, means any
                        reproductive body produced by or arising out of any “fungus”.

3. ABSOLUTE ASBESTOS EXCLUSION PROVISION

     This ABSOLUTE ASBESTOS EXCLUSION PROVISION modifies insurance provided under the following
     when attached to the policy:

     CAUSES OF LOSS --- BASIC FORM
     CAUSES OF LOSS –- BROAD FORM
     CAUSES OF LOSS –- SPECIAL FORM

     The following is added to the Exclusions section and is therefore not a Covered Cause of Loss:

     Absolute Asbestos Exclusion

     We will not pay for loss or damage caused directly or indirectly by existence of or actual, alleged or threatened,
     discharge, dispersal, seepage, migration, release or escape of any asbestos, or any materials containing them,
     at any time. This exclusion applies regardless of any other cause or event that contributes concurrently or in
     any sequence to the loss or damage.




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4. NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW
     This NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW PROVSIION
     modifies insurance provided under the following when attached to the policy:

     COMMERCIAL PROPERTY CONDITIONS

     The following is added to the Commercial Property Conditions (CP 00 90)

     J. NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW

         If we decide not to renew this policy we have no duty or responsibility to mail or deliver written notice of the
         non-renewal to any insured.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           TOTAL LOSS ENDORSEMENT
This endorsement modifies insurance provided under this Policy.

CAUSES OF LOSS – BASIC FORM
CAUSES OF LOSS – BROAD FORM
CAUSES OF LOSS – SPECIAL FORM




In consideration of the premium charged under this policy, it is understood and agreed that in the event of a
constructive total loss of the insured property, the full policy premium of the property shall be deemed fully
earned for all coverages insured hereunder. No return premium shall be payable to the insured for the
unexpired term of the policy.

All other terms, conditions and exclusions remain the same.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        APPLICATION OF THE DEDUCTIBLE ENDORSEMENT
     This endorsement modifies insurance provided under the following:

     BUILDING AND PERSONAL PROPERTY COVERAGE FORM
     CONDOMINIUM ASSOCIATION COVERAGE FORM
     CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
     BUILDERS RISK COVERAGE FORM.


                                                         Schedule*
      Prem.     Bldg.    Deductible       Covered Cause(s)  Deductible applies per:
      No.       No.                       of Loss**

                                          (1)                        X Per Occurrence            Per Location         Per Building
      1        1        $1,000
                                                                        Other                                        Per Unit
                                                                                  ------------------------------

                                          (5)                           Per Occurrence           Per Location      X Per Building
      1        1        5%
                                                                        Other                                        Per Unit
                                                                                  ------------------------------

                                                                        Per Occurrence           Per Location        Per Building

                                                                        Other                                        Per Unit
                                                                                  ------------------------------
                                                                        Per Occurrence           Per Location        Per Building

                                                                        Other                                        Per Unit
                                                                                  ------------------------------

     * Information required to complete this Schedule, if not shown on this endorsement, will be shown in the
     Declarations.

     ** For each deductible listed in this Schedule, enter the number corresponding to the Covered Cause(s) of Loss to
     which that deductible applies (or enter the description):

              (1) All Covered Causes of Loss except those with a separate deductible shown in the Schedule
              (2) “Hurricane”
              (3) Windstorm or Hail except windstorm or hail caused by a “Hurricane”
              (4) Theft (Only applicable for use with the Special Cause of Loss Form)
              (5) Windstorm or Hail
              (6) “Named Storm”
              (7) Windstorm or Hail except windstorm or hail caused by “Named Storm”
              (8) Vandalism
              (9) Water damage (Only applicable for use with the Broad or Special Cause of Loss Form)
              (10)Sprinkler Leakage




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             (11)Ice Damming, thawing of snow, sleet, or ice that damages the interior of any building or structure, or the
                 property inside the building or structure. (Only applicable for use with the Special Cause of Loss
                 Form)
             (12)Other: ___________________________________________________________


     Section D. Deductible is deleted and replaced with the following:

     D. Deductible

         1. We will not pay for loss or damage until the amount of loss or damage exceeds the applicable Deductible.
            We will then pay the amount of loss or damage in excess of that Deductible, up to the applicable Limit of
            Insurance, after any reduction required by any of the following: Coinsurance Condition or Agreed Value
            Optional Coverage.

         2. The Deductible, as shown in the Schedule and set forth in this endorsement, applies to covered loss or
            damage caused directly or indirectly by the Covered Cause of Loss shown in the Schedule for that
            Deductible. The Deductible applies separately to each occurrence.

         3. When property is covered under the Coverage Extension for Newly Acquired Or Constructed Property: In
            determining the amount, if any, that we will pay for loss or damage, we will deduct from the value(s) of the
            property at time of loss. The applicable deductible is the largest deductible shown in the Schedule for the
            Covered Cause of Loss for any described premises.

         4. When the occurrence involves loss to a specific Covered Property caused by or resulting from a Covered
            Cause of Loss that is subject to a Sublimit(s) as stated in this Coverage Form, Declarations or in any
            endorsement to this policy, then any amount of such loss in excess of the applicable Sublimit(s) will not be
            considered to be part of the covered loss under this policy for purposes of application of any Deductible(s)
            and, as such, will not be offset, defray, or erode any Deductible(s) provided in this policy.

         5. In the event that loss or damage by multiple Covered Causes of Loss occurs to Covered Property as a result
            of one occurrence, each deductible applicable to the Covered Cause of Loss, as shown in the Schedule
            above, will apply to that portion of the loss or damage resulting from the Covered Cause of Loss
            corresponding to each deductible.

         6. Calculation Of The Deductible – Fixed Dollar Amount

             In determining the amount, if any, that we will pay for loss or damage, we will deduct an amount equal to the
             dollar amount applicable to that Covered Cause of Loss shown in the Schedule above from the loss or
             damage sustained.

             a. If the deductible applies on a Per Occurrence basis, then the applicable Deductible for that Covered
                Cause of Loss will be subtracted from the total loss or damage to all Covered Property damaged in that
                occurrence. In the event that loss or damage occurs to Covered Property at more than one building
                location as a result of one occurrence, the largest applicable deductible for that Covered Cause of Loss,
                shown in the Schedule above or in the Declarations, will apply.

             b. If the deductible applies on a Per Location basis, then the applicable Deductible for that Covered Cause
                of Loss will be applied separately to each location that sustains loss or damage.

             c. If the deductible applies on a Per Building basis, then the applicable Deductible for that Covered Cause
                of Loss will be applied separately to each building that sustains loss or damage, regardless of the
                number of buildings per location, and their respective contents.




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            d. If the deductible applies on a Per Unit basis, then the applicable Deductible for that Covered Cause of
               Loss will be applied separately to each unit that sustains loss or damage, regardless of the number of
               units per building, and their respective contents.

            e. If the deductible applies on an Other basis, then the applicable Deductible for that Covered Cause of
               Loss will be applied as described in the schedule above.

         7. Calculation Of The Deductible – Percentage Deductible

            a. Specific Insurance Other than Builders’ Risk

                In determining the amount, if any, that we will pay for loss or damage:

                (1) If the Deductible applies on a Per occurrence basis, we will deduct an amount equal to the
                    applicable Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule)
                    multiplied by the total value(s) of all property covered on the policy, including contents, as of the time
                    of loss or damage.

                    In the event that loss or damage occurs to Covered Property at more than one building location as a
                    result of one occurrence, and there is a separate Per Occurrence deductible applicable to each
                    building location, then we will deduct an amount equal to the sum of the applicable Deductible
                    Percentage for each building location (as shown in the Schedule) multiplied by the total value(s) of
                    all property at the building location, including contents, as of the time of the loss or damage.

                (2) If the Deductible applies on a Per Location basis, we will deduct an amount equal to the applicable
                    Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                    total value(s) of all Covered Property at the location that sustained loss or damage. The deductible
                    will be applied separately to each location that sustains loss or damage, regardless of the number of
                    locations included on the policy, and their respective contents.

                (3) If the Deductible applies on a Per Building basis, we will deduct an amount equal to the applicable
                    Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                    total value(s) of all Covered Property in the building that sustained damage. The deductible will be
                    applied separately to each building that sustains loss or damage, regardless of the number of
                    buildings per location, and their respective contents.

                (4) If the Deductible applies on a Per Unit basis, we will deduct an amount equal to the applicable
                    Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                    total value(s) of all Covered Property in the unit that sustained loss or damage, regardless of the
                    number of units per building, and their respective contents.

                (5) If the Deductible applies on an Other basis, then the applicable Deductible for that Covered Cause
                    of Loss will be applied as described in the Schedule above.

            b. Builders’ Risk Insurance

                In determining the amount, if any, that we will pay for property that has sustained loss or damage:

                (1) If the Deductible applies on a Per Occurrence basis, we will deduct an amount equal to the
                    applicable Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule)




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                     multiplied by the actual cash value(s) of all property covered by this policy as of the time of loss or
                     damage.

                     In the event that loss or damage occurs to Covered Property at more than one building location as a
                     result of one occurrence, and there is a separate Per Occurrence deductible applicable to each
                     building location, then we will deduct an amount equal to the sum of the applicable Deductible
                     Percentage for each building location (as shown in the Schedule) multiplied by the actual cash
                     value(s) of all property at the building location as of the time of the loss or damage.

                 (2) If the Deductible applies on a Per Location basis, we will deduct an amount equal to the applicable
                     Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                     actual cash value(s) of all Covered Property at the location where the loss or damage occurred as
                     of the time of loss or damage. The deductible will be applied separately to each location that
                     sustains loss or damage, regardless of the number of locations per policy, and their respective
                     contents.

                 (3) If the Deductible applies on a Per Building basis, we will deduct an amount equal to the applicable
                     Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                     actual cash value(s) of all Covered Property at the building that sustained loss or damage as of the
                     time of the loss or damage. The Deductible will be applied separately to each building that sustains
                     loss or damage, regardless of the number of buildings per location, and their respective contents.

                 (4) If the Deductible applies on a Per Unit basis, we will deduct an amount equal to the applicable
                     Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                     actual cash value(s) of all Covered Property at the unit that sustained loss or damage as of the time
                     of the loss or damage. The Deductible will be applied separately to each unit that sustains loss or
                     damage, regardless of the number of units per building, and their respective contents.

                 (5) If the Deductible applies on an Other basis, then the applicable Deductible will be applied as
                     described in the Schedule above.

         8. Nothing in this endorsement implies or affords coverage for any loss or damage that is excluded under the
            terms of any exclusion in this policy.

         9. As used in this endorsement, the term “specific insurance” has the following meanings: Specific insurance
            covers each item of insurance (for example, each building or personal property in a building) under a
            separate Limit of Insurance. Items of insurance corresponding Limit(s) Of Insurance are shown in the
            Declarations.

         10. The term “hurricane” is defined as any atmospheric disturbance declared to be a hurricane by the U.S.
             National Weather Service or the National Hurricane Center.

         11. The term “Named Storm” is defined as a weather-related event that has been named, designated or
             identified by the U.S. National Weather Service or the National Hurricane Center. It only includes a
             “hurricane”, tropical storm or tropical depression.




     All other terms, conditions and exclusions remain unchanged.




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                                                                                       COMMERCIAL PROPERTY
                                                                                                CP 00 10 10 12


                   BUILDING AND PERSONAL PROPERTY
                           COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

A. Coverage                                                         b. Your Business           Personal     Property
   We will pay for direct physical loss of or damage to                consists of the following property located in
   Covered Property at the premises described in the                   or on the building or structure described in
   Declarations caused by or resulting from any                        the Declarations or in the open (or in a
   Covered Cause of Loss.                                              vehicle) within 100 feet of the building or
                                                                       structure or within 100 feet of the premises
   1. Covered Property                                                 described in the Declarations, whichever
      Covered Property, as used in this Coverage                       distance is greater:
      Part, means the type of property described in                   (1) Furniture and fixtures;
      this section, A.1., and limited in A.2. Property
      Not Covered, if a Limit Of Insurance is shown                   (2) Machinery and equipment;
      in the Declarations for that type of property.                  (3) "Stock";
      a. Building, meaning the building or structure                  (4) All other personal property owned by
          described in the Declarations, including:                        you and used in your business;
         (1) Completed additions;                                     (5) Labor, materials or services furnished or
         (2) Fixtures, including outdoor fixtures;                         arranged by you on personal property of
                                                                           others;
         (3) Permanently installed:
                                                                      (6) Your use interest as tenant in
             (a) Machinery; and                                            improvements         and     betterments.
             (b) Equipment;                                                Improvements and betterments are
                                                                           fixtures, alterations, installations or
         (4) Personal property owned by you that is
              used to maintain or service the building                     additions:
              or structure or its premises, including:                    (a) Made a part of the building or
                                                                                structure you occupy but do not own;
             (a) Fire-extinguishing equipment;
                                                                                and
             (b) Outdoor furniture;
                                                                          (b) You acquired or made at your
             (c) Floor coverings; and                                           expense but cannot legally remove;
             (d) Appliances used for refrigerating,                   (7) Leased personal property for which you
                  ventilating, cooking, dishwashing or                     have a contractual responsibility to
                  laundering;                                              insure, unless otherwise provided for
         (5) If not covered by other insurance:                            under Personal Property Of Others.
             (a) Additions        under     construction,           c. Personal Property Of Others that is:
                  alterations and repairs to the building             (1) In your care, custody or control; and
                  or structure;
                                                                      (2) Located in or on the building or structure
             (b) Materials, equipment, supplies and                        described in the Declarations or in the
                  temporary structures, on or within                       open (or in a vehicle) within 100 feet of
                  100 feet of the described premises,                      the building or structure or within 100
                  used      for     making     additions,                  feet of the premises described in the
                  alterations or repairs to the building                   Declarations, whichever distance is
                  or structure.                                            greater.




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          However, our payment for loss of or                     n. Electronic data, except as provided under
          damage to personal property of others will                 the Additional Coverage, Electronic Data.
          only be for the account of the owner of the                Electronic data means information, facts or
          property.                                                  computer programs stored as or on,
   2. Property Not Covered                                           created or used on, or transmitted to or
                                                                     from computer software (including systems
      Covered Property does not include:                             and applications software), on hard or
      a. Accounts, bills, currency, food stamps or                   floppy disks, CD-ROMs, tapes, drives, cells,
           other evidences of debt, money, notes or                  data processing devices or any other
           securities. Lottery tickets held for sale are             repositories of computer software which are
           not securities;                                           used      with     electronically     controlled
                                                                     equipment. The term computer programs,
      b. Animals, unless owned by others and
           boarded by you, or if owned by you, only as               referred to in the foregoing description of
           "stock" while inside of buildings;                        electronic data, means a set of related
                                                                     electronic instructions which direct the
      c. Automobiles held for sale;                                  operations and functions of a computer or
      d. Bridges, roadways, walks, patios or other                   device connected to it, which enable the
           paved surfaces;                                           computer or device to receive, process,
                                                                     store, retrieve or send data. This
      e. Contraband, or property in the course of                    paragraph, n., does not apply to your
           illegal transportation or trade;                          "stock" of prepackaged software, or to
       f. The cost of excavations, grading, backfilling              electronic data which is integrated in and
           or filling;                                               operates or controls the building's elevator,
      g. Foundations of buildings, structures,                       lighting, heating, ventilation, air conditioning
           machinery or boilers if their foundations are             or security system ;
           below:                                                 o. The cost to replace or restore the
          (1) The lowest basement floor; or                          information on valuable papers and
                                                                     records, including those which exist as
          (2) The surface of the ground, if there is no              electronic data. Valuable papers and
               basement;                                             records include but are not limited to
      h. Land (including land on which the property                  proprietary information, books of account,
           is located), water, growing crops or lawns                deeds, manuscripts, abstracts, drawings
           (other than lawns which are part of a                     and card index systems. Refer to the
           vegetated roof);                                          Coverage Extension for Valuable Papers
       i. Personal property while airborne or                        And Records (Other Than Electronic Data)
           waterborne;                                               for limited coverage for valuable papers and
                                                                     records other than those which exist as
       j. Bulkheads, pilings, piers, wharves or docks;               electronic data;
      k. Property that is covered under another                   p. Vehicles     or self-propelled machines
           coverage form of this or any other policy in              (including aircraft or watercraft) that:
           which it is more specifically described,
           except for the excess of the amount due                  (1) Are licensed for use on public roads; or
           (whether you can collect on it or not) from              (2) Are operated principally away from the
           that other insurance;                                         described premises.
       l. Retaining walls that are not part of a                     This paragraph does not apply to:
           building;                                                    (a) Vehicles or self-propelled machines
      m. Underground pipes, flues or drains;                                 or autos you manufacture, process
                                                                             or warehouse;




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           (b) Vehicles or self-propelled machines,                     (d) Remove property of others of a type
                 other than autos, you hold for sale;                        that would not be Covered Property
           (c) Rowboats or canoes out of water at                            under this Coverage Form;
                 the described premises; or                             (e) Remove deposits of mud or earth
           (d) Trailers, but only to the extent                              from the grounds of the described
                 provided for in the Coverage                                premises;
                 Extension for Non-owned Detached                        (f) Extract "pollutants" from land or
                 Trailers; or                                                water; or
      q. The following property while outside of                        (g) Remove, restore or replace polluted
         buildings:                                                          land or water.
        (1) Grain, hay, straw or other crops;                        (3) Subject to the exceptions in Paragraph
        (2) Fences, radio or television antennas                         (4), the following provisions apply:
             (including satellite dishes) and their                     (a) The most we will pay for the total of
             lead-in wiring, masts or towers, trees,                         direct physical loss or damage plus
             shrubs or plants (other than trees,                             debris removal expense is the Limit
             shrubs or plants which are "stock" or are                       of Insurance applicable to the
             part of a vegetated roof), all except as                        Covered Property that has sustained
             provided in the Coverage Extensions.                            loss or damage.
   3. Covered Causes Of Loss                                            (b) Subject to (a) above, the amount we
      See applicable Causes Of Loss form as shown                            will pay for debris removal expense
      in the Declarations.                                                   is limited to 25% of the sum of the
                                                                             deductible plus the amount that we
   4. Additional Coverages                                                   pay for direct physical loss or
      a. Debris Removal                                                      damage to the Covered Property that
                                                                             has sustained loss or damage.
         (1) Subject to Paragraphs (2), (3) and (4),
              we will pay your expense to remove                             However, if no Covered Property has
              debris of Covered Property and other                           sustained direct physical loss or
              debris that is on the described premises,                      damage, the most we will pay for
              when such debris is caused by or                               removal of debris of other property (if
              results from a Covered Cause of Loss                           such removal is covered under this
              that occurs during the policy period. The                      Additional Coverage) is $5,000 at
              expenses will be paid only if they are                         each location.
              reported to us in writing within 180 days              (4) We will pay up to an additional $25,000
              of the date of direct physical loss or                     for debris removal expense, for each
              damage.                                                    location, in any one occurrence of
                                                                         physical loss or damage to Covered
         (2) Debris Removal does not apply to costs
              to:                                                        Property, if one or both of the following
                                                                         circumstances apply:
             (a) Remove debris of property of yours
                  that is not insured under this policy,                (a) The total of the actual debris removal
                  or property in your possession that is                     expense plus the amount we pay for
                  not Covered Property;                                      direct physical loss or damage
                                                                             exceeds the Limit of Insurance on
             (b) Remove debris of property owned by                          the Covered Property that has
                  or leased to the landlord of the                           sustained loss or damage.
                  building where your described
                  premises are located, unless you                      (b) The actual debris removal expense
                  have a contractual responsibility to                       exceeds 25% of the sum of the
                  insure such property and it is insured                     deductible plus the amount that we
                  under this policy;                                         pay for direct physical loss or
                                                                             damage to the Covered Property that
             (c) Remove any property that is                                 has sustained loss or damage.
                  Property Not Covered, including
                  property addressed under the
                  Outdoor        Property      Coverage
                  Extension;




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               Therefore, if (4)(a) and/or (4)(b) applies,    The additional amount payable for debris removal
               our total payment for direct physical loss     expense is provided in accordance with the terms of
               or damage and debris removal expense           Paragraph (4), because the debris removal expense
               may reach but will never exceed the            ($40,000) exceeds 25% of the loss payable plus the
               Limit of Insurance on the Covered              deductible ($40,000 is 50% of $80,000), and because
               Property that has sustained loss or            the sum of the loss payable and debris removal
               damage, plus $25,000.                          expense ($79,500 + $40,000 = $119,500) would
         (5) Examples                                         exceed the Limit of Insurance ($90,000). The
                                                              additional amount of covered debris removal expense
             The following examples assume that               is $25,000, the maximum payable under Paragraph
             there is no Coinsurance penalty.                 (4). Thus, the total payable for debris removal
Example 1                                                     expense in this example is $35,500; $4,500 of the
                                                              debris removal expense is not covered.
Limit of Insurance:                           $ 90,000
                                                                    b. Preservation Of Property
Amount of Deductible:                         $     500
                                                                       If it is necessary to move Covered Property
Amount of Loss:                               $ 50,000                 from the described premises to preserve it
Amount of Loss Payable:                       $ 49,500                 from loss or damage by a Covered Cause
                                       ($50,000 – $500)                of Loss, we will pay for any direct physical
Debris Removal Expense:                       $ 10,000                 loss or damage to that property:
Debris Removal Expense Payable:               $ 10,000                (1) While it is being moved or while
                                                                            temporarily stored at another location;
($10,000 is 20% of $50,000.)                                                and
The debris removal expense is less than 25% of the                    (2) Only if the loss or damage occurs within
sum of the loss payable plus the deductible. The sum                        30 days after the property is first moved.
of the loss payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less than the Limit                c. Fire Department Service Charge
of Insurance. Therefore, the full amount of debris                     When the fire department is called to save
removal expense is payable in accordance with the                      or protect Covered Property from a
terms of Paragraph (3).                                                Covered Cause of Loss, we will pay up to
                                                                       $1,000 for service at each premises
Example 2                                                              described in the Declarations, unless a
Limit of Insurance:                          $ 90,000                  higher limit is shown in the Declarations.
Amount of Deductible:                        $      500                Such limit is the most we will pay
                                                                       regardless of the number of responding fire
Amount of Loss:                              $ 80,000                  departments or fire units, and regardless of
Amount of Loss Payable:                      $ 79,500                  the number or type of services performed.
                                       ($80,000 – $500)                This Additional Coverage applies to your
Debris Removal Expense:                      $ 40,000                  liability for fire department service charges:
Debris Removal Expense Payable                                        (1) Assumed by contract or agreement prior
                      Basic Amount:        $ 10,500                        to loss; or
                      Additional Amount:   $ 25,000                   (2) Required by local ordinance.
The basic amount payable for debris removal                            No Deductible applies to this Additional
expense under the terms of Paragraph (3) is                            Coverage.
calculated as follows: $80,000 ($79,500 + $500) x .25
= $20,000, capped at $10,500. The cap applies
because the sum of the loss payable ($79,500) and
the basic amount payable for debris removal expense
($10,500) cannot exceed the Limit of Insurance
($90,000).




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      d. Pollutant Clean-up And Removal                              (5) Under this Additional Coverage, we will
         We will pay your expense to extract                             not pay for:
         "pollutants" from land or water at the                         (a) The enforcement of or compliance
         described premises if the discharge,                                with any ordinance or law which
         dispersal, seepage, migration, release or                           requires        demolition,       repair,
         escape of the "pollutants" is caused by or                          replacement,             reconstruction,
         results from a Covered Cause of Loss that                           remodeling      or    remediation     of
         occurs during the policy period. The                                property due to contamination by
         expenses will be paid only if they are                              "pollutants" or due to the presence,
         reported to us in writing within 180 days of                        growth, proliferation, spread or any
         the date on which the Covered Cause of                              activity of "fungus", wet or dry rot or
         Loss occurs.                                                        bacteria; or
         This Additional Coverage does not apply to                     (b) Any costs associated with the
         costs to test for, monitor or assess the                            enforcement of or compliance with
         existence, concentration or effects of                              an ordinance or law which requires
         "pollutants". But we will pay for testing                           any insured or others to test for,
         which is performed in the course of                                 monitor, clean up, remove, contain,
         extracting the "pollutants" from the land or                        treat, detoxify or neutralize, or in any
         water.                                                              way respond to, or assess the
         The most we will pay under this Additional                          effects of "pollutants", "fungus", wet
         Coverage for each described premises is                             or dry rot or bacteria.
         $10,000 for the sum of all covered                          (6) The most we will pay under this
         expenses arising out of Covered Causes of                       Additional Coverage, for each described
         Loss occurring during each separate 12-                         building insured under this Coverage
         month period of this policy.                                    Form, is $10,000 or 5% of the Limit of
      e. Increased Cost Of Construction                                  Insurance applicable to that building,
                                                                         whichever is less. If a damaged building
        (1) This Additional Coverage applies only to                     is covered under a blanket Limit of
             buildings to which the Replacement                          Insurance which applies to more than
             Cost Optional Coverage applies.                             one building or item of property, then the
        (2) In the event of damage by a Covered                          most we will pay under this Additional
             Cause of Loss to a building that is                         Coverage, for that damaged building, is
             Covered Property, we will pay the                           the lesser of $10,000 or 5% times the
             increased costs incurred to comply with                     value of the damaged building as of the
             the minimum standards of an ordinance                       time of loss times the applicable
             or law in the course of repair, rebuilding                  Coinsurance percentage.
             or replacement of damaged parts of that                     The amount payable under this
             property, subject to the limitations stated                 Additional Coverage is additional
             in e.(3) through e.(9) of this Additional                   insurance.
             Coverage.
                                                                     (7) With      respect to this         Additional
        (3) The ordinance or law referred to in e.(2)                    Coverage:
             of this Additional Coverage is an
             ordinance or law that regulates the                        (a) We will not pay for the Increased
             construction or repair of buildings or                          Cost of Construction:
             establishes zoning or land use                                  (i) Until the property is actually
             requirements at the described premises                              repaired or replaced at the same
             and is in force at the time of loss.                                or another premises; and
        (4) Under this Additional Coverage, we will                         (ii) Unless the repair or replacement
             not pay any costs due to an ordinance                               is made as soon as reasonably
             or law that:                                                        possible after the loss or
            (a) You were required to comply with                                 damage, not to exceed two
                 before the loss, even when the                                  years. We may extend this period
                 building was undamaged; and                                     in writing during the two years.
            (b) You failed to comply with.




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           (b) If the building is repaired or replaced               (3) The Covered Causes of Loss applicable
                at the same premises, or if you elect                    to Your Business Personal Property
                to rebuild at another premises, the                      apply to this Additional Coverage,
                most we will pay for the Increased                       Electronic Data, subject to the following:
                Cost of Construction, subject to the                    (a) If the Causes Of Loss – Special
                provisions of e.(6) of this Additional                      Form applies, coverage under this
                Coverage, is the increased cost of                          Additional     Coverage,     Electronic
                construction at the same premises.                          Data, is limited to the "specified
           (c) If the ordinance or law requires                             causes of loss" as defined in that
                relocation to another premises, the                         form and Collapse as set forth in that
                most we will pay for the Increased                          form.
                Cost of Construction, subject to the                    (b) If the Causes Of Loss – Broad Form
                provisions of e.(6) of this Additional                      applies,     coverage     under      this
                Coverage, is the increased cost of                          Additional     Coverage,     Electronic
                construction at the new premises.                           Data, includes Collapse as set forth
        (8) This Additional Coverage is not subject                         in that form.
            to the terms of the Ordinance Or Law                        (c) If the Causes Of Loss form is
            Exclusion to the extent that such                               endorsed to add a Covered Cause of
            Exclusion would conflict with the                               Loss, the additional Covered Cause
            provisions of this Additional Coverage.                         of Loss does not apply to the
        (9) The costs addressed in the Loss                                 coverage provided         under this
            Payment and Valuation Conditions and                            Additional     Coverage,     Electronic
            the     Replacement       Cost    Optional                      Data.
            Coverage, in this Coverage Form, do                         (d) The Covered Causes of Loss include
            not include the increased              cost                     a virus, harmful code or similar
            attributable to enforcement of or                               instruction introduced into or enacted
            compliance with an ordinance or law.                            on a computer system (including
            The amount payable under this                                   electronic data) or a network to
            Additional Coverage, as stated in e.(6)                         which it is connected, designed to
            of this Additional Coverage, is not                             damage or destroy any part of the
            subject to such limitation.                                     system or disrupt its normal
      f. Electronic Data                                                    operation. But there is no coverage
        (1) Under      this    Additional   Coverage,                       for loss or damage caused by or
            electronic data has the meaning                                 resulting from manipulation of a
            described under Property Not Covered,                           computer         system       (including
            Electronic      Data.    This    Additional                     electronic data) by any employee,
            Coverage does not apply to your "stock"                         including a temporary or leased
            of prepackaged software, or to                                  employee, or by an entity retained by
            electronic data which is integrated in                          you or for you to inspect, design,
            and operates or controls the building's                         install, modify, maintain, repair or
            elevator, lighting, heating, ventilation, air                   replace that system.
            conditioning or security system.
        (2) Subject to the provisions of this
            Additional Coverage, we will pay for the
            cost to replace or restore electronic data
            which has been destroyed or corrupted
            by a Covered Cause of Loss. To the
            extent that electronic data is not
            replaced or restored, the loss will be
            valued at the cost of replacement of the
            media on which the electronic data was
            stored, with blank media of substantially
            identical type.




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         (4) The most we will pay under this                        (2) Your Business Personal Property
             Additional Coverage, Electronic Data, is                  (a) If this policy covers Your Business
             $2,500 (unless a higher limit is shown in                     Personal Property, you may extend
             the Declarations) for all loss or damage                      that insurance to apply to:
             sustained in any one policy year,
             regardless of the number of occurrences                       (i) Business     personal     property,
             of loss or damage or the number of                                including such property that you
             premises,     locations    or   computer                          newly acquire, at any location
             systems involved. If loss payment on the                          you acquire other than at fairs,
             first occurrence does not exhaust this                            trade shows or exhibitions; or
             amount, then the balance is available for                    (ii) Business     personal     property,
             subsequent loss or damage sustained in                            including such property that you
             but not after that policy year. With                              newly acquire, located at your
             respect to an occurrence which begins                             newly constructed or acquired
             in one policy year and continues or                               buildings    at    the      location
             results in additional loss or damage in a                         described in the Declarations.
             subsequent policy year(s), all loss or                        The most we will pay for loss or
             damage is deemed to be sustained in                           damage under this Extension is
             the policy year in which the occurrence                       $100,000 at each building.
             began.
                                                                       (b) This Extension does not apply to:
   5. Coverage Extensions
                                                                           (i) Personal property of others that
      Except as otherwise provided, the following                              is temporarily in your possession
      Extensions apply to property located in or on                            in the course of installing or
      the building described in the Declarations or in                         performing     work     on     such
      the open (or in a vehicle) within 100 feet of the                        property; or
      described premises.
                                                                          (ii) Personal property of others that
      If a Coinsurance percentage of 80% or more,                              is temporarily in your possession
      or a Value Reporting period symbol, is shown                             in      the  course      of    your
      in the Declarations, you may extend the                                  manufacturing or wholesaling
      insurance provided by this Coverage Part as                              activities.
      follows:
                                                                    (3) Period Of Coverage
      a. Newly Acquired Or Constructed
         Property                                                       With respect to insurance provided
                                                                        under this Coverage Extension for
        (1) Buildings                                                   Newly      Acquired     Or     Constructed
            If this policy covers Building, you may                     Property, coverage will end when any of
            extend that insurance to apply to:                          the following first occurs:
           (a) Your new buildings while being built                    (a) This policy expires;
                on the described premises; and
                                                                       (b) 30 days expire after you acquire the
           (b) Buildings you acquire at locations,                          property or begin construction of that
                other than the described premises,                          part of the building that would qualify
                intended for:                                               as covered property; or
                (i) Similar use as the building                        (c) You report values to us.
                    described in the Declarations; or                   We will charge you additional premium
               (ii) Use as a warehouse.                                 for values reported from the date you
            The most we will pay for loss or damage                     acquire     the     property    or   begin
            under this Extension is $250,000 at                         construction of that part of the building
            each building.                                              that would qualify as covered property.




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      b. Personal Effects And Property Of Others                d. Property Off-premises
         You may extend the insurance that applies                (1) You may extend the insurance provided
         to Your Business Personal Property to                         by this Coverage Form to apply to your
         apply to:                                                     Covered Property while it is away from
        (1) Personal effects owned by you, your                        the described premises, if it is:
             officers, your partners or members, your                 (a) Temporarily at a location you do not
             managers or your employees. This                             own, lease or operate;
             Extension does not apply to loss or                      (b) In storage at a location you lease,
             damage by theft.                                             provided the lease was executed
        (2) Personal property of others in your care,                     after the beginning of the current
             custody or control.                                          policy term; or
         The most we will pay for loss or damage                      (c) At any fair, trade show or exhibition.
         under this Extension is $2,500 at each                   (2) This Extension does not apply to
         described premises. Our payment for loss                      property:
         of or damage to personal property of others
         will only be for the account of the owner of                 (a) In or on a vehicle; or
         the property.                                                (b) In the care, custody or control of
      c. Valuable Papers And Records (Other                               your salespersons, unless the
         Than Electronic Data)                                            property is in such care, custody or
                                                                          control at a fair, trade show or
        (1) You may extend the insurance that                             exhibition.
            applies to Your Business Personal
            Property to apply to the cost to replace              (3) The most we will pay for loss or damage
            or restore the lost information on                         under this Extension is $10,000.
            valuable papers and records for which               e. Outdoor Property
            duplicates do not exist. But this                      You may extend the insurance provided by
            Extension does not apply to valuable                   this Coverage Form to apply to your
            papers and records which exist as                      outdoor fences, radio and television
            electronic data. Electronic data has the               antennas (including satellite dishes), trees,
            meaning described under Property Not                   shrubs and plants (other than trees, shrubs
            Covered, Electronic Data.                              or plants which are "stock" or are part of a
        (2) If the Causes Of Loss – Special Form                   vegetated roof), including debris removal
            applies, coverage under this Extension                 expense, caused by or resulting from any of
            is limited to the "specified causes of                 the following causes of loss if they are
            loss" as defined in that form and                      Covered Causes of Loss:
            Collapse as set forth in that form.
                                                                  (1) Fire;
        (3) If the Causes Of Loss – Broad Form                    (2) Lightning;
            applies, coverage under this Extension
            includes Collapse as set forth in that                (3) Explosion;
            form.                                                 (4) Riot or Civil Commotion; or
        (4) Under this Extension, the most we will                (5) Aircraft.
            pay to replace or restore the lost
            information is $2,500 at each described                The most we will pay for loss or damage
            premises, unless a higher limit is shown               under this Extension is $1,000, but not
            in the Declarations. Such amount is                    more than $250 for any one tree, shrub or
            additional insurance. We will also pay                 plant. These limits apply to any one
            for the cost of blank material for                     occurrence, regardless of the types or
            reproducing the records (whether or not                number of items lost or damaged in that
            duplicates exist) and (when there is a                 occurrence.
            duplicate) for the cost of labor to
            transcribe or copy the records. The
            costs of blank material and labor are
            subject to the applicable Limit of
            Insurance on Your Business Personal
            Property and, therefore, coverage of
            such costs is not additional insurance.




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         Subject to all aforementioned terms and                    (2) If the applicable Covered Causes of
         limitations of coverage, this Coverage                          Loss form or endorsement contains a
         Extension includes the expense of                               limitation or exclusion concerning loss or
         removing from the described premises the                        damage from sand, dust, sleet, snow,
         debris of trees, shrubs and plants which are                    ice or rain to property in a structure,
         the property of others, except in the                           such limitation or exclusion also applies
         situation in which you are a tenant and such                    to property in a portable storage unit.
         property is owned by the landlord of the                   (3) Coverage under this Extension:
         described premises.
                                                                        (a) Will end 90 days after the business
      f. Non-owned Detached Trailers                                         personal property has been placed in
        (1) You may extend the insurance that                                the storage unit;
            applies to Your Business Personal                          (b) Does not apply if the storage unit
            Property to apply to loss or damage to                           itself has been in use at the
            trailers that you do not own, provided                           described premises for more than 90
            that:                                                            consecutive days, even if the
           (a) The trailer is used in your business;                         business personal property has been
           (b) The trailer is in your care, custody or                       stored there for 90 or fewer days as
                 control at the premises described in                        of the time of loss or damage.
                 the Declarations; and                              (4) Under this Extension, the most we will
           (c) You have a contractual responsibility                     pay for the total of all loss or damage to
                 to pay for loss or damage to the                        business personal property is $10,000
                 trailer.                                                (unless a higher limit is indicated in the
                                                                         Declarations for such Extension)
        (2) We will not pay for any loss or damage                       regardless of the number of storage
            that occurs:                                                 units. Such limit is part of, not in addition
           (a) While the trailer is attached to any                      to, the applicable Limit of Insurance on
                 motor     vehicle    or     motorized                   Your Business Personal Property.
                 conveyance, whether or not the                          Therefore,      payment        under     this
                 motor     vehicle    or     motorized                   Extension will not increase the
                 conveyance is in motion;                                applicable Limit of Insurance on Your
                                                                         Business Personal Property.
           (b) During       hitching   or   unhitching
                 operations, or when a trailer                      (5) This Extension does not apply to loss or
                 becomes accidentally unhitched from                     damage otherwise covered under this
                 a motor vehicle or motorized                            Coverage Form or any endorsement to
                 conveyance.                                             this Coverage Form or policy, and does
                                                                         not apply to loss or damage to the
        (3) The most we will pay for loss or damage
            under this Extension is $5,000, unless a                     storage unit itself.
            higher limit is shown in the Declarations.           Each of these Extensions is additional
                                                                 insurance unless otherwise indicated. The
        (4) This insurance is excess over the
            amount due (whether you can collect on               Additional Condition, Coinsurance, does not
            it or not) from any other insurance                  apply to these Extensions.
            covering such property.                        B. Exclusions And Limitations
      g. Business Personal Property Temporarily               See applicable Causes Of Loss form as shown in
         In Portable Storage Units                            the Declarations.
        (1) You may extend the insurance that              C. Limits Of Insurance
            applies to Your Business Personal                 The most we will pay for loss or damage in any
            Property to apply to such property while          one occurrence is the applicable Limit Of
            temporarily stored in a portable storage          Insurance shown in the Declarations.
            unit (including a detached trailer)
            located within 100 feet of the building or        The most we will pay for loss or damage to
            structure described in the Declarations           outdoor signs, whether or not the sign is attached
            or within 100 feet of the premises                to a building, is $2,500 per sign in any one
            described in the Declarations, whichever          occurrence.
            distance is greater.




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   The amounts of insurance stated in the following           Total amount of loss payable:
   Additional Coverages apply in accordance with the          $59,850 + $80,000 = $139,850
   terms of such coverages and are separate from
   the Limit(s) Of Insurance shown in the                     Example 2
   Declarations for any other coverage:                       (This example, too, assumes there is no Coinsurance
   1. Fire Department Service Charge;                         penalty.)
   2. Pollutant Clean-up And Removal;                         The Deductible and Limits of Insurance are the same
                                                              as those in Example 1.
   3. Increased Cost Of Construction; and
   4. Electronic Data.                                        Loss to Building 1:                        $ 70,000
   Payments under the Preservation Of Property                  (Exceeds Limit of Insurance plus Deductible)
   Additional Coverage will not increase the                  Loss to Building 2:                        $ 90,000
   applicable Limit of Insurance.                               (Exceeds Limit of Insurance plus Deductible)
D. Deductible                                                 Loss Payable – Building 1:                 $ 60,000
   In any one occurrence of loss or damage                      (Limit of Insurance)
   (hereinafter referred to as loss), we will first reduce    Loss Payable – Building 2:                 $ 80,000
   the amount of loss if required by the Coinsurance
   Condition or the Agreed Value Optional Coverage.             (Limit of Insurance)
   If the adjusted amount of loss is less than or equal       Total amount of loss payable:              $ 140,000
   to the Deductible, we will not pay for that loss. If
                                                              E. Loss Conditions
   the adjusted amount of loss exceeds the
   Deductible, we will then subtract the Deductible              The following conditions apply in addition to the
   from the adjusted amount of loss and will pay the             Common Policy Conditions and the Commercial
   resulting amount or the Limit of Insurance,                   Property Conditions:
   whichever is less.                                            1. Abandonment
   When the occurrence involves loss to more than                   There can be no abandonment of any property
   one item of Covered Property and separate Limits                 to us.
   of Insurance apply, the losses will not be
   combined in determining application of the                    2. Appraisal
   Deductible. But the Deductible will be applied only              If we and you disagree on the value of the
   once per occurrence.                                             property or the amount of loss, either may
                                                                    make written demand for an appraisal of the
Example 1                                                           loss. In this event, each party will select a
(This example assumes there is no Coinsurance                       competent and impartial appraiser. The two
penalty.)                                                           appraisers will select an umpire. If they cannot
                                                                    agree, either may request that selection be
Deductible:                                   $      250            made by a judge of a court having jurisdiction.
Limit of Insurance – Building 1:              $   60,000            The appraisers will state separately the value
Limit of Insurance – Building 2:              $   80,000            of the property and amount of loss. If they fail
                                                                    to agree, they will submit their differences to
Loss to Building 1:                           $   60,100            the umpire. A decision agreed to by any two
Loss to Building 2:                           $   90,000            will be binding. Each party will:
The amount of loss to Building 1 ($60,100) is less                  a. Pay its chosen appraiser; and
than the sum ($60,250) of the Limit of Insurance                    b. Bear the other expenses of the appraisal
applicable to Building 1 plus the Deductible.                            and umpire equally.
The Deductible will be subtracted from the amount of                If there is an appraisal, we will still retain our
loss in calculating the loss payable for Building 1:                right to deny the claim.
    $ 60,100                                                     3. Duties In The Event Of Loss Or Damage
    –     250                                                       a. You must see that the following are done in
    $ 59,850 Loss Payable – Building 1                                 the event of loss or damage to Covered
                                                                       Property:
The Deductible applies once per occurrence and
therefore is not subtracted in determining the amount                 (1) Notify the police if a law may have been
of loss payable for Building 2. Loss payable for                          broken.
Building 2 is the Limit of Insurance of $80,000.




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        (2) Give us prompt notice of the loss or             4. Loss Payment
             damage. Include a description of the               a. In the event of loss or damage covered by
             property involved.                                    this Coverage Form, at our option, we will
        (3) As soon as possible, give us a                         either:
             description of how, when and where the               (1) Pay the value of lost or damaged
             loss or damage occurred.                                  property;
        (4) Take all reasonable steps to protect the              (2) Pay the cost of repairing or replacing the
             Covered Property from further damage,                     lost or damaged property, subject to b.
             and keep a record of your expenses                        below;
             necessary to protect the Covered
             Property, for consideration in the                   (3) Take all or any part of the property at an
             settlement of the claim. This will not                    agreed or appraised value; or
             increase the Limit of Insurance.                     (4) Repair, rebuild or replace the property
             However, we will not pay for any                          with other property of like kind and
             subsequent loss or damage resulting                       quality, subject to b. below.
             from a cause of loss that is not a                    We will determine the value of lost or
             Covered Cause of Loss. Also, if                       damaged property, or the cost of its repair
             feasible, set the damaged property                    or replacement, in accordance with the
             aside and in the best possible order for              applicable terms of the Valuation Condition
             examination.                                          in this Coverage Form or any applicable
        (5) At our request, give us complete                       provision which amends or supersedes the
             inventories of the damaged and                        Valuation Condition.
             undamaged property. Include quantities,
                                                                b. The cost to repair, rebuild or replace does
             costs, values and amount of loss                      not include the increased cost attributable
             claimed.                                              to enforcement of or compliance with any
        (6) As often as may be reasonably required,                ordinance       or     law    regulating  the
             permit us to inspect the property proving             construction, use or repair of any property.
             the loss or damage and examine your
                                                                c. We will give notice of our intentions within
             books and records.                                    30 days after we receive the sworn proof of
             Also, permit us to take samples of                    loss.
             damaged and undamaged property for
                                                                d. We will not pay you more than your
             inspection, testing and analysis, and                 financial interest in the Covered Property.
             permit us to make copies from your
             books and records.                                 e. We may adjust losses with the owners of
                                                                   lost or damaged property if other than you.
        (7) Send us a signed, sworn proof of loss                  If we pay the owners, such payments will
             containing the information we request to              satisfy your claims against us for the
             investigate the claim. You must do this               owners' property. We will not pay the
             within 60 days after our request. We will             owners more than their financial interest in
             supply you with the necessary forms.                  the Covered Property.
        (8) Cooperate with us in the investigation or           f. We may elect to defend you against suits
             settlement of the claim.                              arising from claims of owners of property.
      b. We may examine any insured under oath,                    We will do this at our expense.
         while not in the presence of any other
                                                                g. We will pay for covered loss or damage
         insured and at such times as may be                       within 30 days after we receive the sworn
         reasonably required, about any matter                     proof of loss, if you have complied with all
         relating to this insurance or the claim,                  of the terms of this Coverage Part, and:
         including an insured's books and records. In
         the event of an examination, an insured's                (1) We have reached agreement with you
         answers must be signed.                                       on the amount of loss; or
                                                                  (2) An appraisal award has been made.




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      h. A party wall is a wall that separates and is                   (b) When this policy is issued to the
         common to adjoining buildings that are                              owner or general lessee of a
         owned by different parties. In settling                             building, building means the entire
         covered losses involving a party wall, we                           building. Such building is vacant
         will pay a proportion of the loss to the party                      unless at least 31% of its total
         wall based on your interest in the wall in                          square footage is:
         proportion to the interest of the owner of the                      (i) Rented to a lessee or sublessee
         adjoining building. However, if you elect to                            and used by the lessee or
         repair or replace your building and the                                 sublessee     to     conduct    its
         owner of the adjoining building elects not to                           customary operations; and/or
         repair or replace that building, we will pay
         you the full value of the loss to the party                        (ii) Used by the building owner to
         wall, subject to all applicable policy                                  conduct customary operations.
         provisions including Limits of Insurance, the             (2) Buildings       under     construction     or
         Valuation and Coinsurance Conditions and                        renovation are not considered vacant.
         all other provisions of this Loss Payment
                                                                 b. Vacancy Provisions
         Condition. Our payment under the
         provisions of this paragraph does not alter                If the building where loss or damage occurs
         any right of subrogation we may have                       has been vacant for more than 60
         against any entity, including the owner or                 consecutive days before that loss or
         insurer of the adjoining building, and does                damage occurs:
         not alter the terms of the Transfer Of Rights             (1) We will not pay for any loss or damage
         Of Recovery Against Others To Us                                caused by any of the following, even if
         Condition in this policy.                                       they are Covered Causes of Loss:
   5. Recovered Property                                                (a) Vandalism;
      If either you or we recover any property after                    (b) Sprinkler leakage, unless you have
      loss settlement, that party must give the other                        protected    the     system    against
      prompt notice. At your option, the property will                       freezing;
      be returned to you. You must then return to us
      the amount we paid to you for the property. We                    (c) Building glass breakage;
      will pay recovery expenses and the expenses                       (d) Water damage;
      to repair the recovered property, subject to the                  (e) Theft; or
      Limit of Insurance.
                                                                         (f) Attempted theft.
   6. Vacancy
                                                                   (2) With respect to Covered Causes of Loss
      a. Description Of Terms                                            other than those listed in b.(1)(a)
        (1) As used in this Vacancy Condition, the                       through b.(1)(f) above, we will reduce
            term building and the term vacant have                       the amount we would otherwise pay for
            the meanings set forth in (1)(a) and                         the loss or damage by 15%.
            (1)(b) below:                                     7. Valuation
           (a) When this policy is issued to a                   We will determine the value of Covered
                tenant, and with respect to that                 Property in the event of loss or damage as
                tenant's interest in Covered Property,           follows:
                building means the unit or suite
                rented or leased to the tenant. Such             a. At actual cash value as of the time of loss
                building is vacant when it does not                  or damage, except as provided in b., c., d.
                contain enough business personal                     and e. below.
                property to conduct customary                    b. If the Limit of Insurance for Building
                operations.                                          satisfies    the     Additional  Condition,
                                                                     Coinsurance, and the cost to repair or
                                                                     replace the damaged building property is
                                                                     $2,500 or less, we will pay the cost of
                                                                     building repairs or replacement.




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         The cost of building repairs or replacement                 Instead, we will determine the most we will
         does not include the increased cost                         pay using the following steps:
         attributable     to    enforcement    of    or             (1) Multiply the value of Covered Property
         compliance with any ordinance or law                            at the time of loss by the Coinsurance
         regulating the construction, use or repair of                   percentage;
         any property.
                                                                    (2) Divide the Limit of Insurance of the
         However, the following property will be                         property by the figure determined in
         valued at the actual cash value, even when                      Step (1);
         attached to the building:
                                                                    (3) Multiply the total amount of loss, before
        (1) Awnings or floor coverings;                                  the application of any deductible, by the
        (2) Appliances for refrigerating, ventilating,                   figure determined in Step (2); and
             cooking, dishwashing or laundering; or                 (4) Subtract the deductible from the figure
        (3) Outdoor equipment or furniture.                              determined in Step (3).
      c. "Stock" you have sold but not delivered at                  We will pay the amount determined in Step
         the selling price less discounts and                        (4) or the Limit of Insurance, whichever is
         expenses you otherwise would have had.                      less. For the remainder, you will either have
      d. Glass at the cost of replacement with                       to rely on other insurance or absorb the
         safety-glazing material if required by law.                 loss yourself.
      e. Tenants' Improvements and Betterments at:         Example 1 (Underinsurance)
        (1) Actual cash value of the lost or               When:     The value of the property is:       $ 250,000
             damaged property if you make repairs                    The Coinsurance percentage
             promptly.                                               for it is:                               80%
        (2) A proportion of your original cost if you                The Limit of Insurance for it is:   $ 100,000
             do not make repairs promptly. We will
             determine the proportionate value as                    The Deductible is:                  $     250
             follows:                                                The amount of loss is:              $ 40,000
            (a) Multiply the original cost by the          Step (1): $250,000 x 80% = $200,000
                 number of days from the loss or                     (the minimum amount of insurance to
                 damage to the expiration of the                     meet your Coinsurance requirements)
                 lease; and
                                                           Step (2): $100,000 ¸ $200,000 = .50
            (b) Divide the amount determined in (a)        Step (3): $40,000 x .50 = $20,000
                 above by the number of days from
                 the installation of improvements to       Step (4): $20,000 – $250 = $19,750
                 the expiration of the lease.              We will pay no more than $19,750. The remaining
             If your lease contains a renewal option,      $20,250 is not covered.
             the expiration of the renewal option          Example 2 (Adequate Insurance)
             period will replace the expiration of the
             lease in this procedure.                      When:     The value of the property is:       $ 250,000
        (3) Nothing if others pay for repairs or                     The Coinsurance percentage
             replacement.                                            for it is:                               80%
F. Additional Conditions                                             The Limit of Insurance for it is:   $ 200,000
   The following conditions apply in addition to the                 The Deductible is:                  $     250
   Common Policy Conditions and the Commercial                       The amount of loss is:              $ 40,000
   Property Conditions:                                    The minimum amount of insurance to meet your
   1. Coinsurance                                          Coinsurance requirement is $200,000 ($250,000 x
      If a Coinsurance percentage is shown in the          80%). Therefore, the Limit of Insurance in this
      Declarations, the following condition applies:       example is adequate, and no penalty applies. We will
                                                           pay no more than $39,750 ($40,000 amount of loss
      a. We will not pay the full amount of any loss if    minus the deductible of $250).
          the value of Covered Property at the time of
          loss times the Coinsurance percentage
          shown for it in the Declarations is greater
          than the Limit of Insurance for the property.




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        b. If one Limit of Insurance applies to two or                (2) Submits a signed, sworn proof of loss
           more separate items, this condition will                        within 60 days after receiving notice
           apply to the total of all property to which the                 from us of your failure to do so; and
           limit applies.                                             (3) Has notified us of any change in
Example 3                                                                  ownership, occupancy or substantial
                                                                           change in risk known to the
When:      The value of the property is:                                   mortgageholder.
           Building at Location 1:             $ 75,000                All of the terms of this Coverage Part will
           Building at Location 2:             $ 100,000               then apply directly to the mortgageholder.
           Personal Property                                        e. If we pay the mortgageholder for any loss
           at Location 2:                      $ 75,000                or damage and deny payment to you
                                               $ 250,000               because of your acts or because you have
                                                                       failed to comply with the terms of this
           The Coinsurance percentage
                                                                       Coverage Part:
           for it is:                                90%
           The Limit of Insurance for                                 (1) The mortgageholder's rights under the
           Buildings and Personal Property                                 mortgage will be transferred to us to the
           at Locations 1 and 2 is:            $ 180,000                   extent of the amount we pay; and
           The Deductible is:                  $ 1,000                (2) The mortgageholder's right to recover
                                                                           the full amount of the mortgageholder's
           The amount of loss is:                                          claim will not be impaired.
           Building at Location 2:             $ 30,000
                                                                       At our option, we may pay to the
           Personal Property                                           mortgageholder the whole principal on the
           at Location 2:                      $ 20,000                mortgage plus any accrued interest. In this
                                               $ 50,000                event, your mortgage and note will be
Step (1): $250,000 x 90% = $225,000                                    transferred to us and you will pay your
                                                                       remaining mortgage debt to us.
          (the minimum amount of insurance to
          meet your Coinsurance requirements                        f. If we cancel this policy, we will give written
          and to avoid the penalty shown below)                        notice to the mortgageholder at least:
Step (2): $180,000 ¸ $225,000 = .80                                   (1) 10 days before the effective date of
                                                                           cancellation if we cancel for your
Step (3): $50,000 x .80 = $40,000
                                                                           nonpayment of premium; or
Step (4): $40,000 – $1,000 = $39,000
                                                                      (2) 30 days before the effective date of
We will pay no more than $39,000. The remaining                            cancellation if we cancel for any other
$11,000 is not covered.                                                    reason.
   2. Mortgageholders                                               g. If we elect not to renew this policy, we will
      a. The term mortgageholder includes trustee.                     give written notice to the mortgageholder at
                                                                       least 10 days before the expiration date of
      b. We will pay for covered loss of or damage                     this policy.
         to buildings or structures to each
         mortgageholder shown in the Declarations             G. Optional Coverages
         in their order of precedence, as interests              If shown as applicable in the Declarations, the
         may appear.                                             following Optional Coverages apply separately to
      c. The mortgageholder has the right to receive             each item:
         loss payment even if the mortgageholder                 1. Agreed Value
         has started foreclosure or similar action on               a. The Additional Condition, Coinsurance,
         the building or structure.                                    does not apply to Covered Property to
      d. If we deny your claim because of your acts                    which this Optional Coverage applies. We
         or because you have failed to comply with                     will pay no more for loss of or damage to
         the terms of this Coverage Part, the                          that property than the proportion that the
         mortgageholder will still have the right to                   Limit of Insurance under this Coverage Part
         receive loss payment if the mortgageholder:                   for the property bears to the Agreed Value
        (1) Pays any premium due under this                            shown for it in the Declarations.
             Coverage Part at our request if you
             have failed to do so;




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          b. If the expiration date for this Optional                    (4) "Stock", unless the Including "Stock"
             Coverage shown in the Declarations is not                         option is shown in the Declarations.
             extended,     the    Additional   Condition,                 Under the terms of this Replacement Cost
             Coinsurance, is reinstated and this Optional                 Optional Coverage, tenants' improvements
             Coverage expires.                                            and betterments are not considered to be
          c. The terms of this Optional Coverage apply                    the personal property of others.
             only to loss or damage that occurs:                       c. You may make a claim for loss or damage
            (1) On or after the effective date of this                    covered by this insurance on an actual cash
                Optional Coverage; and                                    value basis instead of on a replacement
            (2) Before the Agreed Value expiration date                   cost basis. In the event you elect to have
                shown in the Declarations or the policy                   loss or damage settled on an actual cash
                expiration date, whichever occurs first.                  value basis, you may still make a claim for
                                                                          the additional coverage this Optional
       2. Inflation Guard                                                 Coverage provides if you notify us of your
          a. The Limit of Insurance for property to which                 intent to do so within 180 days after the loss
              this Optional Coverage applies will                         or damage.
              automatically increase by the annual                     d. We will not pay on a replacement cost basis
              percentage shown in the Declarations.                       for any loss or damage:
          b. The amount of increase will be:                             (1) Until the lost or damaged property is
             (1) The Limit of Insurance that applied on                        actually repaired or replaced; and
                  the most recent of the policy inception                (2) Unless the repair or replacement is
                  date, the policy anniversary date, or any                    made as soon as reasonably possible
                  other policy change amending the Limit                       after the loss or damage.
                  of Insurance, times
                                                                          With respect to tenants' improvements and
             (2) The percentage of annual increase                        betterments, the following also apply:
                  shown in the Declarations, expressed as
                  a decimal (example: 8% is .08), times                  (3) If the conditions in d.(1) and d.(2) above
                                                                               are not met, the value of tenants'
             (3) The number of days since the beginning                        improvements and betterments will be
                  of the current policy year or the effective                  determined as a proportion of your
                  date of the most recent policy change                        original cost, as set forth in the
                  amending the Limit of Insurance, divided                     Valuation Loss Condition of this
                  by 365.                                                      Coverage Form; and
Example                                                                  (4) We will not pay for loss or damage to
If:      The applicable Limit of Insurance is:    $ 100,000                    tenants' improvements and betterments
                                                                               if others pay for repairs or replacement.
         The annual percentage increase is:             8%
                                                                       e. We will not pay more for loss or damage on
         The number of days since the                                     a replacement cost basis than the least of
         beginning of the policy year
                                                                          (1), (2) or (3), subject to f. below:
         (or last policy change) is:                    146
         The amount of increase is:                                      (1) The Limit of Insurance applicable to the
         $100,000 x .08 x 146 ¸ 365 =                                          lost or damaged property;
                                                  $   3,200
                                                                         (2) The cost to replace the lost or damaged
       3. Replacement Cost                                                     property with other property:
          a. Replacement Cost (without deduction for                          (a) Of comparable material and quality;
             depreciation) replaces Actual Cash Value in                            and
             the Valuation Loss Condition of this
                                                                             (b) Used for the same purpose; or
             Coverage Form.
                                                                         (3) The amount actually spent that is
          b. This Optional Coverage does not apply to:
                                                                               necessary to repair or replace the lost or
            (1) Personal property of others;                                   damaged property.
            (2) Contents of a residence;                                  If a building is rebuilt at a new premises, the
            (3) Works of art, antiques or rare articles,                  cost described in e.(2) above is limited to
                including etchings, pictures, statuary,                   the cost which would have been incurred if
                marbles, bronzes, porcelains and bric-a-                  the building had been rebuilt at the original
                brac; or                                                  premises.




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      f. The cost of repair or replacement does not        H. Definitions
         include the increased cost attributable to           1. "Fungus" means any type or form of fungus,
         enforcement of or compliance with any                   including mold or mildew, and any mycotoxins,
         ordinance      or    law     regulating   the           spores, scents or by-products produced or
         construction, use or repair of any property.            released by fungi.
   4. Extension Of Replacement Cost To                        2. "Pollutants" means any solid, liquid, gaseous or
      Personal Property Of Others                                thermal irritant or contaminant, including
      a. If the Replacement Cost Optional Coverage               smoke, vapor, soot, fumes, acids, alkalis,
         is shown as applicable in the Declarations,             chemicals and waste. Waste includes materials
         then this Extension may also be shown as                to be recycled, reconditioned or reclaimed.
         applicable. If the Declarations show this            3. "Stock" means merchandise held in storage or
         Extension as applicable, then Paragraph                 for sale, raw materials and in-process or
         3.b.(1) of the Replacement Cost Optional                finished goods, including supplies used in their
         Coverage is deleted and all other provisions            packing or shipping.
         of the Replacement Cost Optional
         Coverage apply to replacement cost on
         personal property of others.
      b. With respect to replacement cost on the
         personal property of others, the following
         limitation applies:
         If an item(s) of personal property of others
         is subject to a written contract which
         governs your liability for loss or damage to
         that item(s), then valuation of that item(s)
         will be based on the amount for which you
         are liable under such contract, but not to
         exceed the lesser of the replacement cost
         of the property or the applicable Limit of
         Insurance.




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                                                                                        COMMERCIAL PROPERTY




                        COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTATION OR                          F. NO BENEFIT TO BAILEE
   FRAUD                                                         No person or organization, other than you, having
    This Coverage Part is void in any case of fraud by           custody of Covered Property will benefit from this
    you as it relates to this Coverage Part at any time. It      insurance.
    is also void if you or any other insured, at any time,    G. OTHER INSURANCE
    intentionally conceal or misrepresent a material
    fact concerning:                                             1.   You may have other insurance subject to the
                                                                      same plan, terms, conditions and provisions as
    1.   This Coverage Part;                                          the insurance under this Coverage Part. If you
    2.   The Covered Property;                                        do, we will pay our share of the covered loss or
    3.   Your interest in the Covered Property; or                    damage. Our share is the proportion that the
                                                                      applicable Limit of Insurance under this
    4.   A claim under this Coverage Part.                            Coverage Part bears to the Limits of Insurance
B. CONTROL OF PROPERTY                                                of all insurance covering on the same basis.
    Any act or neglect of any person other than you              2.   If there is other insurance covering the same
    beyond your direction or control will not affect this             loss or damage, other than that described in 1.
    insurance.                                                        above, we will pay only for the amount of co-
    The breach of any condition of this Coverage Part                 vered loss or damage in excess of the amount
    at any one or more locations will not affect                      due from that other insurance, whether you
    coverage at any location where, at the time of loss               can collect on it or not. But we will not pay
    or damage, the breach of condition does not exist.                more than the applicable Limit of Insurance.
C. INSURANCE UNDER TWO OR MORE                                H. POLICY PERIOD, COVERAGE TERRITORY
   COVERAGES                                                     Under this Coverage Part:
    If two or more of this policy's coverages apply to           1.   We cover loss or damage commencing:
    the same loss or damage, we will not pay more                     a.   During the policy period shown in the De-
    than the actual amount of the loss or damage.                          clarations; and
D. LEGAL ACTION AGAINST US                                            b. Within the coverage territory.
    No one may bring a legal action against us under             2.   The coverage territory is:
    this Coverage Part unless:
                                                                      a.   The United States of America (including its
    1.   There has been full compliance with all of the                    territories and possessions);
         terms of this Coverage Part; and
                                                                      b. Puerto Rico; and
    2.   The action is brought within 2 years after the
         date on which the direct physical loss or                    c.   Canada.
         damage occurred.
E. LIBERALIZATION
    If we adopt any revision that would broaden the
    coverage under this Coverage Part without
    additional premium within 45 days prior to or
    during the policy period, the broadened coverage
    will immediately apply to this Coverage Part.




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I.    TRANSFER OF RIGHTS OF RECOVERY                         1.   Prior to a loss to your Covered Property or
      AGAINST OTHERS TO US                                        Covered Income.
      If any person or organization to or for whom we        2.   After a loss to your Covered Property or Covered
      make payment under this Coverage Part has rights            Income only if, at time of loss, that party is one of
      to recover damages from another, those rights are           the following:
      transferred to us to the extent of our payment. That        a.   Someone insured by this insurance;
      person or organization must do everything
      necessary to secure our rights and must do                  b. A business firm:
      nothing after loss to impair them. But you may                   (1) Owned or controlled by you; or
      waive your rights against another party in writing:              (2) That owns or controls you; or
                                                                  c.   Your tenant.
                                                             This will not restrict your insurance.




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                                                                                      COMMERCIAL PROPERTY
                                                                                               CP 01 25 05 22

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     FLORIDA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART


A. When this endorsement is attached to Standard                   When loss or damage to exterior paint or
   Property Policy CP 00 99, the term Coverage Part in             waterproofing material is excluded, we will not
   this endorsement is replaced by the term Policy.                include the value of paint or waterproofing
B. The following provision applies when a Coinsurance              material to determine:
   percentage is shown in the Declarations:                            a. The amount of the Windstorm or Hail
   Florida law states as follows:                                          Deductible; or
   Coinsurance contract: The rate charged in this policy               b. The value of Covered Property when
   is based upon the use of the coinsurance clause                         applying the Coinsurance Condition.
   attached to this policy, with the consent of the             D. The Loss Payment Condition dealing with the
   Insured.                                                        number of days within which we must pay for
C. The following is added:                                         covered loss or damage is replaced by the
                                                                   following:
   If windstorm is a Covered Cause of Loss and loss or
   damage to Covered Property is caused by or results              Provided you have complied with all the terms
   from windstorm, the following exclusion applies in:             of this Coverage Part, we will pay for covered
                                                                   loss or damage upon the earliest of the
   1. Broward County;                                              following:
   2. Dade County;                                                        (1) Within 20 days after we receive the
   3. Martin County;                                                           sworn proof of loss and reach written
   4. Monroe County;                                                           agreement with you;
   5. Palm Beach County; and                                              (2) Within 30 days after we receive the
                                                                               sworn proof of loss and:
   6. All the areas east of the west bank of the
       Intracoastal Waterway in the counties of:                              (a) There is an entry of a final
                                                                                   judgment; or
       a. Indian River; and
                                                                             (b) There is a filing of an appraisal
       b. St. Lucie.                                                               award with us; or
   Windstorm Exterior Paint And Waterproofing                             (3) Within 90 days of receiving notice of
   Exclusion                                                                   an initial, reopened or supplemental
   We will not pay for loss or damage caused by                                claim, unless we deny the claim
   windstorm to:                                                               during that time or factors beyond our
                                                                               control reasonably prevent such
   1. Paint; or                                                                payment. If a portion of the claim is
   2. Waterproofing material;                                                  denied, then the 90-day time period
   applied to the exterior of buildings unless the                             for payment of claim relates to the
   building to which such loss or damage occurs also                           portion of the claim that is not denied.
   sustains other loss or damage by windstorm in the                           Paragraph (3) applies only to the
   course of the same storm event. But such coverage                           following:
   applies only if windstorm is a Covered Cause of                            (a) A claim under a policy covering
   Loss.                                                                           residential property;
                                                                             (b) A claim for building or contents
                                                                                   coverage if the insured structure
                                                                                   is 10,000 square feet or less and
                                                                                   the policy covers only locations in
                                                                                   Florida; or


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              (c) A claim for contents coverage under              Catastrophic Ground Cover Collapse
                  a tenant's policy if the rented                  We will pay for direct physical loss or damage to
                  premises are 10,000 square feet or               Covered Property caused by or resulting from
                  less and the policy covers only                  catastrophic ground cover collapse, meaning
                  locations in Florida.                            geological activity that results in all of the
E. Sinkhole Collapse Coverage Removed                              following:
   Sinkhole Collapse coverage is removed, as                       1. The abrupt collapse of the ground cover;
   indicated in Paragraphs E.1. through E.4.; and                  2. A depression in the ground cover clearly
   coverage for Catastrophic Ground Cover Collapse                     visible to the naked eye;
   is added instead as set forth in Paragraph F.
                                                                   3. "Structural damage" to the building, including
   1. In the Causes Of Loss – Basic Form and in the                    the foundation; and
       Standard Property Policy, Sinkhole Collapse is
       deleted from the Covered Causes of Loss and                 4. The insured structure being condemned and
       sinkhole collapse is no longer an exception to                  ordered to be vacated by the governmental
       the Earth Movement Exclusion.                                   agency authorized by law to issue such an
                                                                       order for that structure.
   2. In the Causes Of Loss – Broad Form, Sinkhole
       Collapse is deleted from the Covered Causes of              However, damage consisting merely of the
       Loss and from the Additional Coverage –                     settling or cracking of a foundation, structure or
       Collapse; and sinkhole collapse is no longer an             building does not constitute loss or damage
       exception to the Earth Movement Exclusion.                  resulting from a catastrophic ground cover
                                                                   collapse.
   3. In the Causes Of Loss – Special Form, Sinkhole
       Collapse is deleted from the "specified causes              The Earth Movement Exclusion and the
       of loss" and is no longer an exception to the               Collapse Exclusion do not apply to coverage for
       Earth Movement Exclusion.                                   Catastrophic Ground Cover Collapse.
   4. In the Mortgageholders Errors And Omissions                  Coverage for Catastrophic Ground Cover
       Coverage Form, Sinkhole Collapse is deleted                 Collapse does not increase the applicable Limit
       from the Covered Causes of Loss under                       of Insurance. Regardless of whether loss or
       Coverage B and from the "specified causes of                damage attributable to catastrophic ground cover
       loss", and is no longer an exception to the Earth           collapse also qualifies as Sinkhole Loss or
       Movement Exclusion.                                         Earthquake (if either or both of those causes of
                                                                   loss are covered under this Coverage Part), only
   Further, this Coverage Part does not insure against             one Limit of Insurance will apply to such loss or
   Sinkhole Loss as defined in Florida law unless an               damage.
   endorsement for Sinkhole Loss is made part of this
   policy. However, if Sinkhole Loss causes                     G. The following applies to the Additional
   Catastrophic Ground Cover Collapse, coverage is                 Coverage – Civil Authority under the Business
   provided for the resulting Catastrophic Ground                  Income (And Extra Expense) Coverage Form,
   Cover Collapse even if an endorsement for                       Business Income (Without Extra Expense)
   Sinkhole Loss is not made part of this policy.                  Coverage Form and Extra Expense Coverage
                                                                   Form:
F. The following is added to this Coverage Part as a
   Covered Cause of Loss. In the Causes Of Loss –                  1. The Additional Coverage – Civil Authority
   Special Form and Mortgageholders Errors And                         includes a requirement that the described
   Omissions Coverage Form, the following is also                      premises are not more than one mile from the
   added as a "specified cause of loss". However, as                   damaged property. With respect to described
   a "specified cause of loss", the following does not                 premises located in Florida, such one-mile
   apply to the Additional Coverage – Collapse.                        radius does not apply.
                                                                   2. The Additional Coverage – Civil Authority is
                                                                       limited to a coverage period of up to four
                                                                       weeks. With respect to described premises
                                                                       located in Florida, such four-week period is
                                                                       replaced by a three-week period.
                                                                   3. Civil Authority coverage is subject to all other
                                                                       provisions of that Additional Coverage.




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H. The following provisions are added to the Duties               I. The following definition of structural damage is
   In The Event Of Loss Or Damage Loss                               added with respect to the coverage provided
   Condition:                                                        under this endorsement:
         (1) A claim or reopened claim for loss or                   "Structural damage" means a covered building,
              damage caused by any peril is barred                   regardless of the date of its construction, has
              unless notice of claim is given to us in               experienced the following.
              accordance with the terms of this                      1. Interior floor displacement or deflection in
              policy within two years after the date                     excess of acceptable variances as defined in
              of loss. A reopened claim means a                          ACI 117-90 or the Florida Building Code,
              claim that we have previously closed                       which results in settlement related damage to
              but that has been reopened upon an                         the interior such that the interior building
              insured's request for additional costs                     structure or members become unfit for
              for loss or damage previously                              service or represent a safety hazard as
              disclosed to us.                                           defined within the Florida Building Code;
              A supplemental claim is barred unless                  2. Foundation displacement or deflection in
              notice of the supplemental claim was                       excess of acceptable variances as defined in
              given to us in accordance with the                         ACI 318-95 or the Florida Building Code,
              terms of the policy within three years                     which results in settlement related damage to
              after the date of loss. A supplemental                     the primary structural members or primary
              claim means a claim for additional                         structural systems that prevents those
              loss or damage from the same peril                         members or systems from supporting the
              which we have previously adjusted or                       loads and forces they were designed to
              for which costs have been incurred                         support to the extent that stresses in those
              while     completing      repairs     or                   primary structural members or primary
              replacement pursuant to an open                            structural systems exceed one and one-third
              claim for which timely notice was                          the nominal strength allowed under the
              previously provided to us.                                 Florida Building Code for new buildings of
              For claims resulting from hurricanes,                      similar structure, purpose, or location;
              tornadoes, windstorms, severe rain or                  3. Damage that results in listing, leaning, or
              other weather-related events, the date                     buckling of the exterior load bearing walls or
              of loss is the date that the hurricane                     other vertical primary structural members to
              made landfall or the tornado,                              such an extent that a plumb line passing
              windstorm, severe rain or other                            through the center of gravity does not fall
              weather-related event is verified by the                   inside the middle one-third of the base as
              National Oceanic and Atmospheric                           defined within the Florida Building Code;
              Administration.
                                                                     4. Damage that results in the building, or any
              This provision concerning time for                         portion of the building containing primary
              submission of claim, supplemental                          structural members or primary structural
              claim or reopened claim does not                           systems, being significantly likely to
              affect any limitation for legal action                     imminently collapse because of the
              against us as provided in this policy                      movement or instability of the ground within
              under the Legal Action Against Us                          the influence zone of the supporting ground
              Condition, including any amendment                         within the sheer plane necessary for the
              to that condition.                                         purpose of supporting such building as
         (2) Any inspection or survey by us, or on                       defined within the Florida Building Code; or
              our behalf, of property that is the                    5. Damage occurring on or after October 15,
              subject of a claim, will be conducted                      2005, that qualifies as substantial structural
              with at least 48 hours' notice to you.                     damage as defined in the Florida Building
              The 48-hour notice may be waived by                        Code.
              you.




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                                                                                      COMMERCIAL PROPERTY
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                     CAUSES OF LOSS – SPECIAL FORM
Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.

A. Covered Causes Of Loss                                           (4) Earth sinking (other than sinkhole
   When Special is shown in the Declarations,                            collapse), rising or shifting including soil
   Covered Causes of Loss means direct physical                          conditions      which     cause     settling,
   loss unless the loss is excluded or limited in this                   cracking or other disarrangement of
   policy.                                                               foundations or other parts of realty. Soil
                                                                         conditions        include       contraction,
B. Exclusions                                                            expansion, freezing, thawing, erosion,
   1. We will not pay for loss or damage caused                          improperly compacted soil and the
       directly or indirectly by any of the following.                   action of water under the ground
       Such loss or damage is excluded regardless of                     surface.
       any other cause or event that contributes                     But if Earth Movement, as described in
       concurrently or in any sequence to the loss.                  b.(1) through (4) above, results in fire or
      a. Ordinance Or Law                                            explosion, we will pay for the loss or
         The enforcement of or compliance with any                   damage caused by that fire or explosion.
         ordinance or law:                                          (5) Volcanic eruption, explosion or effusion.
                                                                         But if volcanic eruption, explosion or
        (1) Regulating the construction, use or
            repair of any property; or                                   effusion results in fire, building glass
                                                                         breakage or Volcanic Action, we will pay
        (2) Requiring the tearing down of any                            for the loss or damage caused by that
            property, including the cost of removing                     fire, building glass breakage or Volcanic
            its debris.                                                  Action.
         This exclusion, Ordinance Or Law, applies                       Volcanic Action means direct loss or
         whether the loss results from:                                  damage resulting from the eruption of a
           (a) An ordinance or law that is enforced                      volcano when the loss or damage is
                even if the property has not been                        caused by:
                damaged; or                                             (a) Airborne volcanic blast or airborne
           (b) The increased costs incurred to                               shock waves;
                comply with an ordinance or law in                      (b) Ash, dust or particulate matter; or
                the course of construction, repair,
                renovation, remodeling or demolition                    (c) Lava flow.
                of property, or removal of its debris,                   With respect to coverage for Volcanic
                following a physical loss to that                        Action as set forth in (5)(a), (5)(b) and
                property.                                                (5)(c), all volcanic eruptions that occur
                                                                         within any 168-hour period will constitute
      b. Earth Movement
                                                                         a single occurrence.
        (1) Earthquake, including tremors and
            aftershocks and any earth sinking, rising                    Volcanic Action does not include the
            or shifting related to such event;                           cost to remove ash, dust or particulate
                                                                         matter that does not cause direct
        (2) Landslide, including any earth sinking,                      physical loss or damage to the
            rising or shifting related to such event;                    described property.
        (3) Mine subsidence, meaning subsidence                      This exclusion applies regardless of
            of a man-made mine, whether or not                       whether any of the above, in Paragraphs
            mining activity has ceased;                              (1) through (5), is caused by an act of
                                                                     nature or is otherwise caused.




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      c. Governmental Action                                         (2) Warlike action by a military force,
         Seizure or destruction of property by order                     including action in hindering or
         of governmental authority.                                      defending against an actual or expected
                                                                         attack, by any government, sovereign or
         But we will pay for loss or damage caused                       other authority using military personnel
         by or resulting from acts of destruction                        or other agents; or
         ordered by governmental authority and
         taken at the time of a fire to prevent its                  (3) Insurrection,    rebellion,    revolution,
         spread, if the fire would be covered under                      usurped power, or action taken by
         this Coverage Part.                                             governmental authority in hindering or
                                                                         defending against any of these.
      d. Nuclear Hazard
                                                                  g. Water
         Nuclear reaction or radiation, or radioactive
         contamination, however caused.                             (1) Flood, surface water, waves (including
                                                                         tidal wave and tsunami), tides, tidal
         But if nuclear reaction or radiation, or                        water, overflow of any body of water, or
         radioactive contamination, results in fire, we                  spray from any of these, all whether or
         will pay for the loss or damage caused by                       not driven by wind (including storm
         that fire.                                                      surge);
      e. Utility Services                                           (2) Mudslide or mudflow;
         The failure of power, communication, water                 (3) Water that backs up or overflows or is
         or other utility service supplied to the                        otherwise discharged from a sewer,
         described premises, however caused, if the                      drain, sump, sump pump or related
         failure:                                                        equipment;
        (1) Originates away from the described                      (4) Water under the ground surface
              premises; or                                               pressing on, or flowing or seeping
        (2) Originates at the described premises,                        through:
              but only if such failure involves                         (a) Foundations, walls, floors or paved
              equipment used to supply the utility                           surfaces;
              service to the described premises from
              a source away from the described                          (b) Basements, whether paved or not; or
              premises.                                                 (c) Doors, windows or other openings;
         Failure of any utility service includes lack of                     or
         sufficient capacity and reduction in supply.               (5) Waterborne       material     carried    or
         Loss or damage caused by a surge of                             otherwise moved by any of the water
         power is also excluded, if the surge would                      referred to in Paragraph (1), (3) or (4),
         not have occurred but for an event causing                      or material carried or otherwise moved
         a failure of power.                                             by mudslide or mudflow.
         But if the failure or surge of power, or the                This exclusion applies regardless of
         failure of communication, water or other                    whether any of the above, in Paragraphs
         utility service, results in a Covered Cause of              (1) through (5), is caused by an act of
         Loss, we will pay for the loss or damage                    nature or is otherwise caused. An example
         caused by that Covered Cause of Loss.                       of a situation to which this exclusion applies
                                                                     is the situation where a dam, levee, seawall
         Communication services include but are not                  or other boundary or containment system
         limited to service relating to Internet access              fails in whole or in part, for any reason, to
         or access to any electronic, cellular or                    contain the water.
         satellite network.
      f. War And Military Action
        (1) War, including undeclared or civil war;




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          But if any of the above, in Paragraphs (1)                 d.(1) Wear and tear;
          through (5), results in fire, explosion or                   (2) Rust or other corrosion, decay,
          sprinkler leakage, we will pay for the loss or                     deterioration, hidden or latent defect or
          damage caused by that fire, explosion or                           any quality in property that causes it to
          sprinkler leakage (if sprinkler leakage is a                       damage or destroy itself;
          Covered Cause of Loss).
                                                                       (3) Smog;
      h. "Fungus", Wet Rot, Dry Rot And
          Bacteria                                                     (4) Settling,      cracking,      shrinking     or
                                                                             expansion;
          Presence, growth, proliferation, spread or
          any activity of "fungus", wet or dry rot or                  (5) Nesting or infestation, or discharge or
          bacteria.                                                          release of waste products or secretions,
                                                                             by insects, birds, rodents or other
          But if "fungus", wet or dry rot or bacteria                        animals.
          result in a "specified cause of loss", we will
          pay for the loss or damage caused by that                    (6) Mechanical         breakdown,        including
          "specified cause of loss".                                         rupture or bursting caused by centrifugal
                                                                             force. But if mechanical breakdown
          This exclusion does not apply:                                     results in elevator collision, we will pay
         (1) When "fungus", wet or dry rot or bacteria                       for the loss or damage caused by that
              result from fire or lightning; or                              elevator collision.
         (2) To the extent that coverage is provided                   (7) The following causes of loss to personal
              in the Additional Coverage, Limited                            property:
              Coverage For "Fungus", Wet Rot, Dry                           (a) Dampness         or      dryness        of
              Rot And Bacteria, with respect to loss or                          atmosphere;
              damage by a cause of loss other than
              fire or lightning.                                            (b) Changes in or extremes                  of
                                                                                 temperature; or
      Exclusions B.1.a. through B.1.h. apply whether
      or not the loss event results in widespread                           (c) Marring or scratching.
      damage or affects a substantial area.                             But if an excluded cause of loss that is
   2. We will not pay for loss or damage caused by                      listed in 2.d.(1) through (7) results in a
      or resulting from any of the following:                           "specified cause of loss" or building glass
                                                                        breakage, we will pay for the loss or
      a. Artificially generated electrical, magnetic or                 damage caused by that "specified cause of
          electromagnetic energy that damages,                          loss" or building glass breakage.
          disturbs, disrupts or otherwise interferes
          with any:                                                  e. Explosion of steam boilers, steam pipes,
                                                                        steam engines or steam turbines owned or
         (1) Electrical or electronic wire, device,                     leased by you, or operated under your
              appliance, system or network; or                          control. But if explosion of steam boilers,
         (2) Device, appliance, system or network                       steam pipes, steam engines or steam
              utilizing cellular or satellite technology.               turbines results in fire or combustion
          For the purpose of this exclusion, electrical,                explosion, we will pay for the loss or
          magnetic or electromagnetic energy                            damage caused by that fire or combustion
          includes but is not limited to:                               explosion. We will also pay for loss or
                                                                        damage caused by or resulting from the
             (a) Electrical current, including arcing;                  explosion of gases or fuel within the furnace
             (b) Electrical charge produced or                          of any fired vessel or within the flues or
                   conducted by a magnetic or                           passages through which the gases of
                   electromagnetic field;                               combustion pass.
             (c) Pulse of electromagnetic energy; or                 f. Continuous or repeated seepage or
                                                                        leakage of water, or the presence or
             (d) Electromagnetic             waves        or
                   microwaves.                                          condensation of humidity, moisture or
                                                                        vapor, that occurs over a period of 14 days
          But if fire results, we will pay for the loss or              or more.
          damage caused by that fire.
      b. Delay, loss of use or loss of market.
      c. Smoke, vapor or gas from agricultural
          smudging or industrial operations.




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      g. Water, other liquids, powder or molten                       This exclusion, k., does not apply:
          material that leaks or flows from plumbing,                    (a) To the extent that coverage is
          heating, air conditioning or other equipment                        provided      under the Additional
          (except fire protective systems) caused by                          Coverage, Collapse; or
          or resulting from freezing, unless:
                                                                         (b) To collapse caused by one or more
         (1) You do your best to maintain heat in the                         of the following:
              building or structure; or
                                                                              (i) The "specified causes of loss";
         (2) You drain the equipment and shut off
              the supply if the heat is not maintained.                      (ii) Breakage of building glass;
      h. Dishonest or criminal act (including theft) by                     (iii) Weight of rain that collects on a
          you, any of your partners, members,                                     roof; or
          officers, managers, employees (including                          (iv) Weight of people or personal
          temporary employees and leased workers),                                property.
          directors,      trustees      or    authorized
                                                                   l. Discharge, dispersal, seepage, migration,
          representatives , whether acting alone or in                release or escape of "pollutants" unless the
          collusion with each other or with any other                 discharge, dispersal, seepage, migration,
          party; or theft by any person to whom you                   release or escape is itself caused by any of
          entrust the property for any purpose,                       the "specified causes of loss". But if the
          whether acting alone or in collusion with                   discharge, dispersal, seepage, migration,
          any other party.                                            release or escape of "pollutants" results in a
          This exclusion:                                             "specified cause of loss", we will pay for the
         (1) Applies whether or not an act occurs                     loss or damage caused by that "specified
              during your normal hours of operation;                  cause of loss".
         (2) Does not apply to acts of destruction by                 This exclusion, I., does not apply to
              your employees (including temporary                     damage to glass caused by chemicals
              employees and leased workers) or                        applied to the glass.
              authorized representatives ; but theft by           m. Neglect of an insured to use all reasonable
              your employees (including temporary                     means to save and preserve property from
              employees and leased workers) or                        further damage at and after the time of loss.
              authorized representatives        is not
                                                               3. We will not pay for loss or damage caused by
              covered.                                            or resulting from any of the following, 3.a.
       i. Voluntary parting with any property by you              through 3.c. But if an excluded cause of loss
          or anyone else to whom you have entrusted               that is listed in 3.a. through 3.c. results in a
          the property if induced to do so by any                 Covered Cause of Loss, we will pay for the
          fraudulent scheme, trick, device or false               loss or damage caused by that Covered Cause
          pretense.                                               of Loss.
      j. Rain, snow, ice or sleet to personal                     a. Weather conditions. But this exclusion only
          property in the open.                                       applies if weather conditions contribute in
      k. Collapse, including any of the following                     any way with a cause or event excluded in
          conditions of property or any part of the                   Paragraph 1. above to produce the loss or
          property:                                                   damage.
         (1) An abrupt falling down or caving in;                 b. Acts or decisions, including the failure to act
                                                                      or decide, of any person, group,
         (2) Loss of structural integrity, including                  organization or governmental body.
              separation of parts of the property or
              property in danger of falling down or               c. Faulty, inadequate or defective:
              caving in; or                                          (1) Planning,         zoning,    development,
         (3) Any cracking, bulging, sagging, bending,                     surveying, siting;
              leaning, settling, shrinkage or expansion              (2) Design, specifications, workmanship,
              as such condition relates to (1) or (2)                     repair,      construction,     renovation,
              above.                                                      remodeling, grading, compaction;
          But if collapse results in a Covered Cause                 (3) Materials used in repair, construction,
          of Loss at the described premises, we will                      renovation or remodeling; or
          pay for the loss or damage caused by that
                                                                     (4) Maintenance;
          Covered Cause of Loss.




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         of part or all of any property on or off the            b. Leasehold Interest Coverage Form
         described premises.                                       (1) Paragraph B.1.a., Ordinance Or Law,
   4. Special Exclusions                                               does not apply to insurance under this
      The following provisions apply only to the                       Coverage Form.
      specified Coverage Forms:                                    (2) We will not pay for any loss caused by:
      a. Business Income (And Extra Expense)                          (a) Your cancelling the lease;
         Coverage Form, Business Income                               (b) The       suspension,      lapse    or
         (Without Extra Expense) Coverage Form,                            cancellation of any license; or
         Or Extra Expense Coverage Form
                                                                      (c) Any other consequential loss.
         We will not pay for:
                                                                 c. Legal Liability Coverage Form
        (1) Any loss caused by or resulting from:
                                                                   (1) The following exclusions do not apply to
           (a) Damage or destruction of "finished                      insurance under this Coverage Form:
                stock"; or
                                                                      (a) Paragraph B.1.a. Ordinance Or Law;
           (b) The time required to reproduce
                "finished stock".                                     (b) Paragraph B.1.c. Governmental
                                                                           Action;
            This exclusion does not apply to Extra
            Expense.                                                  (c) Paragraph B.1.d. Nuclear Hazard;
        (2) Any loss caused by or resulting from                      (d) Paragraph B.1.e. Utility Services;
            direct physical loss or damage to radio                        and
            or television antennas (including satellite               (e) Paragraph B.1.f. War And Military
            dishes) and their lead-in wiring, masts or                     Action.
            towers.
                                                                   (2) The following additional exclusions
        (3) Any increase of loss caused by or                          apply to insurance under this Coverage
            resulting from:                                            Form:
           (a) Delay in rebuilding, repairing or                       (a) Contractual Liability
                replacing the property or resuming
                                                                           We will not defend any claim or
                "operations", due to interference at                       "suit", or pay damages that you are
                the location of the rebuilding, repair                     legally liable to pay, solely by reason
                or replacement by strikers or other                        of your assumption of liability in a
                persons; or                                                contract or agreement. But this
           (b) Suspension, lapse or cancellation of                        exclusion does not apply to a written
                any license, lease or contract. But if                     lease agreement in which you have
                the suspension, lapse or cancellation                      assumed liability for building damage
                is     directly   caused     by    the                     resulting from an actual or attempted
                "suspension" of "operations", we will                      burglary or robbery, provided that:
                cover such loss that affects your
                                                                           (i) Your assumption of liability was
                Business Income during the "period                             executed prior to the accident;
                of restoration" and any extension of                           and
                the "period of restoration" in
                accordance with the terms of the                          (ii) The building is Covered Property
                Extended         Business      Income                          under this Coverage Form.
                Additional      Coverage    and    the                 (b) Nuclear Hazard
                Extended Period Of Indemnity
                Optional Coverage or any variation                         We will not defend any claim or
                of these.                                                  "suit", or pay any damages, loss,
                                                                           expense or obligation, resulting from
        (4) Any Extra Expense caused by or                                 nuclear reaction or radiation, or
            resulting from suspension, lapse or                            radioactive contamination, however
            cancellation of any license, lease or                          caused.
            contract beyond the "period of
            restoration".
        (5) Any other consequential loss.




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   5. Additional Exclusion                                        d. Building materials and supplies not
      The following provisions apply only to the                      attached as part of the building or structure,
      specified property:                                             caused by or resulting from theft.
      Loss Or Damage To Products                                      However, this limitation does not apply to:
      We will not pay for loss or damage to any                      (1) Building materials and supplies held for
      merchandise, goods or other product caused                          sale by you, unless they are insured
      by or resulting from error or omission by any                       under the Builders Risk Coverage Form;
      person or entity (including those having                            or
      possession under an arrangement where work                     (2) Business Income Coverage or Extra
      or a portion of the work is outsourced) in any                      Expense Coverage.
      stage of the development, production or use of              e. Property that is missing, where the only
      the product, including planning, testing,                       evidence of the loss or damage is a
      processing,        packaging,        installation,              shortage disclosed on taking inventory, or
      maintenance or repair. This exclusion applies                   other instances where there is no physical
      to any effect that compromises the form,                        evidence to show what happened to the
      substance or quality of the product. But if such                property.
      error or omission results in a Covered Cause of
      Loss, we will pay for the loss or damage                     f. Property that has been transferred to a
      caused by that Covered Cause of Loss.                           person or to a place outside the described
                                                                      premises on the basis of unauthorized
C. Limitations                                                        instructions.
   The following limitations apply to all policy forms            g. Lawns, trees, shrubs or plants which are
   and endorsements, unless otherwise stated:                         part of a vegetated roof, caused by or
   1. We will not pay for loss of or damage to                        resulting from:
      property, as described and limited in this                     (1) Dampness or dryness of atmosphere or
      section. In addition, we will not pay for any loss                  of soil supporting the vegetation;
      that is a consequence of loss or damage as
      described and limited in this section.                         (2) Changes in or extremes of temperature;
      a. Steam boilers, steam pipes, steam engines                   (3) Disease;
          or steam turbines caused by or resulting                   (4) Frost or hail; or
          from any condition or event inside such
                                                                     (5) Rain, snow, ice or sleet.
          equipment. But we will pay for loss of or
          damage to such equipment caused by or                2. We will not pay for loss of or damage to the
          resulting from an explosion of gases or fuel            following types of property unless caused by
          within the furnace of any fired vessel or               the "specified causes of loss" or building glass
          within the flues or passages through which              breakage:
          the gases of combustion pass.                           a. Animals, and then only if they are killed or
      b. Hot water boilers or other water heating                     their destruction is made necessary.
          equipment caused by or resulting from any               b. Fragile articles such as statuary, marbles,
          condition or event inside such boilers or                   chinaware and porcelains, if broken. This
          equipment, other than an explosion.                         restriction does not apply to:
      c. The interior of any building or structure, or               (1) Glass; or
          to personal property in the building or
          structure, caused by or resulting from rain,               (2) Containers of property held for sale.
          snow, sleet, ice, sand or dust, whether                 c. Builders' machinery, tools and equipment
          driven by wind or not, unless:                              owned by you or entrusted to you, provided
                                                                      such property is Covered Property.
         (1) The building or structure first sustains
              damage by a Covered Cause of Loss to                    However, this limitation does not apply:
              its roof or walls through which the rain,              (1) If the property is located on or within
              snow, sleet, ice, sand or dust enters; or                   100 feet of the described premises,
         (2) The loss or damage is caused by or                           unless the premises is insured under the
              results from thawing of snow, sleet or                      Builders Risk Coverage Form; or
              ice on the building or structure.




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          (2) To Business Income Coverage or to                2. We will pay for direct physical loss or damage
               Extra Expense Coverage.                            to Covered Property, caused by abrupt
   3. The special limit shown for each category, a.               collapse of a building or any part of a building
      through d., is the total limit for loss of or               that is insured under this Coverage Form or
      damage to all property in that category. The                that contains Covered Property insured under
      special limit applies to any one occurrence of              this Coverage Form, if such collapse is caused
      theft, regardless of the types or number of                 by one or more of the following:
      articles that are lost or damaged in that                   a. Building decay that is hidden from view,
      occurrence. The special limits are (unless a                    unless the presence of such decay is
      higher limit is shown in the Declarations):                     known to an insured prior to collapse;
      a. $2,500 for furs, fur garments and garments               b. Insect or vermin damage that is hidden
           trimmed with fur.                                          from view, unless the presence of such
      b. $2,500 for jewelry, watches, watch                           damage is known to an insured prior to
           movements, jewels, pearls, precious and                    collapse;
           semiprecious stones, bullion, gold, silver,            c. Use of defective material or methods in
           platinum and other precious alloys or                      construction, remodeling or renovation if the
           metals. This limit does not apply to jewelry               abrupt collapse occurs during the course of
           and watches worth $100 or less per item.                   the construction, remodeling or renovation.
      c. $2,500 for patterns, dies, molds and forms.              d. Use of defective material or methods in
      d. $250 for stamps, tickets, including lottery                  construction, remodeling or renovation if the
           tickets held for sale, and letters of credit.              abrupt      collapse    occurs     after   the
                                                                      construction, remodeling or renovation is
      These special limits are part of, not in addition               complete, but only if the collapse is caused
      to, the Limit of Insurance applicable to the                    in part by:
      Covered Property.
                                                                     (1) A cause of loss listed in 2.a. or 2.b.;
      This limitation, C.3., does not apply to
      Business Income Coverage or to Extra                           (2) One or more of the "specified causes of
      Expense Coverage.                                                   loss";
   4. We will not pay the cost to repair any defect to               (3) Breakage of building glass;
      a system or appliance from which water, other                  (4) Weight of people or personal property;
      liquid, powder or molten material escapes. But                      or
      we will pay the cost to repair or replace                      (5) Weight of rain that collects on a roof.
      damaged parts of fire-extinguishing equipment
      if the damage:                                           3. This Additional Coverage – Collapse does
                                                                  not apply to:
      a. Results in discharge of any substance from
           an automatic fire protection system; or                a. A building or any part of a building that is in
                                                                      danger of falling down or caving in;
      b. Is directly caused by freezing.
                                                                  b. A part of a building that is standing, even if
      However, this limitation does not apply to                      it has separated from another part of the
      Business Income Coverage or to Extra                            building; or
      Expense Coverage.
                                                                  c. A building that is standing or any part of a
D. Additional Coverage – Collapse                                     building that is standing, even if it shows
   The coverage provided under this Additional                        evidence of cracking, bulging, sagging,
   Coverage, Collapse, applies only to an abrupt                      bending, leaning, settling, shrinkage or
   collapse as described and limited in D.1. through                  expansion.
   D.7.                                                        4. With respect to the following property:
   1. For the purpose of this Additional Coverage,                a. Outdoor radio or television antennas
       Collapse, abrupt collapse means an abrupt                      (including satellite dishes) and their lead-in
       falling down or caving in of a building or any                 wiring, masts or towers;
       part of a building with the result that the
       building or part of the building cannot be
       occupied for its intended purpose.




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      b. Awnings, gutters and downspouts;                    E. Additional Coverage – Limited Coverage For
      c. Yard fixtures;                                         "Fungus", Wet Rot, Dry Rot And Bacteria
      d. Outdoor swimming pools;                                1. The coverage described in E.2. and E.6. only
                                                                   applies when the "fungus", wet or dry rot or
      e. Fences;                                                   bacteria are the result of one or more of the
       f. Piers, wharves and docks;                                following causes that occur during the policy
                                                                   period and only if all reasonable means were
      g. Beach         or      diving    platforms     or
           appurtenances;                                          used to save and preserve the property from
                                                                   further damage at the time of and after that
      h. Retaining walls; and                                      occurrence:
        i. Walks, roadways and other paved surfaces;               a. A "specified cause of loss" other than fire or
      if an abrupt collapse is caused by a cause of                    lightning; or
      loss listed in 2.a. through 2.d., we will pay for            b. Flood, if the Flood Coverage Endorsement
      loss or damage to that property only if:                         applies to the affected premises.
          (1) Such loss or damage is a direct result of            This Additional Coverage does not apply to
               the abrupt collapse of a building insured           lawns, trees, shrubs or plants which are part of
               under this Coverage Form; and                       a vegetated roof.
          (2) The property is Covered Property under            2. We will pay for loss or damage by "fungus",
               this Coverage Form.                                 wet or dry rot or bacteria. As used in this
   5. If personal property abruptly falls down or                  Limited Coverage, the term loss or damage
      caves in and such collapse is not the result of              means:
      abrupt collapse of a building, we will pay for               a. Direct physical loss or damage to Covered
      loss or damage to Covered Property caused by                     Property caused by "fungus", wet or dry rot
      such collapse of personal property only if:                      or bacteria, including the cost of removal of
      a. The collapse of personal property was                         the "fungus", wet or dry rot or bacteria;
           caused by a cause of loss listed in 2.a.                b. The cost to tear out and replace any part of
           through 2.d.;                                               the building or other property as needed to
      b. The personal property which collapses is                      gain access to the "fungus", wet or dry rot
           inside a building; and                                      or bacteria; and
      c. The property which collapses is not of a                  c. The cost of testing performed after removal,
           kind listed in 4., regardless of whether that               repair, replacement or restoration of the
           kind of property is considered to be                        damaged property is completed, provided
           personal property or real property.                         there is a reason to believe that "fungus",
                                                                       wet or dry rot or bacteria are present.
      The coverage stated in this Paragraph 5. does
      not apply to personal property if marring and/or          3. The coverage described under E.2. of this
      scratching is the only damage to that personal               Limited Coverage is limited to $15,000.
      property caused by the collapse.                             Regardless of the number of claims, this limit is
                                                                   the most we will pay for the total of all loss or
   6. This Additional Coverage, Collapse, does not                 damage arising out of all occurrences of
      apply to personal property that has not abruptly             "specified causes of loss" (other than fire or
      fallen down or caved in, even if the personal                lightning) and Flood which take place in a 12-
      property shows evidence of cracking, bulging,                month period (starting with the beginning of the
      sagging, bending, leaning, settling, shrinkage               present annual policy period). With respect to a
      or expansion.                                                particular occurrence of loss which results in
   7. This Additional Coverage, Collapse, will not                 "fungus", wet or dry rot or bacteria, we will not
      increase the Limits of Insurance provided in                 pay more than a total of $15,000 even if the
      this Coverage Part.                                          "fungus", wet or dry rot or bacteria continue to
   8. The term Covered Cause of Loss includes the                  be present or active, or recur, in a later policy
      Additional Coverage, Collapse, as described                  period.
      and limited in D.1. through D.7.




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   4. The coverage provided under this Limited               F. Additional Coverage Extensions
      Coverage does not increase the applicable                 1. Property In Transit
      Limit of Insurance on any Covered Property. If
      a particular occurrence results in loss or                   This Extension applies only to your personal
      damage by "fungus", wet or dry rot or bacteria,              property to which this form applies.
      and other loss or damage, we will not pay                    a. You may extend the insurance provided by
      more, for the total of all loss or damage, than                  this Coverage Part to apply to your
      the applicable Limit of Insurance on the                         personal property (other than property in
      affected Covered Property.                                       the care, custody or control of your
      If there is covered loss or damage to Covered                    salespersons) in transit more than 100 feet
      Property, not caused by "fungus", wet or dry rot                 from the described premises. Property must
      or bacteria, loss payment will not be limited by                 be in or on a motor vehicle you own, lease
      the terms of this Limited Coverage, except to                    or operate while between points in the
      the extent that "fungus", wet or dry rot or                      coverage territory.
      bacteria cause an increase in the loss. Any                  b. Loss or damage must be caused by or
      such increase in the loss will be subject to the                 result from one of the following causes of
      terms of this Limited Coverage.                                  loss:
   5. The terms of this Limited Coverage do not                       (1) Fire, lightning, explosion, windstorm or
      increase or reduce the coverage provided                             hail, riot or civil commotion, or
      under Paragraph F.2. (Water Damage, Other                            vandalism.
      Liquids, Powder Or Molten Material Damage)
                                                                      (2) Vehicle collision, upset or overturn.
      of this Causes Of Loss form or under the                             Collision means accidental contact of
      Additional Coverage, Collapse.                                       your vehicle with another vehicle or
   6. The following, 6.a. or 6.b., applies only if                         object. It does not mean your vehicle's
      Business Income and/or Extra Expense                                 contact with the roadbed.
      Coverage applies to the described premises
                                                                      (3) Theft of an entire bale, case or package
      and only if the "suspension" of "operations"                         by forced entry into a securely locked
      satisfies all terms and conditions of the                            body or compartment of the vehicle.
      applicable Business Income and/or Extra                              There must be visible marks of the
      Expense Coverage Form:                                               forced entry.
      a. If the loss which resulted in "fungus", wet or            c. The most we will pay for loss or damage
           dry rot or bacteria does not in itself                      under this Extension is $5,000.
           necessitate a "suspension" of "operations",
           but such "suspension" is necessary due to               This Coverage Extension is additional
           loss or damage to property caused by                    insurance.       The     Additional   Condition,
           "fungus", wet or dry rot or bacteria, then our          Coinsurance, does not apply to this Extension.
           payment under Business Income and/or                 2. Water Damage, Other Liquids, Powder Or
           Extra Expense is limited to the amount of               Molten Material Damage
           loss and/or expense sustained in a period
           of not more than 30 days. The days need                 If loss or damage caused by or resulting from
           not be consecutive.                                     covered water or other liquid, powder or molten
                                                                   material damage loss occurs, we will also pay
      b. If a covered "suspension" of "operations"                 the cost to tear out and replace any part of the
           was caused by loss or damage other than                 building or structure to repair damage to the
           "fungus", wet or dry rot or bacteria but                system or appliance from which the water or
           remediation of "fungus", wet or dry rot or              other substance escapes. This Coverage
           bacteria prolongs the "period of restoration",          Extension does not increase the Limit of
           we will pay for loss and/or expense                     Insurance.
           sustained during the delay (regardless of
           when such a delay occurs during the
           "period of restoration"), but such coverage
           is limited to 30 days. The days need not be
           consecutive.




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   3. Glass                                                           (2) Accidental discharge or leakage of
      a. We will pay for expenses incurred to put up                       water or waterborne material as the
          temporary plates or board up openings if                         direct result of the breaking apart or
          repair or replacement of damaged glass is                        cracking of a water or sewer pipe
          delayed.                                                         caused by wear and tear, when the pipe
                                                                           is located off the described premises
      b. We will pay for expenses incurred to                              and is connected to or is part of a
          remove or replace obstructions when                              potable water supply system or sanitary
          repairing or replacing glass that is part of a                   sewer system operated by a public or
          building. This does not include removing or                      private utility service provider pursuant
          replacing window displays.                                       to authority granted by the state or
      This Coverage Extension F.3. does not                                governmental subdivision where the
      increase the Limit of Insurance.                                     described premises are located.
G. Definitions                                                         But water damage does not include loss or
                                                                       damage otherwise excluded under the
   1. "Fungus" means any type or form of fungus,
      including mold or mildew, and any mycotoxins,                    terms of the Water Exclusion. Therefore, for
      spores, scents or by-products produced or                        example, there is no coverage under this
      released by fungi.                                               policy in the situation in which discharge or
                                                                       leakage of water results from the breaking
   2. "Specified causes of loss" means the following:                  apart or cracking of a pipe which was
      fire; lightning; explosion; windstorm or hail;                   caused by or related to weather-induced
      smoke; aircraft or vehicles; riot or civil                       flooding, even        if   wear and tear
      commotion; vandalism; leakage from fire-                         contributed to the breakage or cracking. As
      extinguishing equipment; sinkhole collapse;                      another example, and also in accordance
      volcanic action; falling objects; weight of snow,                with the terms of the Water Exclusion, there
      ice or sleet; water damage.                                      is no coverage for loss or damage caused
      a. Sinkhole collapse means the sudden                            by or related to weather-induced flooding
           sinking or collapse of land into underground                which follows or is exacerbated by pipe
           empty spaces created by the action of                       breakage or cracking attributable to wear
           water on limestone or dolomite. This cause                  and tear.
           of loss does not include:                                   To the extent that accidental discharge or
          (1) The cost of filling sinkholes; or                        leakage of water falls within the criteria set
                                                                       forth in c.(1) or c.(2) of this definition of
          (2) Sinking or collapse of land into man-                    "specified causes of loss," such water is not
               made underground cavities.                              subject to the provisions of the Water
      b. Falling objects does not include loss or                      Exclusion which preclude coverage for
           damage to:                                                  surface water or water under the surface of
          (1) Personal property in the open; or                        the ground.
          (2) The interior of a building or structure, or
               property inside a building or structure,
               unless the roof or an outside wall of the
               building or structure is first damaged by
               a falling object.
      c. Water damage means:
          (1) Accidental discharge or leakage of
               water or steam as the direct result of the
               breaking apart or cracking of a
               plumbing, heating, air conditioning or
               other system or appliance (other than a
               sump system including its related
               equipment and parts), that is located on
               the described premises and contains
               water or steam; and




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POLICY NUMBER: IMA410900                                                                 COMMERCIAL PROPERTY
                                                                                                 CP 10 33 10 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         THEFT EXCLUSION
This endorsement modifies insurance provided under the following:

     CAUSES OF LOSS - SPECIAL FORM

                                                   SCHEDULE

                       Premises Number                                        Building Number

                             1                                                       1




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

With respect to the location(s) indicated in the Sched-     2.   Building damage caused by the breaking in or exit-
ule, the following is added to the Exclusions section:           ing of burglars.
We will not pay for loss or damage caused by or result-     And if theft results in a Covered Cause of Loss, we will
ing from theft.                                             pay for the loss or damage caused by that Covered
But we will pay for:                                        Cause of Loss.
1.   Loss or damage that occurs due to looting at the
     time and place of a riot or civil commotion; or




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                                                                                      COMMERCIAL PROPERTY
                                                                                              CP 10 75 12 20

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CYBER INCIDENT EXCLUSION
This endorsement modifies insurance provided under the following:
   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

A. The following exclusion is added to Paragraph B.               B. Exceptions And Limitations
   Exclusions:                                                       1. Fire Or Explosion
   We will not pay for loss or damage caused directly or                If a cyber incident as described in
   indirectly by the following. Such loss or damage is                  Paragraphs A.1. through A.3. of this
   excluded regardless of any other cause or event that                 exclusion results in fire or explosion, we will
   contributes concurrently or in any sequence to the loss.             pay for the loss or damage caused by that
   Cyber Incident                                                       fire or explosion.
   1. Unauthorized access to or use of any computer                  2. Additional Coverage
       system (including electronic data).                              The exclusion in Paragraph A. does not
   2. Malicious code, virus or any other harmful code that              apply to the extent that coverage is provided
       is directed at, enacted upon or introduced into any              in the:
       computer system (including electronic data) and is               a. Additional Coverage – Electronic Data;
       designed to access, alter, corrupt, damage, delete,                  or
       destroy, disrupt, encrypt, exploit, use or prevent or
       restrict access to or the use of any part of any                 b. Additional Coverage – Interruption Of
       computer system (including electronic data) or                       Computer Operations.
       otherwise disrupt its normal functioning or                   3. Electronic Commerce Endorsement
       operation.                                                       The exclusion in Paragraph A. does not
   3. Denial of service attack which disrupts, prevents or              apply to the Electronic Commerce
       restricts access to or use of any computer system,               (E-Commerce) endorsement when attached
       or otherwise disrupts its normal functioning or                  to your policy.
       operation.                                                 C. Vandalism
                                                                     The following is added to Vandalism, if
                                                                     Vandalism coverage is not otherwise excluded
                                                                     under the Standard Property Policy or the
                                                                     Causes Of Loss – Basic, Broad or Special
                                                                     Forms and if applicable to the premises
                                                                     described in the Declarations:
                                                                     Vandalism does not include a cyber incident as
                                                                     described in Paragraph A.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       EXCLUSION – PRE-EXISTING DAMAGE

This endorsement modifies insurance provided under the following:

CAUSE OF LOSS – SPECIAL
CAUSE OF LOSS – BROAD
CAUSE OF LOSS - BASIC

                                                   SCHEDULE


Prem.          Bldg.        Location
No.            No.
1              1            514 NE 16th Place, Cape Coral FL 33909




The following is added to B. Exclusions:

This policy excludes any pre-existing property damage as well as any loss or damage directly or indirectly
caused by, resulting from or contributed to by any pre-existing damage at the time of loss.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                EXCLUSION – BIOLOGICAL OR CHEMICAL MATERIALS

This endorsement modifies insurance provided under the following:

CAUSES OF LOSS – BASIC FORM
CAUSES OF LOSS – BROAD FORM
CAUSES OF LOSS – SPECIAL FORM



The following exclusion is added to Section B. Exclusions:

This policy does not provide any coverage for any loss, cost, expense or damage of any nature, however caused,
directly or indirectly, arising out of, resulting from, or in any way related to the actual or suspected presence or threat
of any pathogenic or poisonous biological or chemical substance or material of any kind, including, but not limited
to, any malicious use of such substance or material, whether isolated or widespread, regardless of any other cause
or event contributing at the same time or in any sequence.



All other terms, conditions and exclusions remain unchanged.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          AMENDMENT OF THE NUCLEAR HAZARD
                              EXCLUSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

CAUSES OF LOSS – BASIC FORM
CAUSES OF LOSS – BROAD FORM
CAUSES OF LOSS – SPECIAL FORM



Paragraph 1.d. Nuclear Hazard of Section B. Exclusions is deleted and replaced by the following:

d. Nuclear Hazard

    Nuclear reaction or radiation, or radioactive contamination, however caused.

    However, if nuclear reaction or radiation, or radioactive contamination, results in fire, we will pay for the loss,
    cost, expense or damage caused by that fire, subject to all applicable policy provisions including the Limit of
    Insurance on the affected property in the states where required by law. Such coverage applies only to direct
    loss or damage by fire to Covered Property. Therefore, for example, the coverage does not apply to insurance
    provided under Business Income and/or Extra Expense coverage forms or endorsements which apply to those
    forms.




All other terms, conditions and exclusions remain unchanged.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         EXCLUSION - TERRORISM
This endorsement modifies insurance provided under the following:

CAUSES OF LOSS – BASIC FORM
CAUSES OF LOSS – BROAD FORM
CAUSES OF LOSS – SPECIAL FORM

A. The following exclusion is added to Section B. Exclusions:

    EXCLUSION OF TERRORISM

    We will not pay for loss, cost, expense or damage however caused, directly or indirectly, arising out of,
    resulting from, or in any way related to an actual or threatened act of "terrorism", including action in hindering
    or defending against an actual or expected incident of "terrorism". Such loss, cost, expense or damage is
    excluded regardless of any other cause or event that contributes concurrently or in any sequence to the loss.

    However, if "terrorism" results in fire, we will pay for the loss, cost, expense or damage caused by that fire,
    subject to all applicable policy provisions including the Limit of Insurance on the affected property in the
    states where required by law. Such coverage for fire applies only to direct loss or damage by fire to Covered
    Property. Therefore, for example, the coverage does not apply to insurance provided under Business Income
    and/or Extra Expense coverage forms or endorsements which apply to those forms.

B. The following definition is added to Section G. Definitions:

    1. "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance
       with the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such
       Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" include
       the following:

        a. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
           insurance subject to the Terrorism Risk Insurance Act; and

        b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
           committed by an individual or individuals as part of an effort to coerce the civilian population of the
           United States or to influence the policy or affect the conduct of the United States Government by
           coercion.

        As respects "certified acts of terrorism", if aggregate insured losses attributable to terrorist acts certified
        under the Terrorism Risk Insurance Act exceed $100 billion in a calendar year and we have met our
        insurer deductible under the Terrorism Risk Insurance Act, we shall not be liable for the payment of any
        portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to that
        amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
        the Treasury.

    2. "Terrorism" means activities against persons, organizations or property of any nature:

        a. That involves the following or preparation for the following:

             (1) Use or threat of force or violence; or

             (2) Commission or threat of a dangerous act; or




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             (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
                 information, or mechanical system; or

             (4) Commission or threat of an act of destruction, assassination, kidnapping or hostage-taking; or

             (5) Commission or threat of a hijacking or any unlawful exercise or control of any mode of
                 transportation, including, but not limited to aircraft, watercraft, truck(s) or automobile(s), including
                 any attempted seizure of control; and

        b. When one or more of the following applies:

             (1) The effect is to intimidate or coerce a government or the civilian population or any segment
                 thereof, or to disrupt any segment of the economy; or

             (2) It appears that the intent is to intimidate or coerce a government, or to further political,
                 ideological, religious, social or economic objectives or to express (or express opposition to) a
                 philosophy or ideology.

        As used in this endorsement, "terrorism" includes "certified acts of terrorism".

All other terms, conditions and exclusions remain unchanged.




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                             GENERAL STAR INDEMNITY COMPANY
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION - VIRUS, BACTERIA, PARASITE OR OTHER ORGANISM

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART



A. The exclusion set forth in this endorsement applies to all coverage under all forms and endorsements that
   comprise this Coverage Part or Policy, including but not limited to forms or endorsements that cover property
   damage to buildings or personal property and forms or endorsements that cover business income, extra
   expense or action of civil authority.

B. We will not pay for any loss, damage, claim, cost, expense or other sum, directly or indirectly caused by, arising
   out of, resulting from or in connection with the actual or suspected presence of any virus (including, but not
   limited to, SARS-CoV-2), bacterium, parasite or other organism that induces or is capable of inducing physical
   distress, illness or disease or the fear or threat (whether actual or perceived) of a virus (including, but not limited
   to, SARS-CoV-2), bacterium, parasite or other organism that induces or is capable of inducing physical distress,
   illness or disease, regardless of any other cause or event contributing concurrently or in any other sequence to
   the loss.

    However, this exclusion does not apply to loss or damage caused by or resulting from “fungus”, wet rot or dry
    rot. Such loss or damage is addressed in a separate exclusion in this Coverage Part or Policy.

C. For purposes of this endorsement, loss, damage, claim, cost, expense or other sum, includes, but is not limited
   to, any cost to clean-up, detoxify, remove, monitor or test:

    1. For the presence of any virus, bacterium, parasite or other organism, or

    2. Any property insured hereunder that is affected by such virus, bacterium, parasite or other organism.

D. With respect to any loss, damage, claim, cost, expense or other sum subject to the exclusion in this
   endorsement, such exclusion supersedes any exclusion relating to “pollutants”.

E. The provisions in this Coverage Part and Policy are hereby amended to remove any and all reference to, and
   coverage provided for, bacteria or bacterium of any kind including, but not limited to, the following:

    1. Exclusion of “Fungus”, Wet Rot, Dry Rot And Bacteria;

    2. Additional Coverage – Limited Coverage for “Fungus”, Wet Rot, Dry Rot and Bacteria, including any
       endorsement increasing the scope or amount of coverage; and

    3. Any definition of “fungus”.

F. The terms of this exclusion, or the inapplicability of this exclusion to a particular loss, do not serve to create
   coverage for any loss that would otherwise be excluded under this Coverage Part or Policy.



All other terms, conditions and exclusions remain unchanged.
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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       FLORIDA CHANGES – AMENDMENT OF APPRAISAL
                      CONDITION
 This endorsement modifies insurance provided under the following:

 COMMERCIAL PROPERTY COVERAGE PART
 COMMERCIAL INLAND MARINE COVERAGE PART



 The following is added to the Appraisal Condition, if any, and supersedes any other provision to the contrary:

 An appraisal will be made only if both we and you agree to it voluntarily. If so agreed, the appraisal will proceed as
 otherwise described.

                              All other terms, conditions and exclusions remain the same.




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                                                         EXHIBIT B
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                                                              IN THE CIRCUIT COURT FOR
                                                              THE 20TH JUDICIAL CIRCUIT
                                                              IN AND FOR LEE COUNTY,
                                                              FLORIDA

                                                              CASE NO.:
         Pedro E. Rodriguez & Marioska Sanchez Co-
         Trustees for the Rodriguez & Sanchez Family Trust
         and ,

         Plaintiffs,

         v.

         General Star Indemnity Company,

         Defendant.
               PLAINTIFFS’ NOTICE OF SERVING FIRST SET OF INTERROGATORIES

                 Plaintiffs,                                Pedro E. Rodriguez & Marioska Sanchez Co-
         Trustees for the Rodriguez & Sanchez Family Trust and , pursuant to the applicable rule of the
         Florida Rules of Civil Procedure, propound the following First Set of Interrogatories upon
         Defendant, General Star Indemnity Company (the "Insurance Company"), to be answered
         in writing, under oath, within the time specified.
                                       CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing was served via U.S. mail
         to: General Star Indemnity Company c/o The Florida Chief Financial Officer as RA, 200 E.
         Gaines Street, Tallahassee, Florida 32399-4201, together with a copy of the Complaint.


                                                    Property & Casualty Law Group
                                                    Counsel for the Insured(s)
                                                    1825 Ponce de Leon Boulevard #263
                                                    Coral Gables, Florida 33134
                                                    Tel.: 305-961-1038
                                                    CSanti@pclawgroup.com

                                                    /s/ Carlos Santi
                                                    ______________________
                                                    Carlos L. Santi, Esq.
                                                    Florida Bar No. 70529
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                                                        IN THE CIRCUIT COURT FOR
                                                        THE 20TH JUDICIAL CIRCUIT
                                                        IN AND FOR LEE COUNTY,
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                                                        CASE NO.:
   Pedro E. Rodriguez & Marioska Sanchez Co-
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   Trustees for the Rodriguez & Sanchez Family Trust and , pursuant to the applicable rule of the
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                                               Counsel for the Insured(s)
                                               1825 Ponce de Leon Boulevard #263
                                               Coral Gables, Florida 33134
                                               Tel.: 305-961-1038
                                               CSanti@pclawgroup.com

                                              /s/ Carlos Santi
                                              ________________________________
                                              Carlos L. Santi, Esq.
                                              Florida Bar No. 70529
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                                DEFINITIONS AND INSTRUCTIONS

           1.       Insert your answers in the space provided following each question. If additional
   space is needed, so indicate in the space provided, prepare your answers on a separate paper,

   and attach the additional paper to your answers.

           2.       Separately answer each interrogatory, and each subsection of each

   interrogatory. The term "you" and "your" means the party or parties to which this request is

   addressed, including its divisions, departments, subsidiaries, affiliates, predecessors, present or

   former officers, directors, owners, agents, accountants, attorneys, and all other persons acting or

   purporting to act on its behalf, as well as each partnership in which it is a partner.


           3.       The terms "Insurance Company" or "Defendant" means the defendant in this

   action to which these Interrogatories are addressed, including its agents, attorneys, accountants,

   and all other persons acting or purporting to act on their behalf. The terms "Insurance Company"

   or "Defendant" also includes the party's divisions, departments, subsidiaries, affiliates,

   predecessors, present or former officers, directors, owners, agents, attorneys, and accountants as

   well as each partnership in which it is a partner, and includes any other person, acting or

   purporting to act on its behalf.

           4.       The terms "you" and "your" mean the party or parties to which these
   interrogatories are addressed, including its agents, attorneys, accountants, and all other persons
   acting or purporting to act on its behalf.

           5.       The "Complaint" means the Complaint filed by the Insured in this action.

           6.       The term "Claim" means any statement, concept, assertion, idea, allegation,
  fact, law, upon which Plaintiff demands that he/she has suffered damages, or has a right to
  payment, as the result of any act or omission of Defendant.
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           7.      The terms "person" or "persons" mean any natural person, individual,

   proprietorship, partnership, corporation, association, organization, joint venture, firm, other

   business enterprise, governmental body, and group of natural persons or other entity, and includes

   any other person acting on behalf of a person.

           8.      The term "contract" means the insurance contract between the parties.

           9.      The term "communication" means any information given, whether oral or
   written; any oral or written statement, conference, consultation, dialogue, colloquy, discussion,
   conversation, agreement, the sharing of knowledge by one with another, bargaining preparatory

   to making a contract or any expression of any kind.

           10.     The term "document" means and includes any kind of written, typed, recorded or

   graphic matter, however produced or reproduced, of any kind or description, whether sent or
   received, and every record of every type, including originals, non-identical copies and drafts, and

   both sides of any documentation where information appears on both sides, and including but not
   limited to: letters, correspondence, memoranda, meeting transcripts or minutes, public filings or

   tax returns, papers, books, telegrams, bulletins, notices, announcements, instructions, charts,

   manuals, brochures, schedules, cables, telex messages, notes, notations, accountants' working
   papers, transcriptions, agendas, reports, recordings of telephone or other conversations, of

   interviews, of conferences or of meetings, telephone messages, diaries, indices, books, reports,
   ledgers, working papers, invoices, worksheets, receipts, computer printouts, financial statements,

   schedules affidavits, contracts, canceled checks, statements, transcripts, magazine or newspaper

   articles, periodicals, releases and any and all drafts, alterations and modifications, changes and
   amendments of any of the foregoing, whether handwritten, printed or electronically prepared,

   filed or stored, affidavits, statements, summaries, opinions, reports, studies, analyses,
   evaluations, contracts, agreements, journals, statistical records, calendars, appointment books,

   diaries, lists, tabulations, sound recordings, computer print-outs, data processing input and
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   output, microfilms, newspapers, magazines, books, periodicals or press releases, including
   information stored on any electromagnetic storage device, any written, printed, typed, recorded,

   or graphic matter, however produced or reproduced or stored to which you have or had access.
   "Document" shall also be deemed to include any summary of a document or documents called

   for hereafter.

           11.        The term "all documents" means every document or group of documents as above

   defined that are known to you or that can be located or discovered by reasonably diligent efforts.

            12.       As used herein the singular shall include the plural, the plural shall include the
   singular, and the masculine, feminine, and neuter shall include each of the other genders.

            13.       The terms "and" as well as "or" shall be construed disjunctively as well as

   conjunctively as necessary to make the interrogatory inclusive rather than exclusive. The term

   "all" means "any and all." The term "each" means "each and every," and the term "every" means

   "each and every."

            14.       The terms "refer" or "relate to" mean setting forth, pertaining to, memorializing,
   constituting, embodying, discussing, analyzing, reflecting or otherwise concerning.

            15.       The term "locate" or "location" means to state the present whereabouts of each
   Document and to identify the persons having possession, custody or control thereof

            16.       The term "to date" shall mean the date on which you answer these
   interrogatories.

           18.        The term "including" means "including but not limited to".

           19.              "Relating to" or "relevant to" means embodying, pertaining to, concerning,

  involving, constituting, comprising, reflecting, discussing, evidencing, referring to, consisting of,

  or having any logical or factual connection whatever with the subject matter in question.
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          20.     The term "Identify," when used with reference to a natural person, means state:

                  (a)      his full name and address (or, if the present address is not known, his last
                           known address).

                  (b)      the full name and address of each of his employers, each corporation of
                           which he is an officer or director and each business in which he is a
                           principal.

                  (c)      his present (or, if the present is not known, his last known) position and
                           his position or positions at the time of the act to which the interrogatory
                           answer relate, and

                  (d)      such other information sufficient to enable Plaintiff to identify the person.

          21.     "Identify," when used with reference to any entity other than a natural person,

                  means:


                  (a)       state the full name of the entity, the type of entity (e.g., corporation,
                  partnership, etc.), the address of its principal place of business, its principal
                  business activity, and if it is a corporation, the jurisdiction under the laws of which
                  it has been organized and the date of such organization.

          22.        "Identify," when used with reference to a document or written communication,

   means state:

                  (a)      its nature (e.g., letter, telegram, floppy disc, computer printout,
                           memorandum, chart, report or study), date, author, date and place of
                           preparation and the name and address of each addressee, if there is an
                           addressee;

                  (b)       the identity of each signer to the document or communication;
                  (c)      the title or heading of the document or communication;

                  (d)      its substance;

                  (e)      its present (or, if the present is not known, the last known) location and
                           custodian.

                  (f)      the identity of each person to whom a copy was sent and each date of its
                           receipt and each date of its transmittal or other disposition by (I)
                           respondent and (ii) any other person (naming such other person) who, at
                           any time, either received, transmitted or otherwise disposed of such
                           document or communication and each copy thereof;
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                   (g)    the circumstances of each such receipt and each transmittal or other
                          disposition, including identification of the person from whom received
                          and the person to whom transmitted.

           23.                    "Identify," when used with reference to an oral transaction or oral

   communication, means state:

                   (a)     its nature (e.g., telephone call, conversation in person, etc.)

                   (b)     the date and place thereof.

                   (c)     the identity and address of each person participating therein, present
                           during or witness to any part thereof.

                   (d)     identify each document in which such transaction or communication
                           was recorded, described or referred to.

     24. "Identify," when used in any other context that is herein above set forth, means to describe

  the act, word, situation, event, etc. (and/or conduct, course of action of any nature whatsoever,

  including without limitation any failure to act, to engage in any conduct or to pursue any course

  of action), to be identified as fully as possible and identify each document or communication or

  act in which such act, word, situation, event, conduct or course of action, etc., was recorded,

  refers or relates to each answer, forms all or part of the basis for an answer; and/or corroborates

  and answer.


     25. You may, in lieu of identifying any Document or written communication, attach a true

  copy of each Document as an exhibit to the answers to these interrogatories, On each occasion

  in which you choose to attach a Document as your answer to an interrogatory, identify the portion

  of the Document that answers the interrogatory.


     26. Identify each Document produced pursuant to an interrogatory by the paragraph number

  of the interrogatory in response to which it is produced and by the file from which the document
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  was produced.


      27.         If any of the information furnished in an answer to all or part of an interrogatory

  is not within your personal knowledge, identify each person who has personal knowledge of the

  information furnished in such answer and each person who communicated to you any part of the

  information furnished.


      28.         If the answer to all or any part of the interrogatory is not presently known or

  available to you, include a statement to that effect, furnish the information now known or

  otherwise available to you, and respond to the entire interrogatory by supplemental answer, in

  writing, under oath, within ten days from the time the entire answer becomes known or available

  to you, but. in no event less than five days prior to trial.


      29.         If you contend that it would be unreasonably burdensome to obtain and provide

  all of the information called for in response to any one of these interrogatories or any subpart

  thereof, then in response to the appropriate interrogatory or subpart:


                   (a)      set forth all such information that is available to you without
                            undertaking what you contend to be an unreasonable burden;
                   (b)      state with particularity the grounds on which you contend that
                            additional efforts to obtain such information would be
                            unreasonably burdensome; and

                   (c)      describe with particularity the efforts made by you to secure
                            such information, including, without limitation, the identity of
                            all persons consulted, and files, records, and documents
                            reviewed, and the identity of each person who participated in
                            gathering such information, including the duration of time spent
                            and nature of work done by each person.
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                                       INTERROGATORIES

           1.        Please state the name, title, current business address, and phone number of all
   persons answering or assisting with the answering of this set of interrogatories.




          2.         Please state the date that the Insurance Company first received notice from the
   Insureds for a claim of benefits under the Policy for property damages as described in the
   Complaint in this lawsuit and how that noticed was received.
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           3. In reference to the Insurance Company's coverage determination of the Insureds’ claim
           for
  benefits under the Policy, please state:



                   a.     The date the coverage determination was made.




                   b.     Identify each person who participated in the coverage determination.




                   c.     Describe each and every fact upon which you relied in forming the
          basis for your coverage determination.




                   d.      Identify each document sent by the Insurance Company to the Insureds
          detailing the reasons for the coverage determination.
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                 e.     State the location, including, page(s), line(s) and paragraph number(s), and
          the exact language contained in the Policy, which you used to base your coverage
         determination.




           4.        Identify each person, by name, address, phone number and position, whom on
   behalf of the Insurance Company, inspected the Insured Property in reference to the claim for
   benefits under the Policy, including his or her field of expertise and the date of each
   inspection.
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           5.     Identify each written estimate for repair or replacement, including the amount set
   forth in each estimate, which has been provided to the Insurance Company in reference to the
   Insureds’ claim for benefits under the Policy.




            6.         Identify all persons (other than the Insurance Company) believed or known by
   you, your agents or attorneys to have knowledge concerning any of the issues raised by the
   pleadings, specifying the subject matter about which witnesses have knowledge and state
   whether you have obtained any statements (oral, written or recorded) from any of said witnesses,
   list the dates any such witness statements were taken, by whom any such witness were taken and
   who has the present possession, custody and control of any such statements.
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           7.         Identify all persons who, on the Insurance Company's behalf, have in any way
   participated in the investigation, evaluation, adjusting or handling of the claim involved hereto.
   Please specify the nature of the participation for each and every such person and give the time
   period during which they participated.




           8..    Please describe all requests made by the Insurance Company upon the Insureds,
   (i.e., requests for examination under oath, information, documents, sworn proofs of loss, etc.,)
   in reference to this claim and the dates made.
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         9.         With reference to each of your affirmative defenses raised in the lawsuit, please
  describe each and every fact upon which you rely to substantiate such affirmative defense,
  including identification of all witnesses to each such fact.
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          IN WITNESS WHEREOF, the Insurance Company has executed the foregoing

   answers to interrogatories and states that same are true and correct to the best of the

   undersigned's knowledge and belief.




                                               General Star Indemnity Company


                                           By: _______________________________


                                           Title:


   STATE OF FLORIDA                        }

   COUNTY OF ___________                   }

    BEFORE        ME, the        undersigned authority,          personally      appeared,
  __________________________, who is personally known to me or who has produced as
  identification, being first duly sworn according to law, deposes and says that he executed the
  foregoing Answers to Plaintiff's First Set of Interrogatories and that they are true and correct to the
  best of his/her knowledge and belief.
           IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of

   my office; in the County and State last aforesaid, this________day of _________ ,202_.



                                                         __________________________________
                                                         Notary Public



  My Commission Expires:
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                                                                  IN THE CIRCUIT COURT FOR
                                                                  THE 20TH JUDICIAL CIRCUIT
                                                                  IN AND FOR LEE COUNTY,
                                                                  FLORIDA

                                                                  CASE NO.:
         Pedro E. Rodriguez & Marioska Sanchez Co-
         Trustees for the Rodriguez & Sanchez Family Trust
         and ,

         Plaintiffs,

         v.

         General Star Indemnity Company,

         Defendant.
                            PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION
                  Plaintiffs,                                Pedro E. Rodriguez & Marioska Sanchez Co-
         Trustees for the Rodriguez & Sanchez Family Trust and , (the "Insured"), pursuant to Rule 1.350
         of the Florida Rules of Civil Procedure, hereby request that Defendant, General Star Indemnity
         Company (the "Insurance Company"), make available for inspection and duplication, in response

         to each numbered paragraph, all documents specified herein which are in its possession, custody
         or control or in the possession, custody or control of its agents, accountants or attorneys.
         Defendant is requested to make such production within the time period prescribed either by the
         Florida Rules of Civil Procedure or by order of the Court.

                                I.         DEFINITIONS AND INSTRUCTIONS


              1. The terms "you", "your(s)", "yourselves", "defendant", and/or "Insurance Company "

        means the party or parties to which this request is addressed, and any agents, representatives,

        attorneys or other persons acting or purporting to act, on its behalf.


              2. The term "person" means any natural person, individual, proprietorship, partnership,

        corporation, association, organization, joint venture, firm, other business enterprise, governmental

                                                    Page 1 of 8
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  body, group of natural persons, or other entity.


     3. The "Complaint" means the Complaint filed by the Insured in this action.


     4. The term "document" shall mean any written or graphic matter and other means of

  preserving thought or expression and all tangible things from which information can be processed

  or transcribed, including the originals and all non-identical copies, whether different from the

  original by reason of any notation made on such copy or otherwise, including, but not limited to,

  correspondence, memoranda, notes, messages, letters, telegrams, teletype, telefax, bulletins,

  meetings or other communications, inter-office and intra-office telephone calls, diaries,

  chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

  matter, charts, ledgers, invoices, work-sheets, receipts, returns, computer printouts, prospectuses,

  financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,

  statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or

  modifications, changes and amendments of any of the foregoing), graphic or aural records or

  representations of any kind (including without limitation, photographs, microfiche, microfilm,

  videotape, records and motion pictures) and electronic, mechanical or electric records or

  representations of any kind (including without limitation, tapes, cassettes, discs and records).


     5. The term "all documents" means every document or group of documents as above defined

  that are known to you or that can be located or discovered by reasonably diligent efforts.


     6. The term "Insurance Company" shall refer to the Defendant in this action, its affiliates,

  subsidiaries, predecessors, successors, agents, attorneys and/or anyone else acting in its behalf.


     7. The term "communication(s)" means every manner or means of disclosure, transfer or

  exchange of information, whether in person, by telephone, mail, personal delivery or otherwise.
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      8. As used herein, the singular shall include the plural, the plural shall include the singular,

  and the masculine, feminine and neuter shall include each of the other genders.


      9. The terms "and", "as well as" and "or" shall be construed disjunctively as well as

  conjunctively as necessary to make the interrogatory inclusive rather than exclusive. The term "all"

  means "any and all." The terms "each" and "every" means "each and every," the term "including"

  means "including without limitation.


      10. The terms "referring to" or "relating to" mean setting forth, pertaining to, memorializing,

  constituting, embodying, discussing, analyzing, reflecting or otherwise concerning.


      11. The terms "locate" or "location" means to state the present whereabouts of each document

  and to identify the person(s) having possession, custody or control thereof.


      12. The term "to date" shall mean the date on which you respond to this request.


      13. When producing the required documents, please keep all documents segregated by the file

  in which the documents are contained and indicate the name of the file in which the documents

  are contained and the name of the documents being produced.


      14. When producing the required documents, please produce all other documents that are

  clipped, stapled or otherwise attached to any requested document.


      15. In the event such file(s) or document(s) has (have) been removed, either for the purpose of

  this action or for some other purpose, please state the name and address of the person who removed

  the file, the title of the file and each sub-file, if any, maintained within the file, and the present

  location of the file.



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     16. The words "and" and "or" shall be construed either conjunctively or disjunctively to bring

  within the scope of these requests any documents which might otherwise be construed to be outside

  their scope.


     17. If you claim that the attorney/client or any other privilege or the attorney's work product

  doctrine applies to any document, the production of which is called for by these requests, then for

  each such document, state its date, subject matter, author(s), recipient(s), present custodian and all

  past custodians, and such additional information concerning the claim of privilege or work product

  doctrine as will permit the adjudication of the propriety of the claim.


     18. If you contend that it would be unreasonably burdensome to obtain and provide all of the

  documents called for in response to any one of these requests, then in response to the appropriate

  request:


                  (a)      furnish each such document that is available to you without

                           undertaking what you contend to be an unreasonable burden;


                  (b)      state with particularity the grounds on which you contend that

                           additional efforts to obtain such documents would be

                           unreasonably burdensome; and


                  (c)      describe with particularity the efforts made by you to secure such

                           documents, including, without limitation, the identity of all

                           persons consulted, and files, records, and documents reviewed, and

                           the identity of each person who participated in gathering such

                           documents, including the duration of time spent and nature of work

                           done by each person.
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     19. Unless otherwise indicated, all requests include the time period from the date of the Loss

  to the date you receive this request.


     20. The term "Insured" shall refer to the Petitioner(s), affiliates, predecessors, successors,

  agents, attorneys and/or anyone else acting in their behalf.


                             II.          LOST/DESTROYED DOCUMENTS


         If any document to be produced was, but is no longer, in your possession, custody or

  control and/or has been destroyed or is otherwise incapable of production or state: (a) the date,

  place and means of the destruction; (b) the name and address of each person deciding upon,

  participating in and having knowledge of the destruction; (c) the reason for the destruction; (d) if

  not destroyed, the reason why the document is incapable of production; and (e) the subject matter

  of the document.



                                   III.     DOCUMENTS REQUESTED


          1.       A true and correct certified copy of the insurance policy provided by the

  Insurance Company to the Insureds, for which this lawsuit is premised, including but not limited

  to, declaration sheet(s), all addendums and attachments.


          2.       Each and every timesheet, log and all other documents reflecting time spent by

  the Insurance Company at the Property.


          3.       Each and every document, evidencing the name, address, and the

  position/relationship with the Insurance Company, of every individual who has visited or plans to

  visit the Property on behalf of the Insurance Company.


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          4.       Any and all correspondence or written communications from the Insurance

  Company to the Insured, which in any manner pertain to the Insureds’ loss as described in the

  Complaint.

          5.       Any and all correspondence or written communications from the Insureds, or

  their representatives to the Insurance Company which in any manner pertains to the Insureds’ loss

  as described in the Complaint.

          6.       Any and all photographs taken by the Insurance Company of the Property.

          7.       All documents containing information regarding any statement by the Insureds

  at any time during the Insurance Company's handling of the Insureds’ loss, including adjuster

  notes, claim reports, interoffice memorandum, tape recordings, Examination Under Oath

  transcripts, and any other transcripts or written statements from the Insureds. If you claim

  privilege over any of these documents, please provide redacted documents showing only any

  statement by the Insureds at any time during the Insurance Company's handling of the Insureds’

  loss.

          8.       Any and all bills or estimates for repairs to the Property submitted to the

  Insurance Company.

          9.       Any and all checks paid to, or on behalf of the Insureds, representing insurance

  coverage payment(s) for the loss.

          10.      All reports which in any manner pertain to the Insureds’ loss, including reports

  by any expert retained by the insurance company.

           11.     All Proof of Loss forms pertaining to the subject loss that were sent or received

   by you or your representatives to or from the Insureds or the Insureds’ representative.
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           12.     All inspection reports or other documents that evidence the cause of the damages

   at issue in the subject claim as determined by you or your representative.

           13.     All applications for insurance submitted by or on behalf of the Insureds to you or

   your representatives in connection with obtaining or renewing the subject Policy.

           14.     All photographs or videos taken by you or your representative(s) in connection

   with the initial issuance or renewal of the subject Policy.

           15.     The complete underwriting file for the Insured.

           16.     A current curriculum vitae (CV) or resume for each person retained on your

   behalf for the purpose of rendering an opinion as to the cause or extent of the subject damage.

           17.     All affidavits or sworn statements in your possession pertaining to the subject

   loss.




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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via U.S.
   mail to: General Star Indemnity Company c/o The Florida Chief Financial Officer as
   RA, 200 E. Gaines Street, Tallahassee, Florida 32399-4201, together with a copy of the
   Complaint.

                                          Property & Casualty Law Group
                                          Counsel for the Insured(s)
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                                          /s/ Carlos Santi
                                          ________________________________
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                                          Florida Bar No. 70529




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